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        THE UNITED STATES SECURITIES AND EXCHANGE COMMISSION



         In the Matter of :

                                      File No : FL-04347-A

         LOCATION VENTURES, LLC



         WITNESS ; Alex Kleyner

         PAGES :   l through 252

         PLACE :   Securities and Exchange Commission

                   801 Brickell Avenue

                   Miami, FL 33131

         DATE :    Wednesday , May 31, 2023



            The above entitled matter came on for hearing ,

   15    pursuant to notice, at 9 :11 A .M .

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                   Diversified Reporting Services, Inc.        EXHIBIT
                                  (202) 467-920                  X



                      9 :11
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        A PPEARANCES:



        On behalf of the.Securities and Exchange Commission:

              JORDAN CORTEZ, Esquire

              JOHN HOUCHIN , Esquire

              RUSSELL O 'BRIEN , Esquire

              MARK DEE, Accountant

              Securities and Exchange Comm ission

              Miam i Regional Office

              80l Brickell Avenue, Suite 1950

              Miami, F1 33131



         On behalf of the Witness:

              EDWARD SHOHAT, Esquire

              DAVID WEINSTEIN , Esquire

   16         Jones Walker

              20l S. Biscayne Blvdw Suite 3000

   18         Miami, FL 33131

   19         (305) 679-5700

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                                       E N T S



        WITNESS :                                        EXAMINATION

        Alex Kleyner                                               4



        EXHIBITS :       DESCRIPTION                      IDENTIFIED

                  Supplemental Information Form 1662

        No .      Subpoena

        No.       Background Questionnaire

        No . 4    2nd Amendment of LV 's Op Agreement

        No . 5    Summary                                        1B2

        No . 6    Op Agreement 1505 Ponce                        185

                  Global Interest Purchase Agreement '           205

         No . 8   Complaint                                      224

         No . 9   Complaint                                      231




   22



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   25



                                                           1 .20230531 .449633-M ...
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                                      E E D I N G S

                          CORTEZ: We are o/ the record,

        A .M . Eastern Standard Time , on May          2023 . We are

         located in the offices         the Miami Regional Office, of

         the US Securities and Exchange Commission , here

         Miami, Florida. My name is Jordan Cortez, and I am

         Senior Counsel, with thj US Securities and Exchange
    8    Commission . With me is John Houchin , Senior Counsel ,

    9    Russell O 'Brien , Trial Counsel, and Mark Dee, Senior

   10    Accountant . We are all members of the staff of the

   l1    Enforcement Division , of the Miami Regional Office, of

   l2    the Securities and Exchange Commission , and we lre

   13    officers of the Commission , for purposes of this

   14    proceeding .
                   We w ill swear in the witness, now .

                   Can you please raise your right hand?

         Whereupon ,

                                   ALEX KLEYNER

         was called as a witness and, having been first duly

         sworn , was examined and testified as fcllows :

                                    EXAMINATION

   22               BY MR . CORTEZ :

               Q       Will you please state your full name and

   24     spell your name, for the record?

                       Alex Kleyner, A -L -E-X , K-L-E -Y-N -E-R .
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               Q     Mr. Kleyner, are you represented by counsel,

        today?

               A

                     MR . CORTEZ : Would counsel p lease identify

        yourself and state your full name , your firm 's name ,

         address , and telephone number , please?

                     MR . SHOHAT : My name is Edward Robert Shohat,

         S-H -O-H -A -T .   Iïm with the firm of Jones Walker, LLC .

         The address of the firm is 20l South Biscayne

         Boulevard, Suite 3000. My office phone number is (305)

         679-5716.

                      MR . CORTEZ : Mr . Shohat, are you representing

              Kleyner, as his counsel, today?

                      MR . SHOHAT :   I am .

                      MR . CORTEZ : And do you represent anyone

         else , in this investigation?

                      MR . SHOHAT : His wife,

   18                 MR . CORTEZ : And with respect to any entit'
                                                                 ies

   19    that Mr . Kleyner or Ms .             either own or control, do

   20    you represent those entities in this investigation?

   21                 MR . SHOHAT :      do not.

   22                 BY MR . CORTEZ :

   23                 Okay . This is an investigation , by the

         United States Securities and Exchange Commission ,

         the matter of Location Ventures, LLC, file number
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                                                                           6

         FL-04347, to determine whether there have been

        v iolations of certain provisions of the Federal

         Securities Laws. However, the faets developed in this

   4     investigation might constitute violations of other

   5     federal , or state civil, or criminal laws . Prior to

    6    opening the record , you were provided with a copy of

         the formal order of investigation and the supplemental

         order , in this matter . These documents will be

         available for your exam ination , during the course of

         this proceeding . Mr . Kleyner , have you had an

         opportunity to review the formal order and the

   12    supplemental order?

              A     Yes.

   14                            (SEC Exhibit No. 1 was marked for

   15                            identification .)

   16               BY MR . CORTEZ :

                           handing you , again , what has been

   18    prev iously marked as Exhibit One . Prior to the opening

   19    of the record, you were provided with a copy of the

   20    Commission 's Supplemental Infcrmaticn Form 1662 . Have

   21    you had an opportunity to review Exhibit One?

   22         A     Yes .

   23          Q    Do you have any questions concerning the

   24     notice?

   25               No .



                               AM1 Kleyner ,
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              Q    Okay.

                                (SEC Exhibit No. 2 was marked for

                               identification.)
                   BY MR . CORTEZ :

                       Kleyner , I 'm handing you what has been

         marked as Exhibit Two . Please take a moment to review

         the document and 1et me know when you 're ready .

                   Okay . Yeah, I 'm ready .

    9              Mr . Kleyner , is this a copy of the subpoena

         you 're appearing pursuant to here, today ?



   12         Q    Ild like to just briefly go over some of the

   13    procedures for today 's testimony . During your

   14    testimony. I and other officers of the Commission,

   15    present here , may ask a question or a series of

   16    questions .       you don 't understand a question ,

             me know , and 1 :11 try to repeat or rephrase a

         question . If you go ahead and answer a question , we lll

         assume that you understand the question . As mentioned

         prior to gcing on the record, the court reporter

         taking down everything that we say , but cannot record

         head gestures , nods, things of that nature . So , we ask

         that when you respond, respond with an affirmative

         response . Again , if you don 't hear a question ,

         ask me and         repeat it . As mentioned , again , prior
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                                                                           8

        to going on the record , only the staff can authorize
        the court reporter to go off the record . So , any time

        you want to take a break, for whatever reason, just 1et
        u s know , and we can let the court reporter know we çan

         go off fhe record . Also , when we îre off the record , we

         don rt have substantive conv ersations . And to the

         extent there are any substantive conversations, made

         off the record, wedll summarize it once we go back on
                                I

    9    the record . Do you understand?

                   Yes .

              Q    You may tell me , at any time ,     you like,

         change or modify a previous answer . At the end of your

   13    testimony ,         offer you and your counsel an

   14    opportunity to ask any clarifying questions. You can

   15    add to your statements, at that time, if you so desire .

   16    But in addition , you may tell me, at any time,       you 'd

   17    like to change or modify a previous answer .

   18         A     Okay .

              Q     During the course of your testimony, today,

         we 're gcing to ask you questions about things that

         happened or may have happened , in the past . Obviously ,

         time has gone by , since those events, and you 're likely

         to have a better and more complete memory of some

         events , than others. In answering a question about

         these events, however, you should tell us about a1l of
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         your memories or recollections that are responsive

         the question, not just those that are specific or
         perfectly clear or those which youlre one hundred

         percent sure.

              A    Okay .

              Q    ?Do you understand yes?

              A    Yes.

              Q    Therefore,      you answer ,    don 't recall, or

           don 't remember , I forget , we        assume you have no
    9

         memory or recollection , whatsoever, that is responsive
   10                                   4.


            the questions asked . Do you understand?

   12         A
              Q     Okay. And it may be that reviewing certain

         documents refreshes your recollection, as to the events

         you dre questioned about .           a case, we 're asking

         for your testimony on everything that's responsive

         the question. Again, not just clear, specific
          recollections . DQ you understand?

               A    Yes'.

   20          Q    Okay . This next question is a standard

          question that we ask every witness . Are you currently

          taking any medication or under the influence of any
   22
          substance that would prevent you from testifying

          truthfully here, today?

    25              No .
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                                                                          10

              Q       Okay . And is there any reason why you cannot

         give full and complete testimony r'today ?

              A       No .

              Q       Okay. And do you understand that you are

         under oath , for the duration of this testimony session?

              A       Yes.

              Q       Okay.
                                 (SEC Exhibit No. 3 was marked for

                                 identification .)

                      BY MR . CORTEZ :

              Q       Mr. Kleyner, we rve handed you a document,

   12    which has been marked as Exhibit Three . Please , take

         moment to review the document and 1et us know when

         you rre ready .

   15         A       Yes, I ïm ready .

              Q       Mr. Kleyner, do you recognize this document?

   17         A       Yes .

   18         Q       And what is

   19                 It 's the background questionnaire that I was

   20    provided .
               Q      And you did get a copy of this questionnaire?

               A      Yes .

               Q      And you had a chance to review the questions,

          on the questionnaire?

               A      Yes.
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                Q    Okay. Did you prepare the responses, to the

         questions that were listed in this questionnaire?

                A        attorney did, based on the responses I

         gave
                     Okay . And to the best of your knowledge. are

         the responses to the questions,        this questionnaire,

         true and accurate?

                     There 's a -- yes, there 's one spelling error

    9    in my       question number two, any other names I was

         known by , there 's no E, after D .

                     Okay . Thank you . If we could turn to page

         two , of the questionnaire , under where it says

          ueducational history ''?

                      Yeah .

   15            Q       says that you graduated from Pace

   16    University , with a bachelor of marketing , in 2001?

   17            A    Uh -huh .

   18            Q    Besides this degree , do you hold any other

   19     degrees?

   20            A    No .

                      Dq you hold any professional licenses?

                 A    kot at the time, no.
                 Q    Did you

                 A    I used to have a Serie/ 7 and Series 63,

          they lapsed many , many years ago .
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                                                                          12

                      Okay . Xnd with the Series 7 and Series 63,

         do you remember when you obtained those licenses?

                      2000    approximately , 2001,   would say .

    4         Q       So, right aftey you graduated

                      Yep .

    6         Q          from Pace University?

    7         A       Yep .

    8         Q       And do you recall how long you held those

    9     licenses?

    10                I think it lapsed , again f approximafely ,

          maybe 2015 or 2016, somewhere in that kind of ballpark .

                      Okay . And staying on page two , under the

          heading prior to educational historye where it says

          Hprivately held companiesn# question 10 asks, ''are you

          now or have you ever been a beneficial owner , directly

          or indirectly, of any privately held company,

          corporation , partnership , limited liability , company ,

          or other corporate form?'' And your response is 'lyes.n

          Can you tell us which company or companies you are

          beneficial owner of or have been?

                       :ure. Iïm an owner      partial owner, I have

    22    partners, and CO of a company callèd National Debt

          Relief . And I am an owner , but don 't have an active

    24    role, in a company called Reach Financial.

                  Q    Reach Financial?
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                                                                             13

                      Reach Financial .

                      And question      asks a sim ilar question ,

         term s of if you bve ever been a manager or member of

         privately held company . And your response is ''yes .''

                      Uh-huh . Yes .

                 Q    National Debt Relief and Reach Financial, are

         those the companies which you have been or are a

    8    managing member?

    9                 So, I 'm a member in b0th .   I've had , over my

   10    Career , a number of different entities. But none were

   11    real of any significance , as far as like revenues or

   12    anything like that, but there 's been a number of LLCS

   13     that I was involved

   14            Q     Okay . Can you walk us through sort

    IS    your       for lack of better term , employment history ,

          entrepreneurial endeavors, you know , since you            since

          the time you graduated from Pace , until the present?

                       Sure . So , when I finished college, I got my

            and ,                                        it 's one of
                                                            '
          thcse twc .      was the main license .        a 5ob , as a

          proprietary day trader . Basically, I got a job in a day
          trading firm . Then ,      started a business . That was

          2001.       started the business, called Aqualux, which

          imported home improvement goods, out of China, and

          wholesaled them in New York , specifically , Brooklyn ,
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                                                                          14

         New York. Then, I had a business that imported axis

         control systems, from Germany, into Russia . The

         company was called Simon 's Boss. Then , I started Leanna

         Group , which evolved to become Eagle One Debt

         Solutions, which evolved to be become National Debt

         Relief, which is now my kind of day job, you c:ll it.
         And, then, in 2000     this was around 2009, 2010, when

    8    that was started . And around 2015,          we started the

    9    company , called Liberty Lending , which we then

   10    rebranded as Reach Financial. Along the way, I had some

   11    smaller kind of side investments, into different

   12    things, but these are kind of the main things that

   13     actually occupied my time , I would say .

   14          Q     Okay . So, prior to starting the different

    15    businesses and the one that sort of now is National

          Debt Relief, you said you were a proprietary trader?

               A     Yes.

               Q     And for

                         it was a day trading èirm . My first one,

          in 2001, was called Lions Grcup . We didn 't manage

          anybody 's money . It was basically the firm gave us

          capital, to execute into day trades .       was their own

          capital.     put up $500. That was the most I ever put

    24    up , out of my own pocket . And

                     MR . CORTEZ : Hold on . Let 's pause , right
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                                                                          15

         there, since we're still on the record. We just want
         to note that David Weinstein has joined the testimony.
                    David, nice to meet you.

                    MR . WEINSTEIN : Nice to meet you, too .

                    MR . CORTEZ :        Jordan Cortez. These are my

         colleagues, John Houchin, Russell O 'Brien, and behind

         you , Mark Dee ./

                    MR . CORTEZ:        going back to our previous

         question and we 'll continue . Mr . Kleyner , does David

         Weinstein represent you , as counsel, today?

                    THE WITNESS :     Yes.

                    MR . CORTEZ: And , Mr . Weinstein, if you can

         confirm that you represent Mr . Kleyner as counsel here ,

         today , in this matter?
                    MR . WEINSTEIN : That ls correct, along with

              Shohat, from Jones Walker .

   17               MR . CORTEZ : Okay . Thank you .

   18               BY MR . CORTEZ :

   19          Q    So, I think before Mr. Weinstein walked into

   20     the room , you were discussing some of the proprietary

          trading that you did . And 1'11 let you continue from

          there .

                    Sure .          basically the business model, for

          those companies, were they hire, you know , guys like

          myself . We have to get licensed . They would sponsor
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                                                                          16

         us for the license. I brought in just 500 bucks,
         start . And they give you leverage, on that money . They

         put risk parameters, in plice . They teach you

         different trading strategies . No overnight positions .

         No outside invested capital. No selling stocks,

         nothing like that . And , basically , you try to get some,

         you know, buy it $10.15 and sell the stock for $10.22,

    8    and try to make seven cents, on a thousand shares . We

         did multiple trades a day . The business model was every

         time we execute a trade , we pay the , you know , the

         company commissions , for the execution of the trade .

         If you lose money, you basically get fired . If you

   13    make money , you get a hundred percent of the profits .

   14    So, I would say overwhelming majority of the people
   15     that started with me got fired , along the way . I was

          fortunate enough , I was pretty good with numbers . My

         mom was a math teacher . So, I did pretty well in day

    18    Erading. So, that was kind of my first real job, out
          of college. There was no salary . It was kind of you

          eat what you kill, kind of a job, right?        that's
          what I did . My first company was Lions Group , and that

          was at 39 Broadway , ih New York . Then , we moved to 55

          Broad. Then, I got a 1ob with     oh, my God. I forget
          the companyls name. I was there for just a few months.
          Sorry , I don lt remember the company name . It 's been
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         over 20 years . Then -- I was with them a few months .

         Then , I moved to a company , called Dimension Capital .

         I was there for a while. Then, in 2009, 2010,

         started what now became National Debt Relief , and I

         kind of faded out day trading and focused on National

         Debt Relief, primarily .
                    So , is it fair to say from when you graduated

         Pace , in 2001, to approximately 2009, these different

         companies , you were --

                    It was a1l day trading .

                    It was day trading?

              A     Yes . Again, no outside capital,

         investors, no selling stock ; it was a11 intraday      you

         know .

               Q    So, with each company, it was all intraday

   16    trading?

   17          A       was exaeily the same. The difference

   18     companies was how much they charge you , in commissions .

   19     Everything else was exactly the same .

   20          Q    Okay . Then , in 2009, you transitioned when

              started your first company ; is that correct?

               A    I just started doing b0th. So, I was '--
          started my company , while still day trading , because

          day trading gave me flexibility .    can do it on any

          laptop , anywhere in the world, really . So , I didn 't
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                                                                          18

         have to be in the office . I didn lt have to technically

         show up to work , because I guess you trade, you make

         money, you get         You don 't trade, you   nothing

         happens, right?

                    In that entire time , in terms of

         compensation , you never received a salary?

              A     No .

              Q        WaS       comm ission based?

    9                  was a1l profit based. There was no

         comm issions, really . There was no commissions because

         we had no clients .      was technically a'client of the

         firm , because they Cave me Some money YO trade With .

   13    Every trade I put in , whether it was profitable or not ,

   14      paid them a commission , for the execution of the

   15     trade.' I used their technology .      used their system .

   16       used their money , technically . And you do a profit

    17    and I got then paid at the end of the month . If there

          was no profits , then either you get fired , or

          there 's no profits, but you generated enough to pay

          them enough commissions , then you get to live another

          month , basically .

                    Generally speaking, do you recall what kinds

             securities you were trading? Was it

               A     It was all New York Stock Exchange listed

          stocks. Yeah , it was a1l New York Stock Exchange, but
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                                                                          19

         we had access to NASDAQ.      just didn't particularly
         trade anything on NASDAQ. It was a1l New York Stock

         Exchange .

              Q       Okay. Can you tell us about National Debt

         Relief?      know there was a few prior iterations, but

         if just sort of walk us through when you started the
         company and sort of its progression to today?

                      Sure . So, in around late -- mid to late

         2009, I had some money because of my day trading , you

         know , it was volatile years .        '08, '09 were kind

         of my better years , from a profit standpoint .
                                                       ' So ,

         again, my mom did a math teacher .       did pretty good .

         Not spending a hundred percent of what I made . So,

         had some money saved up .      was looking to start a

         business. I looked at a eouple different things .

         Somebody randomly meptioned debt settlement to me .

         looked at that space .       was horrendous. There were

   18    no regulations . There were no rules . The consumers

   19    were not really being truly , truly helped, so that

   20     really turned me off from the space .      tock a second

          look at the space when laws got announced , actually FDC

          made the rules, with the CAPB enforcement, and actually

          Joe Bidep was the one that announced that law . That

          the law is called TSR , Telémarketing Sales Rule .

          basically calls for , number one, truth in advertising .
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                                                                          20

         So, you can ït say , you know , say government bail out,

         some nonsense , right?   You must substantiate

         performance claims. You can 't ieep any of the consumer
         deposits. It his to be in the FDIC insured, special

         purpose account, kind of like an escrow account the

         consumer controls. And the most important thing , the

         industry became fully contingency based . So , no

         upfront fees, no monthly fees, no maintenance fees . The

         only'fee the company charges is if we negotiate, on

         behalf of a consumer, with the creditors, that they owe

         money to , reach a settlement agreement, with the

         creditor, on behalf of a consumer , present that

         settlement to the consumer . Consumer must approve the

         settlement. Consumçr must authorize that special

         purpose account company to release the funds, to the

         creditor, under the, you know, under the settlement

   17    that was reached . And only after a1l of that happens,

   18    we allowed to charge a fee for our service, which is

   19     different than the old world of that settlement .

   20     Consumer signs up for the program , and the company

   21     starts taking fees , up front, before any value was

   22     delivered to the clients. So #   really got into the

   23     industry when the laws came        They came out

          October, 2010. So, by the time we opened an entity, we

          knew the laws were coming , so we really got into the



                                                   Vol .
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                                                                          21

         space late 2009, mid 2010, but really , as far

         concerned, my company was really born on October 27,

         2010, when the laws took effect. Over 90 percent of

         companies went out of business, just left the business,
         because the business model completely changed and

         became really cash intensive now, because you have

         make the investment into marketing and sales, and

         servicing , of the clients,    order to generate any

         kind of fees, from these clients . It takes months and

         months, before we start seeing any cash flows, from our

         consumers . Where, you know , previous indust<y , you

         sign up a client, you start taking fees .            was

         much easier on the cash flow , for those guys . So ,

         those guys left .    kind of came        W e started the

         company .     wqs myself and partner .     was privately

         owned , self-funded. We grew organically , over the

         years. And, I mean, the rest is history . Now , we ïre

         one of the top three largest companies ; dep ends which

         one of those three you ask . And still private company .

         Still following exactly the same laws and rules .

         Licensed in every state that requires a license.

         know, we go through annùal audits/reviews, by the state
         regulators, and we have enforcements .

   24                So, when you started the National Debt

         Relief, and 1'11 just use that, the current name
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                                                                          22

                    Yes.

                    I know there was previous names'
                                                   . You started

         in N ew York ?

                    Yes, 11 Broadway .

                    Was it a New York based company or LLC, or

         the time

              A     It was a New York , LLC , I believe .

    8         Q     Is it still that today?

    9         A     Yeah .

   l0          Q    Okay .

   11               We don 't have any customers walk in . There 's

    l2    no face-to-face'interactions . It's a1l done over phone

    13    or internet or digital .
              )
                    Okay . And you mentioned at the time

          started were you only operating out of the state of New

          York , in terms of working w ith consumers?

               A     At the location?

               Q           in terms of your consumers?
                     No . So , in that settlement industry, there

          are -- every state has either has nc debt settlement

          specific rule , so you can do business in that state, as

    22    long as you register with the state that you lre doing

          business in the state. Some states have -- call it a

    24    simpler registration requirements, in order to do

          business in the state. Some states have a more complex
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                                                                          23

         requirements, like for example , two years of audited

         financials , finger prints for the owners , background

         checks, and things like that . So, when we started, we

         start'
              ed in the states where you can just start            And

         as the company grew , we added additional states, got
         the required licenses, in order to enter those states .

         Then , evolved to , you know , again , what I call more

    8    complicated requirements . Again , you needed at least

    9    two years of existence ,     order to even enter certain

   10     states and so on . Fast forward to today, we 're

   11       state by state analysis, by our cpmpliance law firm ,

   12     and the tell us which states we need       maintain

    13    licenses, what kind of licenses, what are the bonds

          required , and so on and so forth .
                     And , currently , how many states are you in

          today?

               A     It ls   so we -- in over 40 states, I

          believe, at this time; mid 40s , maybe .

               Q     Okay . And, today, does National Debt Relief

          have employees that report to you or that work at the

          company?

    22               Of course .

               Q     How many employees?

    24         A     So , we have over 2 ,000 employees now ; maybe

    25    2 ,500 or something like that .
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                                                                          24

                Q    Are they based in New York or are they spread

         Out --

                      So, we used to    sorry .     we used to be,

         before Covid, we had an office in New York City .

         used       be at 11 Broadway , then we moved to 180 Meadow

         Lane . We had an office in Culver City , California . We

         had an office in Henderson , Nevada . And we had some

    8    support functions that were done out of Philippines.

         A 1l consumer face and communication was US based . When

   10    Covid hit, we were forced to go remote. And we evolved

   11     from a company that now is permanently remote . So, we

   12     closed the California office. We closed our Henderson ,

         Nevada office .        trying to sublease my New York

    14    office . If SEC wants to expand to l80 Meadow Lane,

          have a good deal for you . And we went permanent

          remote . And while New York City office is open and

          people are welcome to come , barely anybody shows up .

                      Fair to say that employees are working

          remote, from their homes or whatnot?

                      Yes, 99 percent of our company works remote .

                      And in terms of the types of, you know ,

          credit solutions you provide to your consumer/clients,
          can you sort of tell us about that?

    24                So, our primary service of National Debt

          Relief is debt negotiations . So , any Consumer that
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                                                                          25

         owes money on the credit card , and can 't afford to pay

             the credit card company either hires a collection

         agency , to collect from the consumer, or eventually

         sells the debt to a debt buyer, who now takes' ownership

         of the debt, and they try to collect from the consumer .

         I 'm on the consumer side of things . So, basically , the

         consumer comes           We have underwriting criteria .

         The consumer must have income . They must afford

         make a certain monthly deposit, into that sp ecial

         purpose account that I mentioned . They must only have

         the type of debts that we aetually have history of

         settling , that we can help them with .        basically ,

         the way the process works, we don 't do any cold

   14    calling . It 's all inbound marketing . We advertise

   15    online and TV , and e-mail marketing, that kind of

   16    stuff . Any consumer that calls in or submits a form for

   17           call them back , will speak        sales agent, who

   18    will go through the consumer ls budget, hardship ,

    19    analysis, who they owe, how much they owe, are they

          current , are they delinquent . We then see if that

          consumer        into a criteria of somebody we can

          actually help .      they do not, we refer them      we

          either give them some advice what they can do , or we

          defer them to nonprofit counseling companies, which is

          an alternative product for a consumer, not one we offer



                       9 :11
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                                                                          26

         inhouse. Any consumer that, you know , is qualified, we

         put them through underwriting . We then come back and

         say, okay, you owe 30,000 in debt. We estimate that,

         you know , based on your credit, we can settle         for ,

         say SO cents on the dollar . Our fees are roughly 21

         percent . So, you need -- keep the numbers simple , say

         $21,000. Based on your budget, you can afford, you
         know , 7OO bucks a month.         approximately, it's about

         30 months . Consumer , if they agree , they sign a

         contract . They get tons of disclosures, b0th kind of

         company disclosures and industry association requires

                   give certain dfsclosures, to the clients. They

   13    make a monthly deposit , into that special purpose

   14    account . We get visibility into how much money

   15    available there. Client,         any time , can take that

   16    money out . It 's totally in their control. Based on

   17     how much money is available , we start reaching out

    18    creditors , to negotiate settlements for the consumers .
                X
    19   A s a settlement is negotiated , again , like the process
              ,?
            mentioned before , we have to present         the

          client , they have to review        They have to approve

                   They have to authorize the payments, under the new

          settlement terms . Once that happens , we earn that fee

          for that one account that we settled . Then , we repeat

          that process for the second account , third account ,
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         fourth account, and so on. Averagè, on our client,

         they have between five and six different credit cards.
         And that's really the          mean I simplified this.

         This is a very complex process , especially for our

         clients,             but,.you know, for interest of time,

         I 'm simp lifying it .

                 Q    Thank you . We appreciate         Welre just
         trying to understand a little bit about your business .
    8

    9    With respect to the debt relief that you , you know ,

   10    negotiate, on behalf of yopr clients or consumers,

   11       just credit card debt or are there other forms of
          debt that you also will negotiate?

    13                 It 's overwhelming credit card debt, but we

          also       anyth ing unsecured , technically , we can

          negotiate . So , it 's credit card debt -- overwhelmingly ,

          it 's credit card debt . It 's personal installment

          loans, a little b it of medical bills , but that 's

          really -- but it 's overwhelming credit card debt .

                       Okay . And I think you mentioned earlier that

          at least when you started National Debt Relief , you

          started it with a partner?

                 A     Uh-huh .

                 Q     Who is the partner?

                       Daniel Tilipman .

    25           Q     Is he still your partner?
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                                                                          28

                      Yes.

              Q       Okay . Are there any other partners, besides

         Daniel , that are involved in the business?

                      Yeah, we hàve a silent partner . So , Daniel

         and myself are active operators of the business. And,

         then , we have a silent partner , who owns 20 percent of

         the business, who is not really involved in day-to-day

    8    operations .

    9          Q      And who is that?

   10                 His name is Tom Ledeker . Him and Danny were

   11    kind of partners, in a -- before National Debt Relief,

          so they kind of came together, basically .           was

   13     three of us, just Tom was just not involved in the
    14    business.
               Q      And you 're the CEO of National Debt Relief,

          correct ?

               A      Yes, uh-huh .

               Q      And what is Daniells position?

                      So# Daniel was the'president of National Debt

          Relief , up until a few months ago . And he

          transitioned , now , to be COO of Reach Financiaà, the

          other company I mentioned, but he 's still very actively

          involved , in National Debt Relief .

    24                Okay . And I believe     I think you mentioned

          that you are married . Your wife is                is that
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                                                                          29

         correet?

                    Yes .

              Q     Is she involved in the business?

              A     No .

              Q     You mentioned Reach Financial?

                    Uh-huh .

              Q     Can you tell us about that business?

    8         A     Sure . So , it ïs an alternative product for

    9    consumers to get out of debt . So , instead of debt

   10    settlements , where consumers are delinquent, and that 's

   11    why we 're able to get them the settlel
                                               kents .that we can

   12    g et them . Reach Financial offers consolidation loans ,

   13          consumer , who is not delinquent , but is struggling

    14    with five or six different minimum payments, different

          dates, different interest rates, ànd they 're looking

          just, you know       we underwrite them . We give them

          loan . The proceeds go to pay off their creditors. We

          don't give consumers just money, to spend on vacation.
          And, then , instead of making five or six minimum l
          payments , five ,or six different dates , five or six

          different interest rates, they have a fixed payment ,

          fixed term , to repay Reach Financial .

               Q    Essentially, Reach Financial is providing

    24    installment loans, to consumers, to pay off

    25    consolidate their credit card date?
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                                                                            30

              A       Yes, it's unsecured personal loans,

         installment loans/ sure.
              Q       Okay. And Reach Financial was a business

    4    that was more recently created than

                      It was started maybe 2015,         I would say .

    6         Q       Okay. Does reach Financial share the same

    7    em/loyees as National Debt Relief or are they separate
    8     employees?
    9                 Reach Financial has its own -- has its own

   10     set of employees . There are a handful that we tap

          into, for just expertise, between the companies, but
          really it 's two separate operations .
               Q       Is it similar in terms of consumer facing

          either online or over the phone, similar to National

          Debt Relief?
               A       Yes , from that standpoint , it 's similar , yes .

               Q       Okay.
               A       Reach Financial is a lot more kind of

          digital, where consumers go online and it 's more of a

          digital experience , where National Debt Relief there ïs

          a lot more explaining, to the consumer , how the process

          works and so forth .
    23            Q    In terms of the states that Reach Financial

    24    operates in ,          the same 4O-p1us states as

    25            A    Itïs not the same. Reach Financial has its
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                                                                          31

         own set of kind of compliance guidelines. So,

         also state by state licensing , state by state analysis,

         which states require, which states don 't require, which

         states require which specific license, and so on .

         Reach Financial is in            I said, I'm not as

         involved in the business.       would say it 's -- don 't

         quote me on this, but it 's between 3Os and 40s also

         states, but it 's not the exact match of the states.

              Q    Okay .
                   There 's definitely multip le states where

         National Debt Relief can do business and Reach does

         not, and the other way around .

              Q    And I think you mentioned Daniel is          he 's

         more involved in overseeing the day -to-day operations

         of Reach Financial?

   16         A     He 's now the COO , officially the COO , of

   17    Reach Financial .

   18               And you 're less involved , but what is your

   19     involvement .
                      in Reach Financial?

   20                        you know , member .        OWn er ,

         part of the company . And I talk to Daniel 18 times a

    22    day, just about everythingy.right? Like -- so
    23    Very tricky to distinguish .      talk to him about

          National Debt Relief. He 'll talk to me about Reach

          Financial . But, really, just as a sounding board, or a



                       9:11        Kleynerl
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                                                                          32

         third partner, to some extent. But , really ,

         talk about responsibilities,          the COO of one and

              the COO of the other. But, again,            like we

         have two babies and we lre raising them together,

         some extent.          we talk about just different stuff.
                          going back to Exhibit Three , the

         background questionnaire, third page, under ''employment

         history p', question 18

                    Uh-huh .

                         asks a question about your employment

         activities .      know you mentioned COO of National Debt

         Relief and a day trader . Since you 've sort of ended

         your emp loyment, I think you said, approximately in

         2009, being a day trader

                    2014, 'IS,      think .

              Q           sorry . Excuse me.
                        started this is 2009, 2010, yeah .

                    Excuse me , 2014 , 2015. Do you trade,

   19    personally , on behalf of yourself or others,

   20     securities?

              A     I don lt trade on behalf of others .      never

   22    had have . Personally , l have like a portfolio with JP

         Morgan .       have an investment advisor , a JP Morgan

   24     investment advisor . I do one off trades, on my own,

          but really everything goes through JP Morgan , with



                                    Kleyner,
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                                                                          33

         their advice and oversight, and that kind of stuff .

              Q     Okay . Do you -- if you can describe sort of

         how that portfolio is set up, in terms of what types of

         securities
                            the most boring , diversified stuff , you

         can think of . There 's some stocks. There 's some

         bonds . There 's some private equity .         the cookie

         cutter JP Morgan portfolio allocation that you can get.

              Q       So,    mean, in terms of sort of an overall

         investment strategy, it's just -- how would you
         describe
                      Itïs -- again ,       diversified . Again ,

         stocks.    It 's some bonds, some private equity funds ,

         that it 's going to take me ten years, before the money

   15    starts coming back . So, it 's really        we don 't have

   16    one specific -- we don 't concentrate on a sector . We

   17    don 't concentrate on a specific strategy .           really ,

   18     like I said , it 's your cookie cutte/, wealth

   19    management , diversified portfolio .

   20          Q      Okay . Would you consider those investments

          sort of to be more like long term?

               A      Yeah , absolutely .

                      Like you 're not looking to get -- as a day

          trader -- in and out -- you 're not looking to get in

          and out of positions?



                         9 :11
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                                                                          34

                   No, I haven 't done a trade like that in

         whatever it is, eight years or something like that .

              Q     Approximately, how long have you had that JP

         Morgan investment advisor account?

                    We 're in 2023?   would say between five and

         seven years, something like that.

              Q     Okay . And turning to the real estate market,

    8    do you invest in the real estate market?

    9               Some , yes.

   10          Q    Okay . When did you start investing in real

   11    estate?

   12               Outside of personal residences, which is not

          really an investment , I assume .

   14          Q    Correct.
               A    So , the first investment we made , in real

          estate , would be       around 2020.

                    Okay. And iow did you sort of get involved,
             2020, investing in real estate?

                    We came to M iami for spring break , in 2020,

          and kind of got stuck with Covid, in M iami . So , while
          we were here, the state seemed to be open , while New

          York was kind of shut down . So , I had a friend , who

          works at Colliers, and his name is Dimitri Levkov , and

    24    his job with Colliers, he gets hired by developers, .
                                                              to
    25    find them financing . So,     asked him if there are any
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                                                                          35

         interesting investments that he's currently looking at .

         And he showed us a couple of kind of projects that he
         was raising money for . And we meet        this was our
                                                                J
         first kind of investments into real estate . Through

         Dimitri/colliers introductions, we invested into a

    6    couple of real estate projects, as just LPs, just kind
         of, you know , LP investors .

    8            Q     And at the time, what sort of sparked your

    9    interest in , you know , investing in or looking to

   10    invest, I should say, into real estate projects?
   11            A     Like I mentioned , we kind of have a pretty

   12    diversified -- mindset was pretty diversified, and we

   13    had almost no exposure to real estate , gping into

   14     that       around that time, 2020.       we were interested

   IS     in learning about       and investing, to just really get

    16      feel             But we wanted to do     somewhat

          locally , so we can actually keep an eye on things ,

          guess, to some extent . So , that really peeked our

          interest .

                 Q     And at that time, you mentioned spring break,

          2020 ; was that March, April, 2020?

                           we came to Miami, March , mid March , 2020.

                           right before the country shut down?

                       Right as. We came the day after MBA shut

          down . So , right qfter the country shut down , and my
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                                                                          36

         company , we went remote , the same time, that weekend .

         So , it was a big weekend , in my life.

              Q    And you mentioned your friend, Dimitri worked

         at Collier . What information , at that time , did he

         p rov ide you, in terms of either the real estate market ,

         in Miami, or specific      was it more specific projects,

         like real estate development projects?

    8               He gave us just an overview, just a very high

    9     level overview . You know , he said they look at

          they get approached by developers to raise money for

   11     them . They look at tons and tons of different

    12    projects, that they pass on. Some are more
          interesting , less interesting , and so on . So ,   told

          him I 'm interested in something somewhat local . So , he

          showed me a couple of projects and, you know, we met
          the developers, we saw their previous experience , that

          was a requirement for      and we made a couple

          investments, based on that .

               Q    And in terms of the high level information

          that Dimitri provided, was it certain types of real

          estate? In other words, was is it residential real

    22    estate, was it commercial?

                        was all residential.

    24         Q    Okay . And with residential, was it single

    25    family homes, was it condos, mixed-use?
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                      So, it was -- so, one of the projects we
         invested in is in Paàm Bay.        It was a ground up ,

         multi-family, like I think it's like a two-floor rental

         project. They completed one right across the street
         and this was their second one . So , that kind

         appealed              that experience that 's literally right

         across the street . So, we kind of liked that. The

         second one we invested in are town homes,          Coral

         Gables , same concept . They completed town homes, right

         across the street. They completed the building , across

         the street, and now they were, you know , they owned the

         piece of land, right kind of next to those two

         projects, and now they were develop ing 15 town homes,
         so we made an investment into that, as well.

                      So , those were the initial two investments

         you made

                       Yes .

   18                     the one in Palm Bay and the town homes,

         Coral Gables ?

   20           A

   21           Q      Same developer for each?

   22                  Different developers .

   23           Q      And who were those developers?

                A      So , Coral Gables is MG Development . Palm

          Bay       sorry , I don 't remember .



                                                  A lex
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                                                                          38

                   But these were, at the time, clients of

         Collier that

                   Yes .

    4                    and Dimitri, correct?

                   Yes.

                   And just, again, sort of high level, for us,
         here today , can you explain how the investment worked ,

    8    in terms of you invest X amount of money , and what was

    9    the, you know , what was your expectation with those

   10     investments?    How did it work?

              A       Sure.      each project has to have a model,
          right, what the developerrs projecting, as far as
          length cost, financing cost, construction cost , time

          frames, what the exit prices would be, and based on

          that , you can calculate the returns , after the

          waterfall, where everybody is paid off. Each project,
              structure , therefs construction loan , on top . And ,

          then, there 's the equity piece . The equity piece

          usually split between LP and GP . In those two

          projects,        the LP. GP   and the way it basically
          works, assuming everything gets executed , as planned ,

    22    which things never       but assuming everything gets

          executed, as planned, the bank is paid off, then

          there 's a predetermined and contractually obligated

    25    kind of split , between the LP and GP . LP meets
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                                                                          39

         certain hurdle. After that, it splits 50/50 or 80/20,
         whatever the splits are . Then , there 's basically a

         waterfall. And depending on the waterfall, GP makes

         their       what 's called a promote . They make money on LP

         money , right? And, so, that 's , in essence, how it

         works .

                 Q    So, when you mentioned the split,      that

         upon the sale of the property , or is that           is

         there any type of split , with respect to any operating

         revenue, once the property is completed?

                 A    No ,   youlre LP,       in those two projects,
         I don 't see any cash flows, any revenues, until the

         sale of those properties .

                 Q    And do you recall , at least the time you made

         these investments, in Palm Bay , and the town homes ,

   16    Coral Gables, approximately, what was the projected
         time frame, for that, for each of the projects?
   18                 Palm Bay , I want to say maybe four, five

   19    years . And town homes were faster because they were

   20     already in construction . Town homey' I'm actually

   21     supposed to get money today , so

   22            Q    Congratulations .

    23           A    Well, hold on . Hold on . I haven 't looked at

          my phone yet.

                      MR. SHOHAT: Donlt linx it.


                                                     Vol .
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                                                                          40

                   THE WITNESS: Don't jinx it. But the .
         closings were scheduled for last night . So , but we got

         involved in town homes, in 2020, so call it three

         years, roughly ; two and a half to three years

                   BY MR . CORTEZ :

              Q    Okay . And Palm Bay is still

                   Palm Bay was       when we looked at the
                                               )
         project, it was just a field, like. So, when we
         invested in Palm Bay , there was no work done,          SO ?

         we knew , bbviously , it was going to be longer . The

         project is almost finished. And, now , they 're going
         start actually people moving in , and they need

   13    stabilize the project, before they can sell          Well,

   14    town homes, when we got involved , it was      the

   15     construction was already underway . So, we knew the

   16     time frame would be shorter .
                                               l
    17         Q    Okay. And, then,       terms of the investments

    18    made, in town homes, in Coral Gables, as well as

          Palm Bay , was that investment made personally , by you ,
          or was there an entity that you owned and contrclled ,

          that's the        each of those projects?
               A    Each project would have an entity set up,
          specific inyestment .
               Q    Okay . M d if you recall, approximately, how

          much was invested in each project?
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                                                                          41

                         Palm Bay was around 6 million, I believe.

         And town homes, I want to say -- it changed , thatrs why

         I 'm trying to think back , but roughly maybe 10 million ,

         million , somewhere in that range .

              Q       Okay.
                      It changed because they were able to get

         better financing , so the bank financed more, so there

    8    was less need from the        than what we initially

    9    invested .

   10         Q       Sorry to interrupt. Each of the entities,

   11     that the investments went through, for each of the

    12   projects, was it just sort of you got control and owned

    13    that entity , or was there other people that also maybe

          had put money in?
               A      I mean , overwhelming, I think , in town homes,

          my partner, Danny , and my CFO, Michael, have some

          money, but overwhelming majority is mine . We have the
          same splits, so I 'm not making any promotes , on their
          money . In Palm Bay it gs either a hundred percent mine ,

          or 98 percent mine, and something . Scmewhere in that

          range , again , not exact number . And the rest would be

          my CFO Is . So , he would co-invest with us , 100 ,000,

          200, 000, something ; 300,000 the most .

    24                And those were the two initial investments,

             real estate , you made in Miami?
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                                                                          42

              A    Yes .

              Q    And that was in the March/April, 2020 time

         frame?
                   No, no . The investments were made -- it

         wasn't March/April because we just got here
         March/April. We really started kind of thinking about
         this stuff . By the time it a1l got said and done, I

         would say it was late 2020. I don 't remember exactly,

         but it was mid to late 2020, early 2021 . Itls got to

         be somewhere in that range .

              Q    Okay . And at the time, obviously, when you

         came for spring break , that 's essentially when the

         world shut down , because of the Covid 19 pandemic , at

         that time, was your primary residence , again time being

   15    March or April, of 2020, in New York City?

   16         A     Yes .

   17          Q    Did it change, thereafter, to Miami, Florida?

   18               It changed the following year . 2021, we

    19    officially moved . We full-time moved to Miami . My

          kids go to school here now . We live here . We spend

          almost no time in New York . So, 2021 -- August,

          was the official move to Miam i.

               Q    Okay . I think if we can go off the rçcord,

          maybe take a bathroom break , five , seven minutes,

          that makes sense?
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                                                                          43

                     MR . SHOHAT: Yeah .

                     THE WITNESS :   I can check my phone --

                     MR . CORTEZ :

                     THE WITNESS :      to see if the town homes

         sold?

                     MR . CORTEZ : We rre off the record ,

                     (A brief recess was taken .)

    8                BY MR . CORTEZ :

    9            Q   So , we are back on the record,     10:08 A .M .

   10    Mr . Klener , did you have any substantive discussion ,

   11    w ith anyone from the commission staff , during the

   12    break?

    13           A

                     Thank you .
                 A   Sorry guys . Don 't mean to qualify       as not

          substantive .
                 Q   I would like to sort of turn now to asking

          you questions in terms of your initial contaçt, with

          Location Ventures and Rishi Kapoor?

                      Su re .

                      How did you first hear or learn about

          Location Ventures?

                      Through Dimitri, as well .

    24                Okay . And what did he tell you about

    25    Location Ventures when the
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                                                                          44

              A    He said there was a developer, out in Coral

         Gables, who had a project that they were almost
         completed, like a block or two blocks away from where

         the town home project is, and that heïs got an
         interesting, unique project concept, that Colliers was
         hired for , called Urbin, and they 're looking for money

         for -- one of these Urbin projects, in Miami Beach,
         which was five minutes from where we lived.

              Q    And you mentioned that Location Ventures

         hired Collier to find

                    Financing .

                       financing . And did Dimitri provide you

         with specific information , at that time, about the

         company, ab6ut Location Ventures, other than just this
         Urbin project?
                    No , initially , it was a casual conversation .

            was just are yoù interested in meeting Rishi and
         hearing about that project, you know, because first you
         meet the developer , you hear the story , and if you like

                                  the financials and projections,

   21    and so on .

   22          Q    Okay. And do you recall when that initial

   23     conversation took place?

   24               Late 2020, mid 2020, somewhere in that -- mid

   25     2020, I would say . Hold on . Hold on . So , we got a



                                                    Vol .
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                                                                          45

         dog , from the shelter, in June , 2020 , and my first

         meeting with Rishi, I had my dog with me, so it had to

         be after June, 2020 .
                      Prior to that first meeting , with Rishi, did
    4
         Dimitri tell you anythingïabout Rishi Kapoor?

                      Nothing -- just generic stuff; nothing too

    7    specific .
                      Okay . And after Dimitri     and you said
    8

    9    maybe mid to the end of 2020 -- kind of told you ,

          generally , like some general information about Location
   10
          Ventures, did you express an interest to learn more?

                 A    Yes .

                 Q    Okay . And what happened after that?

                      We set up a meeting      set up a meeting in

          Rishi 's office , at 299 A lahambre .
                      Do you recall approximately , time frame wise ,

          when        meeting was?
                      Same. I mean,      was , you know , within

          again late      m id to late 2020.

                      And do you recall who was at that meeting?
                       So, it was myself,         our dog , that 's why

            was remembering , because we got       from a shelter,

          June, Dimitri, and Rishi.
                       Okay . And that was your first meeting with

    25    Rishi Kapoor?
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                                                                          46

                     Yes.

              Q      Okay . If you recall, what information did

         Rishi provide you, at that time, about either Location

         Ventures or an'y of the real estate projects?
              A      He told us about the business, the vision .

         He told us about,      think it had four divisions, and ,

         specifically , about Urbin was the one that we were

    8    there          He told us about     team , that a lot of

    9    them were with him for, you know , many , many years . He

   10            us about that he grew up in Georgia . His dad ,

   11    think, was an engineer , who started doing some real

   12    estate, and then,      think , transitioned to just doing

   13            estate . So, Rishi kind of had some real estate ,

   14     just from the family kind of experience, that he

    15    finished 1aw school , and then he went into telling us

          about the specific project that we were there
          consider , which was Urbin Miami Beach .

                 Q    A1l right. Well, let's maybe break that

          down , a little bit . So , starting with , I think you

          menticn he told you a little bit abcut Location

          Ventures business. Can you describe what information he

          provided you ,       about Location Ventures business?

                 A    Sure , that they have four divisions . It was

          luxury condos, multi-family , Urbin , and maybe rental.
                                                           /
          I don 't remember the fourth one, maybe rentalé or
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                                                                          47

         someth ing , and how many employees they have .   I think ,

         at the time , it was maybe 30-ish, someth ing like that.

         His big vision for Urbin, he was very big on Urbin,

    4    that it 's going to revolutionize the affordable

         housing , kind of because the micro unit -- it was a

    6    micro unit concept, that the micro units would become

    7     affordable . And u
                           'nder the Urbin business model, micro

    8     units become affordable and it sells for people who

    9    'can 't afford to the neighborhood where they work , that

   10     was kind of his big vision . And he wanted to have , you

          know , hundreds of them across America, and eventually

          evolve globally , and all that . What else did he tell

          us? He said that he has some investors, that are al1

          strategic investors, like local Miami families, who had

          value outside of just, you know, the investment of the
          comp any . He uses them as    for guidance and adv ice

          and mentorship . He was -- he kept talking about he has

          a1l these mentors that he takes advice from and listens

          to, and so on .
                     And I know were you there tc primarily hear

          about the Urbin investment opportunity ; is that

    22    correct?

                     Yeah, the one specific project.

    24          Q    So, if you could     when, I guess, Rishi

          mentioned to you that Urbin was going to be, I think
    25
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                                                                          48

         you said, micro units, that péople that work in areas

         that they otherwise could not afford , could perhaps

         afford that .

              A     Uh-huh .

              Q     Can you provide a little bit more

         information , as to how that worked?

              A     So , basically , it was a co-working , co-living

         concept, initially . Right?     So, he wanted to have, in

         the building , let 's say three , four-bedroom units, and
                                    hq
         you rent by bedroom , and with a shared , you know ,

         living room , kitchen , and so on . Then , there was a

   12    concept of just micro units, so basically just have
   13    these 300 square foot apartments, which I was

   14     skeptical , but he showed us drawings and actually they

         managed to fit like a bed and shower , and toilet .

   16    Actually , it was laid out, shockingly , that it actually

          fit inside .     first apartment was 650 feet and I

          thought it was kind of tight.         when I heard 275,

          300, I was like shocked , but on the renderings, it kind

             made sense . Then , there were     so , basic'ally , the

          building would have co-liv ing floors . It would have

          co-working floors, kind of like the ''we workn concept .

          Then , there 'd be retail, on the bottom . And, then , he

          even thought about possibly having kind of a co-working

          concept, meaning like let 's say there 's a barber shop ,
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                                                                          49

         that you rent by chair . So , let 's say it was one

         barber shop, but it would be like with eight chairs,
               ,      '1 :
             literally eight, different, single barbers, kind of

         their own stand-alone business . So, the whole co-thing

         was his thing ; co-living, co-working living ,

         so-sharing , co     all that stuff. That was the

         concept .

              Q      Okay . And   know you mentioned that

         addition to the Urb in sort of business, there îs the

         three other businesses. Did he provide you any other

         information with sort of how Location Ventures,

         know , started , or how , you know , he started the

         business; anything about the history of the' business?

                     Yeah, he worked for    a little bit, yes . He

         told us he worked for , I think, a development company,

         and then he wanted to start his own thing , so he

         started Location Ventures .       had got a couple of kind

         of key people . Vivian Bonet was         I think she was a

         chief development officer . And she 's done tons

         prcjects, around South Florida . She did, I think, W
         Hotel,      Fort Lauderdale . That was like the big

   22    project that she did. He introduced us to his marketing
         person, maybe IT person . So, but again, bulk of that

   24    specific meeting was spent on the Miami Beach Urbin

   25    project, and just Urbin, in general, as the vision for
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                                                                               50

        1    Urbin, because like I said , he wanted to o#en hundreds

        2       these , al l over America .

        3         Q        Okay . M d at that time, at that initial
t
I
i       4    meeting, how many Urbin projects were in existence, at
l
!       s    least at that time?
I
        6         A        How do you define existence ; like completed?
!
             Zero .

                           In development?

                  A        Zero; maybe one . The building he was
                                                      l

             wasn 't technically Urbin , but it was similar concept .

             There was no co-living , so zero ,     would say .

                   Q       Any in predevelopment, at that time?

                           Well , I guess the Miami Beach , the one that

             we were talking to him about was in predevelopment . He

             had a contract on the land . He didn 't close on the

             land, yet . And they were predeveloping, you know ,

              approvals , and you know , the concept design, that kind

       18     of stuff .

       19                  You also mentioned that he sort of provided

       20     some information , at that time , about the employees

              that worked at Location Ventures .          think you said ,

        22    from your recollection , there was approximately 30

              employees, at that time?

        24            A    At that time -- that was just -- I don't
        25    remember exaetly . I think we met a couple ,            he had
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                                                                          51

         a couple come in and do a little like spiel.          think

         head of IT came in , marketing came in , possibly the

         Vivian , the development person came         But , again ,

         bulk of the meeting was just Rishi and us.
              Q       Okay. And you'mentioned Vivian Bonet, the

         chief development officer , for Location Ventures. Did

         Rishi and her -- know her prior to starting Location

         Ventures?

                      Yes , I believe they worked together ,

         previous company , or she was working with his previous

         Company .        they new each other before , yes.

                      Okay . And I think you had mentioned, as

         well , that Rishi told you a little bit about his

   14    experience, at least at that time ,       real estate , or

         real estate development. Could you just provide some
   16    more detail, as to what he described to you ,         terms

   17    of his experience , in that industry?

   18                 Again , he mentioned his dad , that he grew up

   19          real estate family , in Georgia; possibly , Atlanta ,

   20     Georgia . He mentioned that he worked for a real

          estate      that he finished''-- that his dad wanted him

    22             a lawyer , so he finished 1aw school, but his

          passion was in real estate. So, he got a job, I think,
             a real estate development firm . His dad was very

          upset . They didn 't talk for like two years, something



                                   Kleyner,
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         like that . And , then , you know , he -- it was really

         real estate was his passion and calling , and you know ,

         he decided to start Location Ventures . I think he

         mentioned his mom might have gave h im some start-up

         capital, like the first 5,000 or something came from

         the mom .       that ls, you know , that was kind of the

         general story .

              Q      Do you recall what year he did start Location

         Ventures?

                        I met him in 2020 , I mean , it must have

         been a few years earlier . I don 't remember the exact

         year, but he had a project that was almost done, called

   13    Villa Valencia. That was his first, like project, that

   14    was deep enough where we could actually see what he 's

   15     capable

   16          Q     What was Villa Valencia     or what

    17    should say , Villa Valencia?

    18               It 's a multi-fam ily condo building fo'r sale .

              no rentals . It ls, I think , maybe 39 units .

             515 Valencia Avenue , in Coral Gables .

               Q     .okay. So, you were,      that time, able to

          drive and actually see the building?

                     Yes . I 'm not sure if we drove that

          particular day , because at the end of the meeting , we

          told him we rre not interested in Urb in , but -- so ,.I
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                                                                           53

         don 'E remember if we saw it that particular day, but we

         eventually saw
                       And at that particular -- focusing, again, on

                                         besides the information he was

             prov iding you , at least verbally , at the meeting ,

    6        he provide you with any documents or litexature,

    7    '   materials , about the company , or about the Urbin

    8        business segment?
                  A     I don 't remember . He might have had

    10       something on the screen , some maybe financial models ,

             but very kind of high level.     I don lt remember .

                        You don 't remember receiving any.      taking

             any documents to rev iew?

                        I don 't remember . Because we weren 't

             interested in the project.         even if we took
             something , we tossed             don 't remember , even if

             we took

                   Q    And why were you not, at that time,

              interested in the project?
                           thought it was a stupid concept, and we

              kind of told him politely , you know , because he did

              something interesting , at the end of the meeting .

              like usually you have these meetings, they give you all
    23

              the information , you shake hands, and you part ways .

              And , then , you connect a coup le days later . He asked
    25
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                                                                          54

         us right, at the end of the meeting , so what did you

         guys think . What are you guys thinking? And we were

         kind of taken aback.          was a little bit

         different approach . And , again , I was pretty

         pretty honest and straightforward person .         I told

                   think it's a stupid concept .   think it 's not

         going to work . I don 't believe, especially with Covid,

         the whole co-living is a thing that's going to survive.

    9      think co-working is a terrible idea because people

         work from home . And I think what you lre building

         not really a real estate project; it's an operational
         bu siness . You have rentals, you have office rentals,

         you have chair rentals , you have store fronts .

   14    not a you build a building and then you sell

   15    That 's a real estate play . Or you build multi-fam ily

   16     and there 's some consistency , in the product you rre

          offering . Here,        a complicated -- so ,      a new

    18    concept, with these miero units . It's complicated

          because you have       these different moving p ieces .

              not sure I understand what 'the real exit is because

              can 't sell       The idea is you get to keep them ,

          right?        that means you have to stab ilize      You

          have to get the cash flow , so that you can get

          refinancing from a bank . But the bank would have

          look at this , and there ïs multiple different sources of
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                                                                          55

         revenue, so you might have a little bit of a hard time .

         And, again, I just told him, just in general,
         believe co-living and co-working is the way of the

         future, or the way of Covid, kind of.       just didn't

         think that concept makes any sense .

              Q    And what was Rishi's response to that?
                    I mean , he obviously disagreed . We didn 't

    8    get into a heated debate, because , you know, I didn 't

         have anything to prove to him .        he said -- he was

         always very polite , so he was         thank you , so much ,

         for your feedback , you know , that kind of fluff. And ,

         you know, he thanked us and we left .

   13               At that meeting , do you recall if he      how

   14    much capital he was looking to       from you , at that

   IS    point?

    16              I think it was maybe 18 million, somewhere

          mid -teens, something like that .
               Q    Okay. And was it that 18 million woûld be

          invested directly into the --

               A    Into the Urbin project; one specific projeçt.
                    N
                    Not Location Ventures?

                    Correct .

               Q    Again, if you do recall, can you just
          describe how that investment was supposed to work?       You

          know , if you did decide, for example, to provide 18
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         million , for Urbin Miami Beach , how was that supposed

         to work?

                       Similar to all the other LPs. You know, we

         provide an LP investment . There 's a threshold, you
                          J
         know , in            When the exit              particular

         project, the exit wasn't a aale,            was a refinancing .

         So , basically , you know , you get money from a bank , for

         'construction . You get LP and GP . You complete the

    9    project. You, what's called, stabilize              where you ,

         You know, rent everything out, you understand wiat your

   11    operating expenses are, what your cash flows are , how

   12    much profit is left . Then you go to refinance a

   13     stabilized project. And there was supposed to be
   14     enough money , from the refinancing , to repay the bank

   15     loan , the          the return for the      so on and so

    16    forth . And, again , similar concept, where there 's

          some kind of minimum interest . And , then , the rest

          gets split between LP and GP.

               Q       So, the thought was         once the property

          became stab ilized and they understood the revenues, the

          cash flows , their operating expenses, so on and so

          forth , that at that time, they might           they felt they

          could go to a bank and get refinancing . And if that

          were to have happened, then the LPs would have gotten

          their --
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                                                                          57

                A     Yes.

                Q        money back?

                      Yes .

                Q     Plus, whatever the split was , correct?

                      Yes.

                Q     Then , at that point , the LPs are out?

                      Correct .

    8                 So , that 's one

    9                 Yes .

   10           Q     Was there ever any discussion of sort of ,

   11    maybe a second exit , which is to stabilize the

   12    property , then to sell?

                      Not at that meeting; and, again, his vision

          was       he had -- he wanted to be the first trillion

          dollar real estate company .      think he even mentioned

                in some e-mails or texts . He always left about

          We always like, you know , Rishi before you become a

          trillion dollar company , you have to become a billion

          dollar company . Before you become a billion dollar

          company , you have to become a million dollar company .

          So , we kind of tried to walk h im through there 's some

          steps to get to a trillion . So , I think his v ision was

          eventually to like get enough of these Urbins and

    24    possibly sell them as a kind of we work type of

          the new we work, like we live kind of thing . But,
                                                      t
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                                                                               58

             again ,     thought the whole con/ept of the m icro units

             an d stuff, I never really truly            never bought into

             it because I never understood

                     Q     Okay . So, after you declined the offer,

             invest in Urbin Miami Beach , what was your next,

:            guess, interaction or communication , with either
             Dimitri or Rishi, concerning Location Ventures?

                     A          was back in New York , because I

             remember the phone call . He asked us to set up a zoom

              or teams, whatever . So , he asked us to set up a call .

             We set up a call . He asked us what kind of investments

              we are entertaining or considering . We said , we have ,

              you know ,                can 't invest into something I

              don 't understand .       don 't really
                                                 .
                                                      understand Urbin !, as

              a concept . So # I would never invest in something I

        16    don 't really understand . We also want to add a little

                  of value, outside of just money. If there's

        18    something we can add value with advice or op inion .

        19    can ït give any advice or opinion on m icro living . Like

                asked my nephew , who        a college          like would
                 l
              you live in something like that . He said , no . That

              was the extent of kind                 anyway ,   couldn 't

              really understand that concept .              told him ,

              like, look, we live in Manhattan ,            understand

              condos,      understand      again, I understand just not


                                                    Alex
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             from professionally, just from my life, right?
             understand kind of luxury buildings and amen ities, that

             kind of stuff. So,               says, hey, I have a project
             for you to consider, and there was a 551 Bayshore ,
I
             Fort Lauderdale. He 's like it 's a waterfront on             not
I
!                  .
!            on the ocean , on the bay side, luxury condos for sale .

             So, I said, okay , that sounds like at least something I

             can understand, so we would be interested to look at

             that .

                   Q           When was this zoom team meeting; was it

                               I would say it was a few weeks or call it

             maybe, at most , a month , after that meeting we had , on
                           (
             Alahambre .

                   Q           So , some --

                               So, sometime maybe September-ish t of 2020,

             November-ish . Because the meeting we had was                 the

             meeting we had was in person , in Coral Gables, and this

       18     zoom was -- I remember was in my Manhattan apartment .

       19          Q           Okay . And the zoom meeting ,

       20    September/Ncvember time frame, of 2020, who was               do

       21    yOu recali?

       22                      It was just me and him.
       23              Q       Just you two. Okay . And you mentioned that

       24     he       he provided some information about 551 Bayshore ,

        25    which is in Fort Lauderdale?
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                                                                           60

                       Yes .

                       Is it on Fort Lauderdale beach?

                         don 't know what you mean by Fort Lauderdale

         beach .          north --

                Q      You have Miami, Miami Beach, and it's

         separated by like the bay or Intracoastal .          think you

         mentioned it 's on the bay side?

                       I don 't know if you know where Four Seasons

    9    is, in Fort Lauderdale. It's just on the other            so
         Four Seasons is on the ocean, this is on the

         Intracoastal .

                Q      Okay .
                       So, it 's North V illage, maybe . Is there a

         North Village, in Fort Lauderdale?

   IS           Q           not sure.

   16                  MR . O 'BRIEN : I Im not fam iliar with North

   17    V illage .

   18                  THE WITNESS : Anyway . Sorry . To me        like,

   19                Boca is one place, and Fort Lauderdale is one

   20    place . Sorry , I don 't know the geographic - specific

          ar eas .

   22                   BY MR . CORTEZ :

    23          Q      No worries. So, with respect too 55l

          Bayshore, we'll just say in Fort Lauderdale, what
          was        at that meeting , the zoom meeting , what was sort
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              the status of that project'
                                        ,      that time?

               A      So, basically , he told us about the seller .

                    seller, his name is Par, I don 't know his last

         name ,           I think he 's from, I want to say , Sweden .

         So) he bought, during the crisis, financial crisis, he

         bought a portfolio of assets .        included a whole

         bunch of different randomness , like lands . I think he

         bought it from some guy in distress . And           is one

         of the pieces of land, that was in that portfolio . He

         owns , actually , a whole bunch of that part of Fort

         Lauderdale . He 's not really a seller . He 's kind of

         views that lïttle area , of Fort Lauderdale, where he

         owns a whole bunch of like land , and buildings, and so

         on    as he wants to -- he envisions         a little ,

         don lt know , central bay, that he wants to make it into

         something that 's cozy and hip , and all that . So , he 's

         not really a seller.         he 's not -- this land wasn 't

         on the market.     I don 't know how Rishi met       I don 't

         remember, but Rishi like courted him , for like two

         years, and sold him on the vision , and             And Par

         agreed to give him the contract, for that land , with

                  long closing date, meaning that basieally gave

         Rishi time to get the project approved, get financing
         lined up , so he didn 't have to close on the land ,

         before he had everything in place . Par believed in the
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         vision , so much , that he agreed to put 5 m illion , as

         preferred equity, into the project, out of the kind of
         sales proceeds. So, it sounded interesting because it

         was, again , it was on the water , luxury condos . There

         was no eminent need to close on the land . As a matter

         of fact, fast forward, the land is still not closed .

         We 're way past when it was supposed to be closed ,

         extensions and all that . We lll get to that later,

         the interv iew , but       so , as a concept,    sounded

         interesting to us .

                      And at the time, the land was not developed ;

         there was no building?

                      No, just a field.
   14          Q      Just a field?

   15          A      Just a field .

   16                 And, today,         still just a field?

    17         A      It 's funny you ask . Today ,      should be a

    18    field , but Rishi started construction on the land, even

          though we don 't own               that I 'm part of,

          Bayshcre , still does not cwn the land. We just have

          the right to purchase the land, which expired . So, he

          got extensions, with monthly fees, from Par, which are

          also expiring soon , but he already started . He got a

          plan approval and started some of the work , already

          started .
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              Q    Okay. And we'll come back to that,

         little bit. I just wanted to understand between then
         and today .

                   So , do

                   MR . O 'BRIEN : Jordan , maybe prov ide an

         instruction about making sure that he waits for you to

         finish answering your question , before he responds,

         because there 's a little bit of cross talk , being

    9    difficult, I imagine, with the transcript .

                           CORTEZ : Oh , sorry . So, what Russell

         saying, is given that the court reporter is taking down

   12    everything, 1 '11 make sure you finish your response,

   13     and just make sure I finish my question --

   14                  THE WITNESS : Okay . Sorry . No problem .

    15                 BY MR . CORTEZ :

               Q          responding. So, at the zoom meeting , for

              Bayshore ,         was just going to be-- the vision at
          least, at that time , was just going to be a luxury

          condominium building?



               Q       Did Rishi provide any information as to how

          the investment, with respect to 551 Bayshore would

          work , similar to how he provided in the initial

    24    meeting , sort of the investment into Urbin?

    25                 Not at that zoom , but when we showqd interest
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                                                                          64

         and we got financial models, projections, and that kind
         of stuff .

                      Okay . So, besides telling me about this

         opportvn ity , on this zoom meeting , was there any other

         information he provided               at that time?

                      At the zoom meeting?             think so .

         don 't believe so .         was a very high level .

    8             Q   Was it fair'to say the zoom meeting was

    9    relatively a short meeting?

                      Yeah , maybe 30 minutes.

   11             Q   Okay . And, then, you mentioned that, after

   12    that meeting, you expressed interest in the project?

   13             A   Uh -huh .

   14                 When was that?

   15                 Shortly after . Again ,      this was September ,

    16    October ; so , again , within weeks of that .

                  Q   Okay. And, then, you expressed interest,

         / like   in another meeting, picked up the phone , called

          Rishi, or e-mail?

                                  remember .

                       Okay . When you did express interest , I think

          you were provided some documents, at that time, and

          think you mentioned some, but if you can just, again,
          mention those?

                       I believe we were provided       there 's really
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                                                                          65

         more Or less one document. Itls the projections,
         right?               a financial model that shows the

         things    mentioned before, how much the land is going

         to be bought for, what the development cost would be,

         how much of that        financed by the bank , how much of

         that -- what the interest rates would be , what the
                                            /
         costs would be, contingencies,'
                                       'what the sale price

         would be .           then , based on that, what the profits

         apd the waterfalls would look like .

                      so, this financial projection, was it
         essentially like an Excel spread sheet?

                      Yes .

               Q      Was that all that was provided to you, at

   14    that time?

   15          A        believe so, because the project        maybe

   16     some renderings of what the vision         because

         wasn 't approved yet , what the vision would be for what

    18       looks like , but pretty much it 's possible that he

          provided the purchase and sale agreement , with the
          seller , that showed the, you know , the delayed closing ,

          but I don 't know , a hundred percent .              Sur e .

          But that would be really the only things that he could

          provide, at the time .
                      And      so , there was no marketing materials

          or investment brochures , or anything like that , that
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             was p rov ided to you, at that time?

                        I don 't recall . If there is , it would be in

             the documents that wé shared with you guys. Because

             anything that was provided, we shared , but

             recall .

!                       The financial projections, was that sort of
             the main document , that you      if you recall, that you

        8    really reviewed to understand

                        Yes.

                  Q         how the numbers would work?

       11               I'm sorry . Yes .

       12               Okay . What was your initial impressions

              the financial projections provided for 55l Bayshore?
                   A    We thought his exit assumptions were

              reasonable. I think he was projecting something like
              maybe $950 a foot . We thought, for a luxury       brand
              new construction , luxury, water-front condo, that

              seemed reasonable . But we don 't hav e enough expertise

              to question       to really , truly analyze the costs of to

              build . But, overall, assuming those assumptions were

              accurate, and assuming even some things were ambitious

              and we discounted some things, the project still looked

              very valuable .

        24               Did you understand -- did you receive any

        25    information concerning how the financial projections
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l            were put together?
I
i
I
1
                  A       believe he told us he has a team inhouse

             that puts these projections together, based on,

        4    obviously , his input, and comps, and some other
             factors, but I think those were prepared inhouse and

        6    reviewed by Colliers, because Colliers was technically

        7    the ones marketing the project.
                  Q     Do youz
                              l
                                recall if afier you received these
             financial projections, if you had any conversations
             about them, about the projections, with, say, Dimitri,
             at Colliers?

                   A    I would assume so . Again , I don 't recall ,

              for sure , but it would make sense that I did . But I

       14     don 't recall . I don 't recallu for sure .

                   Q    Do you recall anything that you did or that

        16    maybe Dimitri did, to sort of try to verify the

              numbers, in the projeetions, or the assumptions , that
        18    may have been imbedded, in the projections?

        19         A        think we looked at comps, in the area, just

        20    basically go over what 's for sale ,    the zip code, the

              area: to try to get a sense for if these exit prices,

              at least, were realistic . And I believe our CFO ,

        23    Michael Goldenberg, reviewed projections'
                                                      , as well,

        24    just a sanity check.      should say reviewed the model,

              right? But that 's really the extent
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                  Q        mentioned that there was some numbers

             that you discounted .      you recall what    be it

             nu mbers , line items , etcetera, that you may have
I
             discounted and why?
I
!                      It 's a standard practice to stretch the

             models      you say, okay, well, they project a
             thousand a foot, but the market goes and gets soft , and

             it 's only 900 a foot, does the model still work . Or

             they project, you know, a hundred dollars to build
             something , and it becomes l20 dollars , does the model

       11    still work. So, we just stretch some assumptions,

       12    becau se we had the expertise to identify specific

       13    things that we were questioning, but just general

       14     stretch of the overall kind of model .

        15              And that was done -- was that done by

        16    by Michael, or b0th2

                   A    That was done by Michael.

                        Okay . You mentioned earlier , with respect to

              Urbin , about sort of the exit strategy for the LPs was

              when the property would stabilize , and then there would

              be a refinancing , and then the LPs would get sort of

              their split. Was       at that time, the thought with 55l

              Bayshore, the same type of exit strategy , or was it

              something different , given that that was     551 was

              luxury condos, versus Urbin , this co-work , co-living?
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                                                                              69

                  A         it was totally different . 5Sl was

             supposed to be your -- traditionally , you build the

             bu ilding , you sell all the apartments , and you move on .

                       Okay. So, if you could just sort of give us
             a little more detail, as to how that works, with like a

             luxury condominium ?

                        Sure. So, basically, the project gets
!
             marketed pre-construction . So , anybody who wants to

        9    buy an apartment'can do so, before the project is even

             built. And as the project is being developed and built ,
             once it gets     once it 's completed and gets the TCO ,

       12    temporary certificate of occupancy , then Lhe closings

       13    take place , where the owners of these units are , you

       14    know , close on these units. They take possession of

        15    the units inside the building . The proceeds go to the,

              you know, the project entity. And, then, again, the
              bank is paid off, al1 the bills, liabilities , are paid

              off . And , then , the remaining waterfall goes to .the LP

              and GP split . Any units that are unsold continue to get

              marketing, until they are sold. And the idea is once

              you sell every single unit, in the building , then

              youlre kind of done with the project.
                        Okay . And at that point , assuming        the

        24    units are sold in the luxury condo building , was there

              still the thought that Location Ventures are an entity
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         that 's controlled by Location Ventures , but would run

         the day-to-day operations of that unit, or was it

         planned to sell the entire building, to a third party?

                      Well, the owners of the building are the
                                           /

         individual owners of the apartments . And , then , there

    6    would be some kind of a HOA form , to ensure the

    7    amenities and such are , you know , being run .

         don 't believe the Location Ventures was staying in ,
    8

    9     continue to operate the building .

                      Okay . Thank you .

                      It was just a sale and done.
               Q      And with respect to the 55l Bayshore project,
          how much money was Rishi looking to raise from you?

               A                    Are you done with the question?

          I apologize . So , I think it was either 16 or 18

          million .
               Q      Okay . And do you recall what your ownership

          interest would have been , in the entity that was

          overseeing the development of that project,
                       So, it was    I believe it was 80/20 split,
          on the equity investment . We would have been the 80.'
    21

    22    Location Ventures would have been the 20. Then ,

           there's, again, the waterfall, on the way out, is not
    23

           80/20. Itïs like everybèdy gets repaid. We meet a
           certain hurdle of maybe 12 percent hurdle . And , then ,
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                                                                          71

         after that, it's split, I think, 50/50.
              Q     So, and just for us, I may not be as
         knowledgeable about real estate, when you talk -- just
         make the record clear . When you talk about the

         waterfall and the hurdle, can you just explain that?
                    Sure . So, let 's say the exit price is a

         million dollars, right?   And there 's 700,000 owed to

         the bank . So , the bank gets paid off . So, there 's now

         300,000 left ,     the equity holders, which is the

         limited partners and general partners . And let 's say

         from that 700,000, that 's left, the actual investment

         of the project was between the LP and GP, let's say
         $200,000. 80 percent LP, of the 200; 20 percent GP.
         So , that gets repaid . So , now there 's half a million

         of profit left. And that profit gets split 50/50.
         250,000 goes to LP, even though they put      80 percent ,

   17    they only get the 250 on top . And 250 goes to GP , even

   18    though they only put in the 20 percent, they get the

   19    250 . So, that 's how the general partners make their

   20    money . That ls the part that 's called the prcmote,

          right?   That 's how they make the profits, in that

    22    waterfall of cash coming out . In addition, they make

    23    development fees, as the project is being developed.
          The project is paying the developer, develo#ment fees,
          that are negotiated . Those fees go to cover , you know ,
'




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h
l
I
             expens  es overhead , and some
                        ,
                                                    there should be some
I
p
!            17rofit left .
!
i                            okay .   But from like an   standpoint, from
!
!            your standpoint, the money put in , once Lhe bank would
!                                                                       .
i
'            g et paid , upon exit, you would get paid back the money

             that you initially put            plus say 50 percent of

             whatever the profits were?

                             Right. I would get my principle . I would

             get whatever the -- what 's called the hurdle , we agreed

                   that I make at least , let 's say 12 percent , before

             the money starts getting split . And, then , any money

             that 's left over, after a1l the expenses are paid , LPs

       13    repaid , GP and principle is repaid, the 12 percent

       14    met, then any money that ls left over is split , I think

       15        was 50/50, on that project.
        16          Q        That 12 percent, that hurdle that you

              mentioned , was that actually what was agreed upon , with

              551 Bayshore?
                    A           don 't remember exactly, but I believe so .

              But typical is either eight, ten, or 12 percent,

              somewhere in that range . I believe, in that particular

              p ro J'ect ,      was 12 percent.

                              Okay . So, after      I know you mentioned the

        24    financial projections and maybe the purchase agreement

        25    of the property , and some other information , was that
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         all sent to you via e-mail, at that time?

                     I believe it would either be e-mail or some

         kind of document drop type of a link. Aèain, whatever
         was shared with us, we shared with you .

                     And , then , once those documents were provided

         to you , did you actually decide to invest in 551

         Bayshore?

                     Yes .

               Q     Okay. And was it the either 16 or 18 million

         that you did invest in

                     It was the 16 or 18 million that we committed

         to invest ,          We didn 't actually dep loy the full 18,

         but we committed to deploy the 18 million .

                     How much money , of that 16 or 18 million , has

   15    b een deployed to date?

   16          A           million .

   17                Okay . And do you recall after that you

   18     received those documents , was       shortly thereafter

   19     that you decided to cpmmit the 16 or 18 million , or do

    20        remember the . time period?

               A       I mean , I don 't remember exactly , but

          would be within maybe 30 days, 45 days , something like

          that .

                       Okay . And I know you mentioned 16 or 18

          million was committed , but not a11 of it was deployed
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             on day one . M d , today , there 's been approx imately 5

             m illion deployed . What was your understanding ,

             terms of once you committed that amount of money , how

             that money would be used specifically for that project?

'
l                            Would be used for development.
I                                                          .
             would be used for concept design       you know , architects,
l                                               r
             structural engineers, HVAC, etcetera, etcetera .

             would be used to pay some development fees, along the

             way . Every month there was some fees that went to

             what 's ealled the sponsor, which was Location Ventures,

             and it would be used for any , basically , soft and hard

       12    costs . Soft cost is non -construction costs, like

             architects, interior designers , and such . And, then ,

       14              as the construction started , it would be used

       15     for the hard costs, which is the actual cohstruction .

        16         Q       Was there any costs or expenses that your
              investment was not perm itted to be used for , in term s

                 constructing and developing this project?
                   A       Like what?          sure I understand the

              questicn .

                   Q       Well, you mentioned that your money was
              initially planned to be used for some soft costs , and

              then once the construction began, like hard costs.        Is

              there any , for lack of a better term , categories of

              expenses or costs associated with the project, for
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             which your investment, you know , should not be used?
i
!                                                   ,     lated to actual
i                        Z don't       anything that s re

             completion and successful execution of the project,
                                   '
             this money was allowed to be used, as I understand .
                                                           '
                         MR . HOUCH IN : Let me interrupt , for a second .

                          BY MR . HOUCHIN :

                          How did you know how your cap ital was going
                    Q

                be used?
                          Well, part qf that model that we looked at ,

             had the different line items of anticipated expenses .

                          Were there any sort of representations made ,

                                       in the model, sort of setting forth
              other than what was

              how your cap ital would be used, if you went forward

              with an investment?
                                                               J

                             would have to look back to the operating

              agreement , which you guys have a copy of .
              don 't     if you 're asking like if there was a time line

              and a million dollars goes here and a million dollars

              goes there ,     don 't believe so ,         not sure .

              was       everything was supposed to gc according to the

              operating agreement, which again you guys have a copy

        22
                                       trying to get a feel for ybur

               recollection, as to whether Mr . Kapoor or anyone else ,
        24
               at Location Ventures, said anything to you about ,



                                          Kleyner,
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             know , this is how we intend to use your capital,

             specifically , as opposed to what was set forth in the

             mode l , and but also might be set forth in the operating
I
j                   '
!            agreement, just based on what you recall?
1
                            don't recall anything that kind of jumps at
             me as out of the ordinary .

                         Thank you .

                         BY MR . CORTEZ :

                  Q      You did mention the operating agreement,

             after you       was that provided to you after the

             financial projections and whatnot, that you reviewed
                       Bayshore?
                  A      Yeah , operating agreement was provided after

             we agreed to make an investment .

                   Q     Okay. And you reviewed the operating

              agreement?
                   A     Our lawyers did, yes.

                   Q     Okay. And you mentioned that the operating

              agreement sets forth a11 of the, sort of, fees and

              other expenses, for wh ich your investment capital could

              be used for, correct?
                   1
                   A       Yei# it

                   Q       Okay.
                              again , I don 't have it in front of me , but

              I would assume so.



                                        Kleyner,
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                     Once monies were deployed, after you

         committed to 16 million or 18 million , how did that

         money get deployed ; was it that you essentially'would

    4    wire X amount to Location Ventures or to an account?

                       So, we' opened an entity , from which we made

         the investment . I think it 's called

                       ,
                            something like that, LLC . From that,

    8    money got moved into                   Partners, which was

    9    joint venture between kind of myself and Location
         Ventures. So , that was the entity that is the          kind

         of the owner and developer, of that project.
   12    that ls where the money went . And , then, Rishi had

   13     control of that entity where the money was going from

   14     that entity .

   15          Q       Was it ever contemplated that there would b.
                                                                  e

          other LPs or other outside investors that would be

          investing or committing to invest cap ital, for this

          project?
               A       Not at that time, but eventually that 's what

          happened .

               Q       Okay. And when did that occur?
               A           I donlt remember exactly, but Rishi

          brought in this group , called          out of India , and

          they agreed       our understanding, from Rishi , is that

          they agreed to invest into multiple projects, with
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    1    Location Ventures , including that Urbin Miami Beach ,

    2    that we passed on . And the agreement we made with

    3    Rishi , that we basically going to sp lit -- let them

    4    come in for half of the Fort Lauderdale LP, with us,

    5    but we take that half and we apply it to another

    6    project of Location Ventures, which eventually became
         1505 Ponce . So, basically , that 18 million got

         split           16 million . I think it was 18 million got

         split -- ended up getting split between Fort Lauderdale

         and another project.
                 Q     9 million, then with Fort Lauderdale

         committed , apd then the other 9 million now committed

         to 1505 Ponce?

                 A     1505 Ponce , yeah . I think 9 or 9 .1 million

         got committed and actually deployed in the other

         project.
                 Q     And , then , so when      came in and invested

                     Bayshore , then your LP interest was less than --

            was basically half

   20            A      Yeah .     basically , we were at 80 percent ,

          80/20. When they came           the structure changed

          for Location Ventures, so their share dropped ,

    23    45/45, between us and
    24                  Okay . Then , Location Ventures, as the GP, at

    25       percent?



                                    K leyner ,
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                     Yes .

                     Okay .   In addition to       currently , are

         there any other limited partners invested in 551

         Bayshore?
                     So, normally , I would say no , but I'm going

    6    to give a caveat . So, things started unraveling , in

         that project, where we said -- basically, what we found

    8                      and we kind of found it out by chance,

    9    that now the budget went up by $4O million, which was

   10    not something we ever approyed . But don 't worry , guys,

   11    the exit price is now 1,500 a foot, so we dre möre than

   12     going to make up for it and still make plenty of

    13    profit . So, when we found that out, we said we lre not

          putting another dollar into this project. At this
                we were at          We said we 're not putting

          another dollar into this project. This is not okay.
               also got uncomfortable putting -- at making future

          cap ital calls . So , we basically '
                                             told Rishi, do what

          you 've got to        We lre not making cap ital calls . You

          want to find others, that 's fine . We 're not putting

          any money into this, because this is not what we signed

          up for . And we found out , literally , weeks ago , that

          therels a $50,000 investor, in this project, possibly.
          It 's like we noticed       in -- I don 't remember where .

          Therels some guy for $50,000. We never voted or
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        1    approved that person coming in. I never met that

        2    person . I don 't know who that person is . So, I don lt

        3    really have the contacts . I never spoke to Rishi about

        4    it because we 're not on speaking terms, at the moment .

        5    I haven 't spoken to him about it . I don 't know what

        6    that story is, with the 50,000. So, it's possible that

        7    this project has a $50,000 LP, but I have no idea if
    .
        8    it 's an LP, if it 's a debt . I have no idea. But from

        9    the kind of multi-million dollar investment, it's only

        10   us and        a'
                            s far as I know .

        11          Q   And if there were -- excuse me. If a new

        12   prospective LP were to come in , is it your

        13   understanding that you -- or that you created, an LP

        14    and       would have to vote , as to whether a new LP

        15    could come in?
!

        16          A   Yes .

        17          Q . Okay . And that took place with this --

        18          A    Assuming this 50,000 person is a real LP ,

r
        19    because I don ,t know -- again, I don ft know if it's                 h

:       20    50,:00 of debt, or what the story is, because we never

'       21    updated any operating agreements . So, I don 't know

I       22    what the story is, with this person . Bute yes, our

l       23    understanding is if there 's any change in LP, then that

        24    would need to be voted on .

        25          Q    You mentioned that the budget has increased



               (5/31/2023 9:11 AMJ Kleyner, Alex - Vol. 1.20230531.449633-M ...
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    1    by $40 million. When did you find that out?
    2         A         we found that out probably last year ,

    3    2022 . Apparently ,      when they invested , they

    4    invested under the new budget . so , they already

    5    like when they made a decision to invest , they invested

    6    under the -- that 40 million mcre budget. We invested

         under the , kind of the previous budget. Rishi claims

         that this was shared with our team , the updated budget .

         And it 's very possible that' it has been , but it was

         never highlighted . It might have been shared in , you

         know, just amongst multiple other interactions,
         e-mail exchanges we had, but '
                                      we never had a sit-down,

         where he's like hey , guys, this happened, and now

         $40 million more. That never happened.
                    Did Rishi or anyone else from Location

         Ventures provide information as to why the budget did,

         in fact, increase by $4O million?

   18         A     The story was that they found additional

         square footage that they can develop . So, that

   20    additional square footage would            some of that 40

         million came from that additional square footage that

   22     they were able to find . Some came from , you know, the

   23    market moved, the cost moved up , and so on . But ,

    24    again, don ft worry, guys , we 're now going to sell for

    25    1,500 a foot, so it doesn ît matter because we 're going
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             you know , more than make up for            the way out.

                Q    Did Rishi or anyone from Location Ventures

         provide you with any document, updated budget ,

         updated sort of verifications, for the $4O million

         indrease?
                     Yes , that Is ,   think , how we found out

         that       we looked at one of the laiest      because the

    k8   models constantly changed , which , to some extent ,

    9    happens, but they seemed to be changing a            in this

   10    particular situation . And , then , when we looked and

         actually compared what we invested into versus one

   12     the latest models we saw , that 's when we noticed that

   13     there 's a massive discrepancy .

    14          Q      And, generally, or approximately,     should

          say, that $40 million increase, in the budget, what's

                percentage?

                       Like I think the budget was maybe

          hundreds . So , 40 million was a pretty meaningful

          increase .       wasn 't a rounding error .

                       And an increase ,     terms of that percentage

          level , you said m id one hundreds, now 40 million on top

          of that,       the budget was supposed to increase, by
          that much , was that something that was required to be

    24    approved by you?

                       A hundred percent .
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                     Okay . You and

                     Yes .

                Q    Okay . And there was never any approval made

         by you or           to increase the budget, by 40 million?

                         again , when        invested , I believe

         don 't want to speak for them , but I believe they

         invested under the new budget because they came in way

         later than we did .          arguably , they don lt need to

         vote because that 's what they invested under , or some

         kind of version of that budget .           or our side never

         voted for the $40 million increase.

                Q    And presuming          the operating agreement ,

         do you a recall if there was an allowable sort of

         deviation of the budget that didn 't require LP

   15    approval?

   16                Yes , but this was      I don 't remember exactly

   17    what          but this would definitely not be inside of

    18    that deviation .

                Q    Okay. Let me just take a step back. You
          mentioned that you decided , initially , to commit 18

          million and there were various capital calls, and that

          you 've committed       or you deployed 5.l million. From
                                                                  1

          the time you committed 18 million , until you found out

          the budget was $40 million more than what was initially
          presented to you , was there periodic information that
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         Rishi, or anyone from Location Ventures, provided

         you about the status of the project, the budget, you
         know , where things were heading , with 551 Bayshore?

                    Yes .

                    Can you describe what -- that either the

         information , documents, what have you , were?

                    I mean , he would provide updates

         approvals . He would provide updates on the designs . He
         provided us with an update that addition Marriott

         agreed that this project will be branded additional
         residences . He provided pre-added model updates

         updated models, I should say . So, yes, there were

         updates.

                    Okay .

                    MR . SHOHAT : 'Can I ask one clarifying

         question, just to keep the record?
   17               When you say models, are you talking about

   18     financial models or unit models?

   19               THE WITNESS : Financial models, like the

   20    budget, kind of update the budget.

                    MR . CORTEZ : Thank you .   appreciate that .

    22              BY MR . CORTEZ:

    23              Financial models, when you mentioned earlier

          you initially got financial projections, and you
          mentioned financial models, you mentioned budgeù.
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         that all sort of the same thing , in other words, are

         they updated budgets, essentially?

                       Yeah .

                   f
                       Okay .
                       Yes, and then those models , the exit price

         kept moving up . The assumed exit price kept moving up.

         And we started getting uncomfortable .

                       So , the initial model that had the exit

         price, and I think we had talked, that your CFO

         reviewed it , you looked at         discounted some of the

         numbers, correct?

                       Yes .

   13         Q        And but, generally, you felt that the numbers

   14    were reasonable , based upon comps and other things you

         had available , at that time?

   16

    17         Q       As you received updated models and budgets,

             it your testimony that you became more and more

          uncomfortable with the numbers?

                       Yes .

               Q       And can you explain why that is or if there 's

          certain parts         the budget that the numbers made you

          feel uncomfortable with?

                        Specific part that made us feel uncomfortable

    25       what he projected to be the sellable price per
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         square foot. When we invested, I think it was maybe

         950 a foot, which we thought was reasonable . By the

         time we said we tre not giving you any more money ,

         think it was up to maybe 1,500 a foot, average . So,

         that 's a pretty signifieant increase.     It happ ened kind

         of gradual, 950,           1,100, 1,200, and then at some

         point, just because the expenses are going down,
         doesn 't automatically mean that exit prices are going

             Ultimately , comps kind of dictate, and we started

         getting uncomfortable that       yeah , we started getting

         uncomfortable that it seemed like whenever the actual

         expenses started creeping up , the solution was well,

   13            just model a much higher exit price, sale price.

   14                 And what was that -- did anyone, from

   15    Location Ventures, try to explain to you, like how they

   16    verified or justified a higher exit price?
    17                I mean , Rishi would try to explain and find

    18    this unit sold for this much , this unit sold so much .

                 again , we did not -- we didn 't feel confident that

          his projections are, you know, actualized.
             )

                 Q        from 90O per square foot , to now 1,500,

          per square feet, Rishi tried to provide an explanation

          as to the increase for the exit price, but you didn 't

          feel that his explanation was

                      Again , look , real estate is a funny thing ,



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    1    right? If some prices seem unreasonable, and fast

    2    forward a year , they seem like a steal , right?    So , we

    3    have to rely on his expertise and experience that he 's

         basing these prices on what he sees in the marketplace.

         Right? We're not professionals, so when we would just
         look at random comps, we didn lt really see enough

         inventory to justify this exit price, but there's also,
    8     in that particular area, this was a brand new,

         waterfront , addition branded , luxury condos, so

          possible that these prices are realistic . Right?      Like

               not what we initially signed up for , but

          doesn 't mean that         so, we were uncomfortable ,

    13    but we didn 't have a high degree of confidence that

    14    these prices will never, ever be reached, because

          there ls no real comp , right next to      It 's not like

          a private home , next to another private home . It's

          brand new , luxury condo , and there ls no similar brand

          new luxury condo, right next to it, to justify. So,
    19    some things we trusted     some things were assumptions,

          and some things we were hoping were accurate , but y
                                                             '

          again , fundamentally , this is not what we initially

    22     invested in .
                Q    You mentioned that also with each updated
    23
    24     model or budget , you mentioned that costs were also

    25     inereasing from what was initially presented to you?
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                                                                          88

                     Yes.

              Q      Why were the costs increasing ; what was the

         reason provided to you?

                     During Covid, there was so much copstruction

         boom , which is         And , then , the cost to execute

         projects went up, which, again, we heard from pretty
         much everybody , in the industry , that that was

         accurate . Now, how much they go up for , again , we rre

         not experienced enough tp say , okay , well , 20 percent

         increase is reasonable or not reasonable , but overall ,

         anecdotally , from everybody we spoke to , they did say
                   costs a 1ot more to build something , than it

   13    used to , before Cov id .

   14          Q      And sort of the'more recent models, with the

   15     costs increasing , did that concern you , or was that

   16     something that you had questions about, similar to the

    17            square foot exit price, that we just 'talked
          about?

                      Yes, our concern was that just because now
          your costs went up, you can't just      because
          Excel model . You can plug in any number and , al1 of a

          sudden, the project looks ineredible, right? And if
          the costs keep going up, are we going to just model

          1,700 a foot? There has to be reality to expenses and

          there has to be reality to exit prices . You can 't
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         miraculously fix your expense side , by miraculously

         increasing your exit price , until we sold elevation

         from pre-sales and sales , and           So , yeah , we were

         definitely concerned.

                     And you mentioned that it 's your

         understanding that Rishi was involved , amongst other

         people at Location Ventures, in, putting together these

         models and updating the models , correct?

                     Absolutely . Very few th ings happened , at

         Location Ventures, without Rishi saying         giving an

         approval . Like there 's no independent thinkers,

         that company .

              Q      So, do you know who else, other than Rishi ,

         may have,        say , assisted or at least worked on

   15    these models, in updating the models?

                       think Daniel Mogha , his partner, DJ Mogha .

         His name is Daniel . He goes by DJ . And if I1m not

   18    m istaken , George was building models, as well .

   19         Q      Okay . And when you expressed concern, again,

   20    about the        million increase , in the budget , did you

   21     speak with DJ Mogha or George       are you referring to

   22     George Tarinos?

   23          A     I believe            know George Tarinos

               of like the contrqller and he sends like the cash
          reports and stuff . There 's another      I know Rishi
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                                                                           90

         before I do George, so k don 't know if thereïs another

         George, who does the models, or if this is the same

         George .
                Q         Okay. But I know you spoke to Rishi, but did

         you speak to DJ Mogha?

    6                     Not really , no .

                Q         So, you communications about the budget and

    8    the increase --

    9                     Everything goes through Rishi, in that

         Company .

   11                     MR . SHOHAT : Let him finish the question .

   12                     THE WITNESS : I ïm sorry . Sorry about that .

    13                    BY MR . CORTEZ :

                          Did you speak with anyone, at        about

          YOUR concerns about the increase in the budget?

                          Yes.

                Q         Can you walk us through those conversations?

                A         So , the conversation where we said we îre not

          investing anymore money, into that particular project,
          was           front of      representative . His name was

                    .
                         And we         was myself,       Rishi, and

          Cashel, in the room, and we kind of spoke honest .

          We 're not comfortable that the numbers keep changing

          and we rre not investing anymore money than what we put

          into this, at this time .
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                                 that was an in-person meeting that the

             four of you had?

i

1                        And that was in 20227
i
i
                          That was in 2022 .

                  Q       Okay.             since that time, there 's been no

             other ,     guess, capital calls, at least for you , w ith

             your more than 5 .1 million you fve already deployed ;

             that correct?

                          Correct .

                          Okay . And I think you had mentioned this

             earlier, you said the project has -- is not just a
             field , there 's been some preliminary development on

             that?
                          '

                              (shakes yes.)
                                        j
       16         Q       Has there been any projection as to when,
       17    know , construction will begin in eatnest , and when the

       18    project will be completed?
       19         A       Recently?

       20            Q
                              We have an agreement to get bought out of

        22    that project, so we kind of haven't been monitoring the
        23    progress of that particular project.
                     Q        Okay.
                     A                don 't know -- I do know that the land
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         is still not closed, so           and the work is happening on

         the land , even though the JV does not own the pieçe of

         land , yet . So, which means

                Q        By JV, you mean the joint venture?
                         The joint venture, that       you know, still

    6    part        with my 5 .1 million. Which means if the joint

    7    venture does not close on the land, the project doesn't

    8    happen . All the money gets wiped out, yet the work

    9    that is getting done, has to get paid for .

   10    not common practice for work to start , before you own

   11           land .

    12           Q       Does that put your investment at risk? .

    13           A

                         I think can we take a five-minute break .

          We '1l go off the record .

                         (A brief recess was taken.)
                         MR . CORTEZ : We 're back on the record ,



                         BY MR . CORTEZ:

                 Q       Mr. Kleyner, did you have any substantive

          discussions with anyone from the commission staff,

          during the break?



    24           Q       Okay. Going back to speaking about the 551

          Bayshore project, you mentioned that after you
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         committed $l8 million to that project, at some time
         thereafter ,           came in as a limited partner?

                      Uh-huh .

              Q       Do you recall when that was, approximately?

                      I 'd say --     don 't recall exactly .         had

         t                         recall exactly . Maybe late
    6     o guess

    7    maybe mid/late            early '22 .

               Q      Okay .        w as         1'11 say approximately a
    8
          year after you had made your initial

               A      Yes .

               Q      -- investment?

                      Yes .
               Q      And why was it necessary for              to come in,

          as another limited partner, to the 55l Bayshore

          project?
                      Specific to that project?

               Q      Yes .
                       It was not necessary because the financing

    19    would have been provided by us .
                  Q    Okay .        there was no additional financing
    20
          needed , at that time, from outside of your initial
    21

    22     investment capital that was committed to that projecE?
                  A     Correct, we did not need thém to come

           the project.
                        D id you vote on whether or not to have
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         come in , as another limited partner?
                     We agreed to         don 't remember it w'
                                                              as a

         forma l     1. don 't believe it was like a formal vote'
                                                                ,

    4    but we agreed to it .
              Q      If there was not a need for additional

    6    financing , what was the p urpos'e of MICL 's investment

         into 5517

    8         A      The reason for that was because they agreed

    9     to invest in multiple projects. So, this was to
          accommodate them being diversified , in multiple

         p ro J'ects . And the same with us , that we were able to

    12    now instead 'of 18 million, in one project, split

          million between two projects.
    14         Q     Okay. And were you aware, prior to

    IS    coming into the project, were you aware of          as an
    16    investor or anything; did you know anything about
               A     Rishi mentioned that he h4d been talking

    18    this family , out of India . He met with them a couple

    19    of times, that they are a publically traded company ,

    20    out in India, in construction , I believe . That was the

    21    extent of my knowledge of them .

    22               So,       is an entity , correct?

               A      So, we defer to them as       because this

          the name of their company , back in India . They invest

    25    here , under , you know , New Reform , LLCS . We refer to
                                             t



                              AM) Kleyher,
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         them , internally , as         but I don 't know

         know if the money , in those LLCS is corporate money ,

         personal money ; I don 't know .

                     But is it your understanding that        is

         controlled by a family

                     Yes . Sorry .

                        family in India?

                     Yes.

    9                Do they have any presence , be it individual

         or business, other than the real estate projects,
   11    the United States, that you ïre aware of

   12                What do you mean by presence?

   13            Q   Like is there anyone that you 've met from

   14            that resides within the United States?

   IS                Yes .

    16           Q   And who is that?

                 A    Cashel      I can find his last name, if'you

          need, and kasel Shah is the son of Barack
                                                 l Shah, who

          runs        back in India .

                      So , Cashel and

                      Vasel .

                 Q       Vasel . They b0th live in the United

          States?

                 A    Yes .

                 Q    Do you know where?
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                          Chashel lives in Connecticut , and Vasel

         lives in Miami, in Edgewater .

                   Okay .

                      BY MR . HOUCHIN :

               Q         you have an understanding as to whether

         the       entity has any offices,           United States?

                      I 'm not a hundred percent sure, but I don 't

         believe so, no .

    9          Q      Thank you.

                      BY MR . CORTEZ:

   11                 And from your perspective , when         came

   12    and invested in 551 Bayshore, that allowed -- was

   13    your testimony that that allowed you to then diversify

   14          investment into more than just one of the Location

    15   Venture's projects, Correct?
    16                         didn 't ask for that, but yeé .

                      Okay . Did you see that as a benefit , from

          your perspective, with your investment?

                      We saw that as a benefit to Location

          Ventures;           551 Bayshore .

               Q      But what about your investment through the

          whatever LLC was created for 551 Bayshore?

                      So, to the success of , specifically ,

          Bayshore, whether it was my 18 million or my 9 and

          MICL'S 9, wouldn't change the outcome of that project.
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         So , I didn 't see that as a    I saw that as neutral,

         from a success of the 551 Bayshore project and 1I:
                      that I was part

    4               MR . SHOHAT : I think he 's asking you about

         your interest . Did you see it as a benefit to you?

                    THE WITNESS : So , again , when you asked me ,

    7    wore the hat of investor,      55l Bayshore,             was

    8    indifferené. To me, as i shareholder, inside Location
    9    Ventures, there was a benefit to having a group that

   10    was will to invest, in multiple projects. So# that's
         why Iïm trying to distinguish between which me you 're

   12     referring to .

    13              BY MR . CORTEZ:

               Q    I think you might have been reading my mind .

          Let 's talk about your investment , in Location Ventures ,

          itself.    know we 've been talking about the 551

          Bayshore project, and we'll come      maybe come back
          that , in a little b it , but you are an investor ,     the

          Location Ventures entity, correct?

                    Yes .

               Q    And when did you first make an investment , in

          Location Ventures? Again , I want to separate Location

          Ventures business, from its real estate projectsk

    24               So , I don 't remember exact date . Again,

    25    in multiple documents we shared with you . It was after
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    1    551 Bayshore .        if I had to , again , estimate ,

    2    would say            hold on . Late, very late 2020, or

    3    first half of 2021, if I had to like guess . But ,

         again, we have a11 those documents with those dates.

                      But approximately a few months after you made



                      Yes.

               Q      -- investment commitmept, to 551 Bayshore?

              A       Yes .

               Q      Okay. And can you just sort of walk us
          through how you became an investor, in Location

               res , and maybe communications you had with Rish i,
          Ventu'

          prior to making that first investment into Location

          Ventures?

               A      So , the motivation for investment was we

    16    wanted to have more active involvement in real estate

    17    universe , call it , because now we had multiple LP

          investments, and it kind of peeked our interest . We

          liked the fact that it was a -- we liked the real

          estate , in general. So, we wanted to get involved

          real estate more , whether it was Location Ventures or

    22    something else, at that time, we just knew that we
          wanted to do something more , in real estate . As far as

    24    communication with Rishi , about the potential

          investment , I mean , there wer: a lot . So , initially , a
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         first investment was -- let me think .' I think it was

         $lO million, for 18 percent, and we got a five-year put
         options, that if we were unhappy, for any reason , with

         our investment, we can get the 10 million out, I think

         it w@s at the five-year anniversary . Right? Rishi told
    5
    6    us that he 's got, personally, between him and DJ Mogha ,

    7     13 m illion in the company . That was extremely

    8     attractive to us because we wanted to invest in a

          company that had the Co/owner, with real skin in the
          game, versus just a hired gun. So, if it doesn't work
               they say , sorry, and move on . We felt 13 million

          was a big number for somebody to have in the company ,

          to genuinely care about building a business . So , that

          was real appeal to us . They were private company ; that

          was appeal to us . We wanted to be involved w ith a

          private company. He had a pipeline of projects that he
          shared with us, that we thought were interesting. He

    18    told us that there 's a real separation between Location

    19    Ventures and Urb in , LLC . That Urbin is under an Urbin ,

    20    LLC , which is a whole separate group of investors ,

           whole ùeparate capital stack, and so on, but Location

           Ventures just owns a piece of Urbin. Because as I
           mentioned before, I didnlt like Urbin as a business, as

           a concept , and so on , so I would have never invested

           directly into , let 's say , Urbin business model . So ,
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         that was really the -- again , I don 't know

         answered your question , but that was really kind of the
          thinking that went in . when we made the initial

          investment .

               Q    Do y8u remember        initially , after you
          invested in 551 Bayshore, if Rishi approached you or

          asked you to consider investing into Location Ventures ,

     8    itself?

     9                   honestly don lt remember if that was his

          outreach or it came up in the casual conversation, as

          we were just talking about , like you know , giving him
          some advice or input, on his business .        I don 't

          recall exactly how that conversation was       how that

    14    investment concept was born .

                     You mentioned some of the , you know ,
          information that Rishi prov ided you ,     terms of him

          and DJ Mogha having 13 million invebted, of their own

          money , into the company . What other information was

          provided to you, that you considered , prior to

          investing , about Location Ventures , itself, and

          business ventures?
                     He told us who was onboard and shared their

           information , so we could speak to them . He gave us

    24     financials, for the company . They were not audited and

           they were , as we learned later , were not gap . He



                                    Kleyner,
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                                                                         l01

         walked us through Villa Valencia, again the project

          that he recently    that was the most kind of far-along

         project, for us to get a feel for what he's capable
         And we were actually impressed with Villa Valencia, as

          a project, as a    call     a building . so , we didn 't

          look at the economics          We just looked at the
          finished project and we thought he did a pretty good
              with executing , you know , the product,      a luxury

     9    condo. But thatîs really,      know, tho/e were the

          pieces that we kind of had , at the time we made the

          investment .

    12         Q     Okay. Andvin addition to that information,

    13    and I think you said the unaudited financial

    14    statements, did you review any other materials, for

    15    example Location Ventures ' web site or any other

    16    information that was not provided to you , that you

          considered, prior to making an investment in the

    18    company?

               A     We looked at the web site,          you know ,

          that wasn't a major factor in the investment decision,
          but we looked at the web site .

               Q     And we've talked about, earlier, sort of the

          investment and sort of how, in the project,
          specifi'
                 cally , 55l Bayshore, and sort of the thinking in

          terms of how the exit price would be and how Lps , such
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          as yourself , would make money . The investment into

          Location V entures, is that investment set up

          differently than the investment in the projects?

     4               Yes.

               Q     And can you just walk us through those
     6    differences and how the investment is set up ,

          Location Ventures , itself?

     8                  Location Ventures, we just own equity in

     9    the entity . So , we Ike participating in any profit

    10    sharing that that entity has, 'equal to a1l the other

    11    shareholders. There 's no preferential waterfalls .

    12    It's just a common equity, inside a company.
    13         Q     Okay . As an investor, are you also

    14    responsible for any losses that the company may

    15    sustain?

    16

               Q     Okay .

               A              company had a loss, we would    again ,

          the accountant would know better than myself, but we

          would get a negative K-1 , but we would have the same ,

          equal proportionate rights as        the other

          shareholders, inside the company .
                     Okay . Prior to making your , I think , initial

          $l0 million investment,       Location Ventures, other

          than speaking with Rishi, did you speak with anyone
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         else or consult with anyone else , concerning investing

         in Location Ventures?

                      The board members .

              Q       And who were the board members, at least at

         that time?

                          it was Scott Robbins, Tom Farrington , and

         Jonathan Wilma .

                      M d were they also a1l investors, in Location

         Ventures, as well?

                      Yes.

               Q      And can you just describe those conversations
          and maybe some information that the board members

          provided to you , at that time?

                      Sure. We were asking general questions

          about, specifically , Rishi, not as much the company ,

          because we saw the way the company was functioning .

          was reaèly a Rishi show.          we were really asking

          questions about him . The kind of general consensus was

          that he 's very ambitious and he needs to be kind of

          reigned            he tries to take on toc much and do

          much , for b0th the capital means of the company and his

          kind of time and ab ility . So, that was one       the

    23    risks that every -- pretty much we hea/d consistently ,

    24    from everyone , that he 's ambitious . He wants

    25             You dve got to make sure you give him checks and
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         balances, and kind of reign in his ambitions .

               Q          addition to those board members, did you
          speak with any other investors , at that time , that had

          invested in Location Ventures?



               Q     Were you aware of other investors, though,

          who those investors were, in Location Ventures?

                     Yeah , they were on the operating agreement .

          I 'm not sure if I was aware , before we decided -- like

          before we started working -- made a decision and

          starte'
                d working on the operating agreement , or after ,

    12    but at some point , I was made aware of who the other

          investors were .'

                     Okay . Going back to your conversations with

          the three board members, in addition to them telling

    16    you about anything sort of, I guess , reign in Rishi,

    17    did they provide information, as to how they were

    18    trying to do so, as board members of the company , at

    19    that time?

    20               LV never had a truly functioning board , the

    21    way the board should be functioning .         it was

    22    like I said ,       was still a Rishi show , to a big

    23    extent .                             a sense that       was

          more not on the board level, because        seemed like

          there was points, and as we learned later, the board
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         wasn 't really a functioning board , but     was more

         one-on-one level .       Scott would talk to Rishi and

         like , hey , you lre got to slow down . Wilma would talk

          to Rishi and say , hey , don 't do this or don 't do that.

          But it wasn 't        didn 't seem like it was in any kind

          of formal way. It was more on just a personal way.
               Q    And in your opinion , did those efforts

          trying to sort of slow down and reign in Rishi, did

          those efforts work , at all

                    By them or by us?

                    Well, just at that -- like sitting here now,

    12    looking back, you said it was more personal one-on-one

    13    conversations . Did that really affect what Rishi was

    14    doing or not doing?

    15               Yeah , I don ît think I would be sitting here

          now , if he listened to her advice. So , no, I don 't

          think those conversations were effective . And we had

          multiple , and multiple , and mu ltiple conversations ,

          about what not to

                Q    Okay . Before we turn to the next exhibit,

          how much money have you committed          know

          committed,       just Location Ventures?
                     Just the Location Ventures entity?

    24          Q    Correct.
                     I believe it 's 24, 24 and a half million .
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                    Okay .

                    BY MR . HOUCHIN :

                    You said earlier that you invested in

     4    Location Ventures, in order to get a more active

          involvement in real estate .

                    (Shakes yes.)

               Q    Correct?

     8              Yes .

     9         Q    When you say more active involvement , that ls

    10    in terms of your exposure to the real estate investment

    11    sector , correct, as opposed to actually managing real

    12    estate investment projects, yourself?
    13              Correct , we had no interest in managing

    14    things, but we wanted to learn a      about real estate .

    IS    And we thought this was a good middle ground , where

    16    we dre not running a development company . We ïre not
          responsible for capital raising . We 're not responsible

          for any investors. We lre not responsible for any , you

          know ,   those responsibilities, but we have visibility

          into the inner workings of a development company , from

          how do you p ick the land , how do you decide which

          concept you're going to come up with, how do you pick

          which architect is going to come up with this concept,

          how do you go through the approval process , how do you
          execute , how do you sell, how do you pick who is going
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          to sell. Like, all those components is what we were

          interested in learning about . And we t'hought this was

          a good m iddle ground, that we are        have enough

          visibility , but no responsibility , to actually execute

          on those components.

     6                So , is      fair to say that you still

     7    v iewed     strike that . Is it fair to say you viewed

     8    yourself as a passive investor, in Location Ventures?

     9         A      Yes .

    10         Q      And you were looking to Rishi Kapoor and the

    11    Location Ventures employees or officers, to generate

    12    profits for you , as an investor?

    13                Absolutely , yes.

                      OKAY . Thank you .

                      BY MR . CORTEZ :

                Q     Along those lines, when you were deciding to

          make your initzal
                        k investment , was there any sort of

          guarantee       investment of returns , on your investment ,

          for the Location Ventures entity?

                              there was no guarantee of return . The

          only guarantee we got, we got what I said was like a

          put option , that in five years, we can sell the shares

          back to Location Ventures , as part of what we paid for

     24

                Q     Were there any projections, as looking
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          forward , as to what your possible returns may be , you

          know , in year one , year two , going forward , before yov

          made your investment?

     4              Yes .

               Q    And what --      you can just briefly tell us

     6    what those were?

     7               They were huge . No , so they shared -- they

     8    came up with the     with a formula , how they thought

          the company was worth a hundred miliion dollars . We

    10    did not understand how they came up with it, so they

          shared, with us, an Excel, that showed all these like

                      and future profits . And       you discounted
    12    projections
            J
          backwards and multiply it by this, that, and the other ,

          again , we thought they were pretty ambitious . And we

          said , okay , well this is a lot of theories, here ,

          because the company is not at the stage where there 's

          been enough projects      there's been really no projects

           executed , completed, exited, that we can say/ you know ,

          you executed this and you made $l0 million. You 've got
           three more of these, in the pipeline , so that 's another

           30 million coming . So , that was not the state of

           affairs, with the company.       was still, to a big

           extent, a start-up. So, any projections that were

     24    shared with us, we -- you know , we did not -- we kind

           of questioned how realistic they are . But in a11
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          fairness , it 's not uncommon for start-ups to have

         projections that are ambitious .
               Q    And at that time, was it the case that only

     4   Villa Valencia was the only project that was near
          completion , that Location Ventures had, at that time ,

          or was there any other projects that may have been
          completed or near completed?

     8              No, I think        was just Villa Valencia.

     9    think there might have been some single family homes

          no, there was a single family home . Arduno?

          forget the address, but there was a single family home

    12    that was near completion , but that was           That was

    13    just the only two.
    14              And you mentioned Arduno?

    IS         A    Arduno was                       seen       Arduno

    16    was some -- it was kind of there before my day , call

    17         I think it was a multi family that they

          contributed when they started the company . There was

          roll-up , in the company .       wasn 't like your typical,

          they started day one, brand new entity, everybody pùt

             a dollar, and now that 's the capital . As we learned

          later, a lot of this 13 million that Rishi told us he

          had in the company was in        we were never able

          truly verify that it was a true 13 million . Some of

          was some assets that he contributed . And we 're not
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                                                                          110

          sure how he came up with the value of those assets.

          But we never      and that was a big motivator for

          when we made the investment . But we ,         this day,

          you ask me how much of that 13 million is, you know ,

            can explain to you the breakdown of the 13 m illion ,

     6       personally ,             point , cannot .

     7          Q     So, it was just a representation that Rishi

     8    made to you , I think there was in that meeting , the

          four of you ;          Johanna , Rishi    and I forget the

          other gentleman .

                A     Cashel .

                       Cashel . That he just had, you know, DJ Mogha

          and       Rishi Kapoor, have invested 13 million?

                A      No . 13 million was always on the financials,

          that were provided to us, for the Location Ventures .

          Cashel was not involved in Location Ventures entity .

           They were involved in 551 .
                       Okay . But there was        other than on the

           financial statement, Rishi never provided you any other

           information or documents , for you to verify that

           m illion was actually his and DJ Mother 's, that was

     22    invested in Location Ventures?
                A      We asked for a breakdown of that, like way

           later , before we decided to part ways with him , and
     24
           never received the real         something that I could truly
     25
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         understand, okay, this is where the $13 million came
         from . Like one of the examples he used , that

         think it was in Arduno , that they bought Arduno for

          they assumed that it's going to b e worth           when

          they contributed Arduno, they contributed at Y value,

          not at X value, which was the current market price,

          which is, again , not gap , right?   It was Rishi

          accounting. And      but, yeah. So, based on just that

     9    one example, we got concerned that, you know , we didn 't

          have a clear understanding of the rest of the

    11    million, you know . And when we ask him how much of

    12    was cash?   How much did you put in actual cash, we

    13    never got a real answer .

                                 (SEC Exhibit No. 4 was marked for

                                 identification.)

                      BY MR . CORTEZ :

               Q          handing you what's been marked as Exhibit

          Four , which is a document bates stamped

          FL-4347 Kleyner LV LLC 0001101 through 74 . This is a

          lengthy document.     I'm not going to be asking you

          questions on every single page, but just take a moment
          to rev iew , and let us know when you rre ready?

                      Okay . As long as you don lt expect me to read

               I Im ready .

                Q     Mr. Kleyner, do you recognize this document?
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                                                                          l12

                    Yes.

                    And what is it?

                           the second amendment to the operating

          agreement of Location Ventures .

                    Did you or anyone else , on behalf -- on your

          behalf , have an opportunity to review this agreement,

          prior to signing and executing the agreement, if you

     8    recall?

     9              Our attorneys did .

    10              Okay.         you, yourself, or just your
    11    attorneys?

    12         A    No .

    13              Do you know if, sitting here today       I know

    14    this is the second amended restating operating

          agreement, for Location Ventures, effective as of April

              2021 . Is this the latest operative agreement or

              there been any amendments or changes, to this

          agreement?
                       I have to see if this is the first investment

          we made or the second .

                       Well, we can go to, if that helps , page

          well, 1111 give you the bates stamp number .

                       Yeah , Exhibit A .

    24         Q       Yes, Exhibit A .
                       Yes. So , this is not the latest operating
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                                                                          113

          agreement .

                Q     Okay. So, let's just start here, though, on
         what 's bates stamped number 1162 ,

                A     Uh-huh .

                         which shows nExhibit A , schedule of

         members''; do you see that?

                      Yes.

                      At the very bottom , it says #
                                                   ' 'd            as

          trustee ,                 Attention Alex Kleyner and

          Ulisn; do you see that?

                      Yes.

                      And in the next column , it says, 'initial

          capital contributions $10 millionn.
                      Yes .

                Q     Was that the initial capital contribution

          that you made?



                Q     Now, if you can just sort of explain, what is


                      So, it 's a     our family trust . DA stands

          for         and Alex .

    22          Q        there an entity related to

          called DA Capital?

                A     Yes.

                      And what is DA Cap ital?
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                          we have, basically , three entities . The

          DA Capital is just our family LLC that pays family
         bills and such .       It's not really an operating business,

                just an entity that we pay bills from. We have
          the                that is a trust for our kids, for the

         benefit of our kids, that owns certain assets . And,

          then , we have 'the               which stands for

         Alex Real Estate trust . That ls the trust that was

          created specifically for Location Ventures investment .

          So , current ownership in Location Ventures is DARE

          Trust, which spun out of                 specifically for

          Location Ventures asset .

                            then ,   know we 're speaking about

          Location Ventures, and then the investmepts in the

          specific projects, those are separate LLCS that were
          formed, specifically, to invest in the projects.
          other words ,               is not the LP of 551 Bayshore?

                     Yes.

                Q         1505 Ponce?

                     Correct .

                Q    Okay . So , you mentioned this was the initial

          investment made by you and your wife ls trust,

         m illion , to Location Ventures . The other members that

    24    are listed on this page and the following page, are

          these     do you know if these investors are still
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                                                                         115

         members of Location Ventures?

                     Some are and some are not .

              Q      Okay . And generally speaking , the ones that

         are not , were they essentially able to redeem their

         investments, or otherwise get bought out, by Location

         Ventures, to get their principle back?

              A      Yes .

              Q      Okay.

                     BY MR . O 'BRIEN :

              Q      Are you able to identify which ones are still

          investors and which ones are not, from looking at that

          list?

              A               So, Latitude Investment   I believe is

         not an investor anymore . We bought them out , part of

          our second investment, into Location Ventures. Halperin

          is. Thomas is. Jonathan Wilma is not. He left shortly

          after we came into the company . Jared is . Everybody

          else is.

               Q      Thank you.

   20                 BY MR . CORTEZ :

                     And are there other investors, not on this

    22            that are current members, of Location Ventures?

                      Yes .

               Q      And, approximately, how many more?

               A      Maybe one or two more .
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                                                                         ll6

                 Q   I mean, sitting here today, do you know who

         those one or two

                              look it up . I don 't remember, off the

         top of my head . There is a Beth Wire, I believe is

         another investor . There may be another one; one or

         two .

                 Q   Okay. Do you see in the column, where

         says Hpercentage interestn?

                 A   Uh-huh .

                 Q   And, again,      know this is your initial

         investment .         says that             at that time , had

         an 18 .18 percentage interest, in Location Ventures.

         What is that percentage interest today , of Location

         Ventures?

                     A s we sit here today?

                     Yes ..

                     We have about 13 and a half percent, roughly ,

          left .

                 Q
                 A      and a half percent, about .

                     so, less than what was initially

   22                MR . SHOHAT : You said left?

                     THE WITNESS : Left .

                     MR . SHOHAT : Okay . He said we have 13

   25    percent left .
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                                                                         117

                    MR . CORTEZ: Okay .

                    BY MR . CORTEZ:

               Q    So, my question is: Some of your investment

         has been redeemed, since 2021?

               A    Yes .

               Q    Okay. And I know you had mentioned that

         you 're seeking to get bought out on some,       not

         of your investment , but we 'll get to that a little bit

         later in the testimony, but just to be clear, some of
         that has been paid back, some of your principle has

         been paid back , as we 're sitting here today , correct?

                    Yes .

                    Okay .

                    Just to            Yes.

                       you can turn to the beginning of the

         document, it 's page 11, bates stamped 1111 . Do you

          see , at the bottom , it says , ''Article 4 capital,

          capital accounts, allocations of profits and losses'l;

          do you see that?

               A    Yes.

                    And , then , under ''Article     ihitial cap ital

          contributionsn, sort of fourth line down , it says, ''the

          manager and the members hereby acknowledge and agree

          that on the effective date, Alex Kleyner , an

          individual, extended a loan to the company , in the
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                                                                          118

         original principle amount of $l0 million''. Why did you

         loan Location Ventures $10 million, at this time?
                             funny , I don ït remember this . I believe

         there was an urgent need for capital because they

         needed to close on something , and we didn lt have the

         possibly , a trust wasn 't set up yet. So , we agreed

         that we lre going to have a loan that then converts into

          equity . I believe that 's what happened here, but

          that 's funny ,     don 't even remember this .

               Q       M d

                       Sorry . We gave a ten million loan , then we

         made a ten million investment and paid the loan .

          think that 's what happened .

                       So , to go through this , it appears that the

          ten million was being paid back by the capital

          contributions of what is defined , in this agreement, as

         Ab Investor, which is defined as                   as trustee
             the                  Does that refresh your recollection

          in terms of how that

    20                 Yes . So, I believe , again , they needed money

          urgently , for to close on something , and we agreed that

    22    we 're going to give them a loan . And as soon as the

          documents are ready for us to close, under phe trust,

          the trust makes the investment, and the loan was

    25    repaid . '
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                                                                          119

               Q        you made the loan, individually, but then

         once the documents were executed, the trust essentially

         paid back that loan?

                    Well, not directly , but indirectly through

         Location Ventures, yes.

              Q     Right. Okay. Thank you. If we can move to

         page 22, of the agreement? It 's bates stamped 1122 . Do

         you see, at the very bottom , Article 6 .6, it says,

          umember decisionsu?

                    Uh -huh .

                    M d it says, ''not withstanding any other

         provision of this agreement , to the contrary , no action

         may be taken by the company , including by the manager,

          in connection with the matters set forth below , without

         members super majority approvaln. And, then, on the
         next page , it sort of delineates the different things
                                                     1
          that require member super majority approval.
                    Okay .

               Q    And I will represent to you, again, this is

          somewhat of a long document, that members super

         majbrity approval is defined as 75 percent of the
   22    members votes.
                          '
                    Okay .h

               Q    So, if you look    I just want to refer to a
          couple of subsections, here . If you look at Subsection
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                                                                           l20

          2, it notes the occurrence of direct indebtedness, by
                                                    '
          the company , or pledging , merging , or otherwise

          encumbering all or substantially all of the assets of

          the company n. Then , Subsections -- sort of 5 and 6

          reference dissolving, liquidating , winding up the

          affairs of the company , or filing for bankruptcy of the

          company.      just wanted to ask, since yourve been a
          member and investor of Location Ventures, has there

          ever been any instances in which there had to be a

          vote, for Location Ventures to incur debt, sort of as

          set forth here?

               A       No .

                       Okay . And what is your understanding when

          you 're reading , in this subsection , to the ocèurrence

          of direct indebtedness; what is your understanding of

          that?

                       Sorry . Let me back up , to your previous

    18    question .          the first time we had an uncomfortable

          conversation , with Rishi, was when we found out that he

                  the money from Location Ventures, and lent

          Urbin ,        for Urbïn needs. That was never approved

    22    by anybody . So , that 's when we met, and we said ,

          consider this strike one .             never happens again and

    24    that loan has to get repaid like immediately . He told

    25    us that there 's a closing, in Urbin , and the money is



                                      Kleyner,
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                                                                         l2 1

         going to come back soon .           I don 't know if the loan

         from Location Ventures, for Urbin , qualifies

         company taking on indebtedness because they 're kind of

         related entities .                  sure if that qualifies,

         here .              lawyer. But that was the first time

         where we said, strike one . This should never happen

         again, where he took money and just moved it
         Urbin , w ithout anybody 's consent or permission .

                Q     When did you find this out?

                      In passing ,      conversation , and this was

                I would say, Q-4 , 2021.
                  '
                Q     Do you remember how much money Location

         Ventures loaned to Urbin?

                        think it was around       it was a real

         number. It was around like maybe $l0 m illion .
                      Okay . And that was something that was not

         disclosed to you , as a member of Location Ventures ,

         prior to the loan being made to Urbin?

                      We were furious . No, it was not disclosed to

         uS .

                Q     Do you know or       since that time, have you

         found out whether that was disclosed to any of the

         other members or investors, at Location Ventures?

                      I don 't know .      not sure . The     some of

         the board members, I think this came up in passing , in
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                                                                         l22

         a conversation , and I think some of the board members

         were there , but Iïm not a hundred percent sure .

                     BY MR . HOUCHIN :

                     The conversation that you referenced , who

         actually made that communication that brought this

          issue to your attention ; was that Mt . Kapoor or someone

          else , at Location Ventures?

               A     Well, Kapoor mentioned it . He didn 't mention

          it in the context of an issue. He mentioned it just in
          passing . We said, whoa, wait a second , what do you

          mean?    Like whatever the number        million went to

          Urbin . We lre like we don 't own a hundred percent of

          Urbin , as Location Ventures , why are we subsidizing

          Urbin projects? There should be          they need money,
          they dve got to do capital calls, to their own

          investors. And we got the response , well, we 've always

          been doing it this way , which kind of got under my

          skin .       like that 's not an excuse for actions.

          We 've always been doing this, that 's not an answer

          will accept. So, he 's the one , who mentioned

          passing, not in the context of hey , guys, I made a

    22    mistake, or there was a problem.       was just, you
    23    know , completely in an unrelated conversation , this was

    24    just a side conversation that came
    25                BY MR . CORTEZ :
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                                                                            12 3

                        You mentioned that Location Ventures did

    2    not         only owned a piece of Urbin , but that     is it

    3    your understanding that the majority of Urbin is owned
            outside investors and not Location Ventures?

                A       So , that understanding keeps changing because

         we can 't get a clear answer, from Rishi, how much of

         Urbin         owned by Location Ventures . We heard as low

         as 40 percent and as high as 60 percent .            W e n ev er

         really got              you ask me today , how much of

         Loeation Ventures is owned by             sorry . How much

               Urbin is owned by Location Ventures,      don 't have an

         exact number . And every time we ask and he gives

         different number , he ls like but that was always the

         number .            don 't know what the story there

         right?       But there 's other investors in Urbin that are

         not Location Ventures.

                 Q      But when sort of the initial representation

         was made, prior to you and your wife contributing $lO
         million , to Location Ventures , was it represented to

         you that Location Ventures had a small ownership

          interest in Urbin?

                           wasn ït a percent that was small, but it

         was a percent that Urbin has its own pulse, and has its

         own capital stack , and has its own investors , that LV

          is just an investor, not a        any time Urbin needs
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                                                                          124

    1     money , LV is the one to provide it . Our understanding

    2     is there 's a whole separate set of investors, and has a

    3     separate P&L , separate operating procedures, separate

    4     projects. We just -- as LV, we're just a shareholder.
    5           Q     Was it your understanding that the sort of

    6     operations of Urbin was controlled by Rishi Kapoor, at
                                                                 )
                                                                 .
            7
    7     that time , or was it your understanding that there was

    8     a separate group of people that were sort of

     9    controlling the day-to-day operations of Urbin?

    10          A     It was Rishi Kapoor . What was told to us is

   11     that Urbin is small and only has a handful of projects.
    12    LV resources are responsible for running those

   13     projects, as Urbin gets on its own, you know, gets more
   14     mature, it w ill have its own management team and so

    15    forth , which still has not happened , to this day , but

    I6'   it was Rishi , who ran Urbin .

    17          Q     Al1 right. Do you recall since investing 'in

    18    Location Ventures, has there been any times in which

    19    there had to be a vote, by members , for the company to

    20    take certain actions?    Has there ever been --

    21          A     No .

    22          Q     There's never been a time where the members

    23    had to vote on something, on behalf of Location

    24    Ventures?

    25          A     I don 't recall anything like that, no .



           (5/31/2023 9:11 AMJ Kleyner, Alex - Vol. 1.20230531.449633-M...
                                           j                                    ''
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                                                                          125

                    Okay . So, if you can turn to the next page,

         page 24, it fs bates stamped 1124, Article         It says,

          nthe rights, powers, and duties, of the manager of the

         budgetu. So , Article 7.1 references the. manager 's .

         authority to control and operate Location Ventures .

         And article 7.l(a) states that ''the members hereby
         appoint Rishi Kapoor, as the initial manager''. At the

          time of your investment, was Rishi Kapoor already the

         manager?     mean , was there a       do you recall ever

         being a formal appointment of Rishi Kapoor, or was he

          already the manager, at the time you invested in

         Location Ventures?

                    He was already the manager .

              Q     Okay. Article              sort of   kind of

          sort of the fifth line down states, Hthe manager may ,

         without the consent of the board or any member, cause

          the company to deviate from an approved budget, by no
                                           /

         more than seven and a half percent, in total, for the

          entire approved budget''. Do you see that?

   20               Yes .

               Q    Are you aware     the approved budget,

          Location Ventures, has ever deviated by more than

         percent?

   24               Yes.

               Q    Can you tell me about those times or
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          instances where it has?

                    The budget that was shown to us, in late

          2021, is worthless. The company looks nothing like

          The payroll is multiples . Rishi took out millions, in

          fees . There 's nothing about 2022 actuals, that looks

          similar to 2021 approved budget.

               Q    So, the 2022 actuals, versus the late

          budget, are almost two separate and completely

          different budgets?

                    Two random documents.

               Q    So, let's -- since we're speaking about the

          budget, if you can turn to Exhibit B?      It 's page 64 ,

          this Exhibit; 1164 is the bates stamp number .

                    I 'm sorry , 164?

               Q    1164.

    16              1164.

               Q    So, you see         says, before you turn to the

          next page, nExhibit B , approved budgetn. Then , we turn

          to the next page, bates stamped 1165.

    20         A    Uh-huh .

               Q    You see it says, ''Location Ventures company

          operation budget for the 2021 yearn . Do you see that?

                    Uh-huh .

                    And, then, it goes on to list fixed cost, on

    25    a monthly and annual basis , variable cost, on a monthly
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    1    and annual basis, contingency . And , then , it sums up

    2    those three categories of costs. And , then , it says,

    3     ''total operating expensesu, at the bottom , ''monthly ,

    4    approximately $374,958, and then annual, $4.45
    5    million n. Do you see that?

    6          A     Yes.

    7          Q     Going back to your response , this budget that

    8    was present , in 2021, this looks dcompletely different

    9    from the budget that was presented to you, in 2022?

               A     So , I want to clarify something . This is

         operating budget going into 2021 . What I'm referring

   12              the end of 2021, we were shown a budget for

   13    2022, and then the actuals for 2022 , versus the budget

          that was shown to us in 2021, completely different .

         This is the budget for 2021, that was put together in

          2020. The actual 2021s       again,   don 't have

          financials in front of me, but my assumption

          looks different, but I don 't have them in front of me .

                              to be clear, this Exhibit B , this

         budget is sort of forward looking into 2021 . Again ,

          the agreement is dated April l9, 2021. But it ls your

          understanding this was put together end of 2022,

          looking forward into 2021, correct?

               A      Yes. Yes, this was put together late 2020

          early 2021, for the forward looking 2021 budget .
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                   And, then, after you       after you received

              budget, did      you received, I think , an actual

         2021 budget. Was that sometime toward the end of 2021?

              A               recall.     sure     I assume we

         received some kind of financial statement for that, for

         2021, yes .

              Q    And, then, for 2022, was it similar in that,

         again end of 2021, early 2022, you received a budget

             this year, and then toward the end of 2022 , here îs

         what the actual numbers were?

              A    Yes .

                   And that 's what you 're saying was completely

         different?

                    Comp letely different .

              Q    Okay .       generally speaking, these budgets,

         you know , we 're looking for one for 2021 , and the ones

         yo4 mentioned for         were those put together by

         Rishi, with the input of, I think you had mentioned ,

         the project budgets, with DJ Mogha and George,
         recall correctly ,

                    They were presented by Rishi. They were put

         together, as far as I understand, with Rishi and DJ ,

         because DJ , at this time, was the CFO of the company .

         Who else was involved in putting this together,

         know , for sure . I heard George 's name mentioned quite
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    1              but in the context for the models of the

    2    projects. As far as the actual budget, who prepared it,
    3    I 'm not sure .

    4                And these budgets, for Location Ventures ,

    5    they 're different than the budgets that we spoke about

    6    earlier for the projects, correct?
    7         A       Correct .

    8                 This appears, but 1:11 ask you, just to be
         really on the, sort of, payroll, and sort of operating

          expenses , for the company, on a monthly and annualized

         basis; is that correct?

               A      Yes .

                      So, understanding the numbers are different

          and the budgets changed, frpm 2021, 2022, I just would
          like to use this as an example . So, where it says, up

          Lop , nfixed cost Rishi Kapoor'l.     says his annual

          compensation, I guess, is $350,000; you see?
               A

               Q      So , you had mentioned that for 2022 there

          were a lot more employees and Rishi took millions

          dollars of fees. And we don 't have that      front of

          us, today , but was     similar to this, in other words,

          did you get something that said Rishi Kapoor 's salary

          was 350 or 400,000, and then it turned out it was that,

    25    but then there was millions of dollars of fees that



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                                                                          13 0

         weren 't accounted           Can you just maybe        just
         trying to understand,        little bit more , the specifics,

         when you say like the 2022 actuals were completely

         different than what was shown .

                    We found later in the year, 2022, that there

          were payments made to Rishi, from LV , that were never

          authorized by shareholders of the board , or anybody .

         And were never truly shown , on financials, as you know ,

          payment to Rishi . So, yes .

                    What explanation did he give you , once you

          found that out?

                    He said the company always function in a way

          that any time a deal is closed , there 's commissions

          charged, for closing of the land, personal guarantees,'

          putting the equity in place , putting debt in place , and
                                  1

          so on , and he felt that he was entitled to those

          commissions. that part of those commissions, or those

          fees, went to pay the        into the bonus pool, for the

          employees, and he was just part of the bonus pool. He
          determ ined, himself, how much ,          told him that the

          agreement clearly states that you pre not to make more

          than $400,000 a year. So, no matter how you feel these

          fees are justified, you can't just take them. And he
    24    said those fees are a combination of the money he 's

          been owed from before . So , we got some answer that was
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         not an answer we were, you know , that was     W e Wer e

          comfortable with . He said some of it was owed from

         before. Some of it is fees for the recent projects,
         which when we asked him, show us how these fees are

          owed to you, maybe these fees are owed to Location

         Ventures . If you can show us the paperwork where it 's

          owed to Location Ventures , please show us the paperwork

          where these fees are somehow owed to you , and that was

          never provided to us.

               Q         you mentioned that the operating

          agreement, I know it 's not the most up -to-date one, but

          from your recollection was that Rishi ls compensation

          was capped ,      personally , at 400,000; is that

          correct?

                     Him and DJ, yes .

               Q     Both, him and DJ, at 400,0002

                     I believe so , yes.

                     And I think you had mentioned that the

          operating agreements provided for fees being paid .

    20    just want to be clear. Was that the operating
          agreements for the projects, in terms of like
    22    development fees, marketing fees, acquisition fees,

          versus what 's stated in the Location Ventures operating

    24    agreement?

    25               Correct .
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                                                                           132

                          was Rishi ls explanation that these fees

         were being       that should have been ,   guess were

         were those fees listed in the project's operating
          agreements that then were paid to him , or do you hàve

          an understanding of how , mechanically , that worked?

                      So, projects had certain fees that were due
          to the sponsor, in this instance , it 's Location

          Ventures, right? There were -- and then those fees

          were due when certain events take place, the fee is due

          to Location Ventures. Once is comes into Locatâon

          Ventures,        supposed to stay , as we understand it,

          in Location Ventures .      becomes LV revenue, right?

          So , we     you know , late last year , as we kind of

          started looking into some things, we saw that the

          tim ing of the fees was wrong , meaning LV was charging a

          fee to the project, prematurely. There were some fees
          that we didn 't understand what this fee                Forget

          about doing it prematurely , we 're not sure what

          for . Then , there 's money , from Location Ventures , being
                           I

    20    transferred into Rishi 's personal bank , even though

          he 's technically a member of the entity . Patriots

    22    United is a member of an entity . So , there 's really

                 we could not find any legal document or get an

          explanation from him , other than we 've always been

          doing it this way,       justify, to help us understand
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          the movement of the money .

                    And did you see any sort of documentation ,

         bank records , wire transfers, that showed that money

          from the Location Ventures sponsor was being

          transferred directly to Rishi Kapoor 's personal bank

          account, versus I think you mentioned Patriot dapital

          is one of the members of Location Ventures?

                    I believe late last year, when we kind of

          again , when the relationship started unraveling , we got

          access to the bank accounts and had our accountant

          start looking through transactions, and I believe he

          found those transactions           maybe August , 2022 ,

          there wàs like 1.3 million,     something , that was

          transferred to Rishi Kapoor ls Bank of America account.

                    And the bank statements that you and your

          accountant.reviewed , were those Location Ventures bank

          account statements, for the company , or were those

          other different entity bank accounts, for different

          individual bank accounts?

    20              MR. SHOHAT: Let me interjection something
          here . The work that the accountant did was done for a

          lawyer , at Kapora , Anthony Atkapora . Correct me

          wrong, if I say anything wrong .

    24              THE WITNESS : That ls true .

                    MR . SHOHAT : So, we rve shared with you a
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         spread sheet, that shows this money , that came from the

         accountant . The accountant 's name is Ed McWilliams,

         who was retained by Anthony Atkapora , to look at the

         books, the Quick Books, of Location Ventures. So, most

            what this information           is attorney/client
         privilege information . But we shared, with you ,

         spread sheet, that was given by Alex , to Rishi.

         it 's not privileged .       was prepared by the

         accountant.      shows these monies, from the Quick

         Books and you have                  records .

                   MR . WEINSTEIN :         should be -- I know I sent

         a lot of stuff to you , in the last couple of days.

         should be the last document , in the third production .

         So , it 's going to be 4657 .

                    MR . CORTEZ:   4657 .

                   MR . WEINSTEIN :          like a stand-alone page .

                    MR . SHOHAT: Just so you understand ,

         everybody . We have to be very careful about privilege,

         because of all the litigation that 's going on . We

         don 't want to be accused of selectively waiving

         priv ilege here, and then there 's an argument that we

         waived privilege . So, we 're walking that          here .

                        we are going to stand on the

          attorney/client privilege and work product, but we
          shared this document to you because it was given
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                                                                             135

        1    Rish i. So , it 's no longer privileged . So, you have the

        2    numbers and they 're sourced from Ed McWilliams , the

        3    accountant, looking at the Quick Books.

        4               MR . CORTEZ : Okay . Thank you . We appreciate

        5    that note and certainly we don 't want to ask anything

        6    that would , you know, impinge upon any privilege or

        7    work product privilege . We do appreciate that . And we

        8    did receive those productions, I '
                                              think the last

        9    production made yesterday .        '

       10               MR . WEINSTEIN : The one I sent you last

       11    night -- we can do this on or off the record . It

       12    doesn 't matter to me .

       13               MR . CORTEZ : We can go off the record , for a

       14    moment .

       15               THE WITNESS : Can I check my phone?

       16               MR . CORTEZ : Yes. We lre off the record , at

       17    12 :27 .

       18               (A brief recess was taken .)

'
'
       19               MR . CORTEZ: Back on the record, at 12 :31

       20    P .M .

       21               Mr . Kleyner, did you have any substantive

       22    discussions, with anyone from the Commission staff,

       23    during the break?

       24               THE WITNES/: No.
       25               BY MR . CORTEZ :



              (5/31/2023 9:11 AM1 Kleyner, Alex - Vol. 1.20230531.449633-M...
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               Q          prior to going off the record, we were

          looking 'at Exhibit Four, the second amended operating

          agreement, for Location Ventures, and we were ön the

          operation budget, for 2021 . And you were talking aboût

          how the numbers, at least for 2022, from what was

         projected for 2022, compared to the actuals, were very
          different . And I think we mentioned some            about

          Rishi KapoUr and the fees that you found out about .

          What other things do you recall that were different

          about the actuals,          2022 , Versus what was shown for

          the budget, of 20227

                     Payroll was significantly higher . Base

          salaries     base salaries were higher . So , he gave out
                             'h

          raises to peop le . There was still that loan, on the

          books, from Urbin to LV . I believe there 's still that

          loan , on the books, and any time we ask him for the

          exact amount,           goes from 6 to   million .

          still don 't know .

               Q     And just to be clear, when you say the loan
    20    that LV gave to Urbin?

                     Yes .

               Q     And you 're saying --

                     That was never repaid in full, as far as I

          know .

               Q     And you rre saying the number varies between 6
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                                                                               l37

         and $l6 million?
                    A    So , every time we ask Rishi what 's g'
                                                               oing on

         with the loan , we get a different answer . So,              don 't

         know how much the loan is . Sometimes he tells us it 's

                Sometimes                goes uF to         It goes down .

         And we clearly told him , you can 't                  qot a line
         '
             of credit, for Urbin. You can't just have money and
             roll       back and forth . Right? There 's never been

         documentation . There 's no interest being paid . LV

             not here to subsidize the Urbin project. It's just
             He says ,    understand , of course, of course . And the

             loan is still outstanding . As of Friday , when

             asked       Friday , I actually saw Rishi and I asked him,

             specifically , about the loan, he said , I think it's

                     6 million . If you look at financials,

             high as 10 million . Sometimes,          goes higher .

             it 's definitely      there 's been      based on financials,

             there 's been transactions back and forth . There 's

             definitely back .            know about forth . Or I guess

             the other way , forth, and maybe not back . But           so

             that 's different from any      that was never in any of

             the budget , for us to give out these kind of loans .

             Yeah , so, the payroll is about 600,000 a month ,

             That was never in the budget that we approved . The

             payments to Rishi were certainly not          the budget that
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         we approved . Those are really the b ig ones . There are

          extension fees being paid, on projects, because the
          financing is not in place . There 's one that was paid,

          two or three weeks ago, that was not authorized .

         There's a project that he's got a piece of land on
                 let me rephrase ''hel'. Urbin M iami Beach      now

          there 's an Urbin Miami Beach Two . There 's a piece of

          land , on the contract, that he did not close on time

          on . The seller said, you 've got to give me a $500,000
          extension fee , and 350, at the end of the month , which

          is tomorrow,       today , possibly . And Rishi sent

          500,000, without anybody 's permission . Then , when I

          saw him Friday ,     specifically asked him .   said , who

         paid that 500,000 extension fee . He said , Location

         Ventures . And I said, why is Location Ventures paying

          extension fees,'for Urbin projects. He said, well,
          was always intended to be a Location Ventures project.
          I said ,       literally called Urbin Miam i Beach Two .

         And he didn 't really have an answer . He 's like, well,

    20    there ls another 35O due this Thursday . I lm like , you

          can 't pay this         You have no authority to pay this

                And he just didn 't say anything . If I could
          guess , he will pay 3S0.

    24               That 's 350,000?

                     3S0,000, to the seller, for the extension ,
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         for this to close , in November .        that 's another

         example where LV money was used for non-Lv project,
         which is Urbin project. And, yes, LV owns a percentage
         of the Urbin , but , again , .we multiple times told Rishi

         that Location Ventures is not a line of credit for

         Urbin. Urbin has its own investors. Their projects are
         their problems. Our projects are our problems.
         Especially in a situation that we rre using now , with no

         real investment, no real capital ,       the company . You

         can 't be paying      you can 't decide to pay extensions

                  he didn 't really have an answer for that .

                     And the budgets, b0th -- the budgets, like we

         can use this one, as an example, for 2021, and then the

         actual budgets, those have to be approved by the

         members, of Location Ventures?

              A        don 't know what the operating costs were .

         It was members of the Board . I know          for 2022

         budget, and 2021, it was shown to the Board, and

         believe       was approved by the Board .       since 'then ,

         we haven 't gotten any update that the budget moved ,

         changed , looks different, feels different,

         different .

                     And you and your wife,                are Board

         members of Location Ventures, correct?

                     We were . We 're '
                                      n ot anymore .
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                          and 2022 , were you board members , for

         those years?

                    Yes, most of 2021, after we made the

         investment, and 2022.

               Q          for those years, for 2021, 2022, you

         recall that you were presented with budgets that you

         had to approve?

              A     So, again, let me just clarify this. The
         Board of Location Ventures is a Board by name

         really did not          like we voted once , I think ,

         year and a half that I was on the Board . There was a

         vote for the 2022 budget, which doesn 't match the

         reality , with no update back to the Board . And I think

         we voted once to proceed with one project, which was
               Ponce . That 's         It wasn 't -- we didn 't have

         regular B6ard meetings. We didn 't have prdcedures.

         tried to fix           We told him , you 've got to keep Board

         minutes. You 've got to         we want to be very clear what

         has to be shown to the Board, what you can decide on

         your Own . All         that direction was ignored .

               Q          there was never regular monthly or

         quarterly Board meetings. And the time you mentioned

          in which you were asked , as a Board member , you and the

         o ther Board m'embers .       approve the 2022 budget , was

         that done at an actual meeting or was that more



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         informally done via e-mail, this is for your

         approval

                      MR . SHOHAT: Excuse me. That 's multiple

          it seems to me that ïs multiple questions . You started

               there was never any regular Board meetings. Was

         that one question?

                      MR . CORTEZ :     think you   yeah , there was

         never any regular Board meetings?

                      THE WITNESS : Yes .

                      BY MR . CORTEZ:

                      Was there a meeting to approve the 2022

         budget, that you recall?

               A      There was a -- yes, late 2021, I would think .

               Q      Was that meeting held in person?

                      No .

               Q      Was it a zoom or teams meeting?

                      Yes .

               Q      Teams meeting?

                      Sorry , yes.

                      So, just walk us through that meeting, from
          what you recall .

   22                 He showed us the budget, from the upcoming

          year and      bless you . He showed us the budget for

   24    upcom ing year and -- I guess he said , do we have a

   25     Consent .   We said yes, an'd that was the meeting, more
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                 or less.

                      Q     Do you recall, did anyone, at that meeting,

I
                 have any questions about the budget or specific , you

                 know , numbers on the budget?

                            I don 't recall anybody making a big enough

                 questioning of the budget ,      me to have a

                 recollection of       so I don ït recall that .

                      Q     And, then, later, in 2022, you and other

                 Board members, did you receive the actual budget , for

                 2022?

                      A     No .
             '


                      Q     I think you mentioned that the numbers

                 changed dramatically from what was -- from what you and

                 the other Voard members approved ; is that correct? t

                            We received financials, but not a budget .

                 So, the budget is a projection for the future, right?
                 And, then, we would get quarterly financials       we

                 would get quarterly financials , but not as Board

                 members . It was really provided to those Fho asked

                     I would say .

                            Okay . Thank you , for that . Sorry .

        22       somewhat confused .

                            Yeah .

                            So, this was the budget , and then ,

                 subsequently , you get quarterly financial statements?
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                        On request .

!                       Upon request . And those quarterly financial

              statements , that you received, showed numbers that were

              very different than what was on the 2022 budget , that

              the Board approved; is that correct?

                        The ones later in the year , yes. Early

              the year, it 's still too early to really spot a big

              enough difference.

                        Right . And those changes, with respect to

              payroll and raises, some of the items that

              mentioned , was   your understanding that those changes

              needed to be approved by the Board, for Lccation

              Ventures to implement or change from the budget?

                        I 'm not sure . They were never presented to

              us, so I 'm not sure if that was our responsibility or



                   Q    Once you.found that the numbers were

              different than what was presented to you, in ùhe 2022

              budget , did you have any conversations , in 2022, with

              Rishi, about

                        Specifically , about the budget?

                   Q    Or about --

                        Or just the difference in the budget?
                   Q    The differenee in the actual numbers shown,

              on the financial statements, compared to what was shown
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                                                                         144

         to you , in the 2022 budget?

                    It was in a context       it was the last

         conversation I had with Rishi , when we said we lre done ,

         and we want to get bought out , at thatL meeting , that

         breakfast, I showed him a budget . And I said, show me ,

          in the budget, where it shows Rishi Kapoor and Daniel

         getting money .     that was the conversation , but we

         never had like a       this is a budget . This is the

         actual budget, becausç we were never shown         there was

         never really a consideration .        was never even shown .

         And the financial were always extremely delayed and not

         systematically shared .        was really like , hey , can

         you send me Q-whatever financials, and six weeks later,

         we would possibly get it .

              Q    And during , say , 2022 , you did request

         financial statements and you received them weeks after

         you requested them ;       that your testimony?

                        on occasion , we requested the statements

         and we received     some we received soon, and some

          like, for example, I'm still waiting for Q1 financials,

          for this year, that I requested .

              Q     And how long ago did you request those?

                    A month ago .

              Q     Okay . And do you know , like the financial

          statements , are those put together inhouse, by the
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                                                                         14 5

         employees of Location Ventures , or do you know if

         there ïs some outside auditing or accounting firm that

         works with them , to put together those statements?

              A    As far as I know , it 's a1l put       it used

            put together by , I guess, DJ Mogha, when he was the

              And , then , eventually , by Greg Brooks, who became

         the new CFO .

                   And are you aware of        besides you and your

         wife , as investors, are there other investors , in

         Location Ventures, that you 're aware of , that have

         become aware of the differences in , let 's say in 2022,

         from the numbers in the budget, comparéd to the actual

         financial statements?

                            aware of investors specifically

         questioning budgets . Right?     But I am aware of an

         e-mail, from Scott Robbins ' attorney         assume it ls

         not priv ileged because    went

                   MR . SHOHAT :           from his attorney , yeah .

                   THE WITNESS : But it went to every

         shareholder , in the company .

                   MR . SHOHAT : Then, it 'would not be

         privileged .

                   THE WITNESS :     would or would not?

                   MR . SHOHAT : Would not .

                   THE WITNEJS: Okay. So, in that e-maiï,
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                                                                             l4 6
l
!            Rishi            basically   based on the e- mail with

             Scott , and Scott said that after we bought            we put
                         1
             an agreement in place , to part ways with Location

             Ventures, and Rishi, specifically . He met with Scott

             and Tom , the other two shareholders, in the company .

        6               BY MR . CORTEZ:

        7         Q     Thomas --

        8               Thomas Barington . And he told him that he

        9    took over $4 million -- around $4 million out of the
             company , over the last couple of years . And when they

             said, how do           like how and khy . He said, well,

                 entitled because, again, the logic I gave . There 's

               commission for this . There 's a fee for that . Which ,

             again ,         not spelled out,    any of the agreements.

             We 've always been doing it this way . And they said,

             well, if you have 4 m illion          LV has 4 million

             pay out, that 's technically profit, we 're entitled to a

             share of that profit . So, we want our share of that 4

             million . And Rishi said ,      disagree with you . Th is is

             my money and you 're not entitled to           They said ,

             well,     that case , we also      we don 't want anything

       22    to do with you . We want to also part ways. And they

             were negotiating some kind          buyout .     fell apart .

       24    And, then, Rishi sent us, a1l the shareholders , an

       25    e-mail, that he was being bullied by Scott and Tom .
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         They wanted 4X on their investment . They wanted him to

         pledge his house . His wife was crying and he 's not

         going to do that . And , then , Scott 's lawyer sent us

         sent a notice to, I guess, Rishi, and copied al1 the

         shareholders, including us, that they basically intend

         to pursue legal their options and such . So, based on

         that situation , I 'm aware that Rishi told Scott and Tom

         that he took at least $4 million out of the company,
             he felt entitled to do so, and as far as

         understand , they disagreed .

                     MR. WEINSTEIN :      just e-mailed that
                     MR . CORTEZ: Thank you .

                     MR . O 'BRIEN : Do you mind if I ask a couple

            questions?

                     BY MR . O 'BRIEN :

                     Did the financial statements show transfers

         from Location Ventures, to Rishi, in his individual

         capacity?

                              believe so,

                     You said you learned of the transfers ,

         though . When did you first learn of the transfers?

                         we insisted that as the company is

         growing and maturing, and there's a lot of thi:

         slopp iness going on , that we need a different CFO, for

         the company .        we insisted        Rishi replace DJ .
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         Again , when I say insisted, again , not formally

          insisted , but we basically told him that 's what needs

          to happen . So , he started interv iewing CFOS and

          eventually brought in Greg Brooks , in maybe July -ish ,

         of last year . Our first meeting with Greg Brooks

          SO, to answer your question , Greg Brooks mentioned

         us, sometime in maybe, October, that while he 's still

         new on the job and he's trying to clean up the books,
         because the books are a complete mess . It 's not like

         you look inside Quick Books and there 's a clear

          transaction , that he 's trying to understand a lot of

          these transactions and asking Rishi '
                                              for the

          documentation      these transactions . Can you explain,

         you know , this transfer, this transfer , that transfer?

         And he mentioned some of these transfers as the

          transfers he was trying to understand . So,

                     MR . SHOHAT :        being brooks?

                     THE WITNESS:    Yes .

                     BY MR . O 'BRIEN :

                 Q   Did he mention them specifically tb you

          a group of people?

                     He mentioned it specifically to me and

                 Q   And, then, you also said, at some point, you

          gained access to their financial re
                                            'cords . To the
             t
          extent it 's not privileged, can you explain that
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                                                                          l49

         p rocess?

                      MR . SHOHAT : He can explain, generally

                      THE WITNESS : Yes .

                      MR . SHOHAT :        what happened , without

         telling you communications , with the attorney or the

          accountant .

                      MR . O 'BRIEN : Thank you .

                      THE WITNESS:           we reached out to our

          family attorney . We explained that we want

         understand what

                      MR . SHOEAT : Don 't talk about what you told

          your attorney .

                      THE WITNESS : Right .

                      MR . SHOHAT : Just say what resulted from it .

                      THE WITNESS : Right .          the attorney

          engaged an accountant. We reques'ted access Lo all the

          bank accounts. Shared that with the accountant. We

          requested certain bank statements, access to Quick

          Books . Access to Sage,          believe was the new system

          that they use .

                         MR . O 'BRIEN :

               Q      And did you demand to inspect the books and

          records, as a shareholder in the company , through the

    24    attorney?

                      MR . SHOHAT :   You can communicate whether you
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         communicated a demand to Rishi, to see the books and

         records of the company .

                    THE WITNESS : Yes, I think it was me .

         wasn 't our attorney , who reached out , I think it was



                    BY MR . O 'BRIEN :

               Q    And around when was the time in which you

         received the information , or your attorney received the

          information ,    you recall?

                          SHOHAT: You can talk about the timing .

                    THE WITNESS : October, November ,          year .

                    MR . O 'BRIEN : Okay . Thank you .

                    BY MR . CORTEZ :

                    Putting aside the amount of your investment

         that has been redeemed or bought out , by Location

         Ventures, have you received any distributions, since

         you 've invested in Location Ventures, from the company ?

                    There was one distribution shortly after we

          invested . So, back in early or mid 2021 , there was

               I believe it was just a piece of land, that they

         had under contract, that they sold , and we received

         couple hundred thousand dollars . Never         nothing

          else .

   24          Q    And is there         again,xl understand

         you lve asked to be bought out, but any expectation of
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                                                                         15l

         any future distributions, from Location Ventures?

                   No .

              Q    And I guess when you made your initial

         investment, with Location Ventures, was there an

         approximate length of time that you thought your

         investment would be with Location Ventures?        In other

         words, were you looking to get out, at some point ,

         few years, or were you just putting your money there,
         with no expectation of redeeming your investment until

         the end of last year?

                    No expectation of redeeming that investment .

                    Okay . And , then , again , not   I don 't want

         to ask anything that may be privileged , but have you

         had any recent conversations, other than the one you

         mentioned with Scott Robbins and his attorney , with any

         of the other members or investors, at Location

         Ventures, about the status of the company , the. money

         that has been pulled out of the company ?

                    I had a conversation with Marty Halperin,

         he 's the Halperin Fam ily Trust , last week .

                   And can you just sort of walk us through that
          conversation?

                          his lawyer was at the meeting .

   24    know if that makes it privileged or not .

                    MR . SHOHAT : It doesn 't make    privileged .
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                    THE WITNESS : Okay . And Steven was at the

         meeting . But, anyway , the context of the conversation

         wa s

                    MR . SHOHAT: Hold on a second . Steven --

                    THE WITNESS : So , we had two meetings with

         sorry , guys . We had two meetings.

                    MR . HOUCHIN : Hold on , a second .

                    MR . SHOHAT: Go off the record . Why don 't we

         take a lunch break and pick up here after lunch?

                    MR . CORTEZ: That 's fine .                We

         can discuss this, off the record , and take lunch . How

         much time would you guys like?

                    (Whereupon, at 12:53           a luncheon recess

         was taken .)
                        F T E R N O O N   S E S S I O N

                               (SEC Exhibit No. 5 was marked for

                               identification .)
                    MR . CORTEZ: Werre back on the record ,

         P .M .

                    Mr . Kleyner, during the break, did you have

         any substantive discussions, with anyone from the

         Comm ission staff?

                    THE WITNESS : No .

                    MR . CQRTEZ: Okay.        going to turn over

          some questions to Mark Dee .
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                     BY MR . DEE :

                 Q   Good afternoon , Mr . Kleyner . My name is Mark

         Dee .         senior accountant , with the Securities and

         Exchange Commission . I 'm here to cover Exhibit

         with you . Would you take a look at Exhibit --,that ïs

         been prev iously marked as Exhibit Five and 1et me know

          if you recognize that document?

                     Yes .

                         me just speak a little bit about it.
         Exhibit 9 has bates number

          FL-4347 Kleyner LVLLC 004657. It also contains three

          title headings of date, payor/payee, and amount. There
          are five transactions that do not have parentheses

         around them and there 's two transactions that do have

         parentheses around them . The dates range in the month

          of August , 2022 , for all seven transactions . The

         amounts in flow total over 4 .2 and going           1 .468.

         This is a yes or no question . This document , or this

          summary, you had created or had instructed someone to

   20     create

                     MR . SHOHAT : That would implicate an

         attorney/client privileged communication, so I'm going
          to ask him not to answer that question . Adv ise him not

          to answer that question .

                     MR . HOUCHIN : For the record , it 's Exhibit 5 .
                                                                  X
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                       MR . SHOHAT : Yeah , you said Exhibit 9 , when

          you were reading it before .

                       BY MR . DEE :

                       I've got Exhibit 9 on the brain .    I stand

          corrected . It 's Exhibit 5 . This is a summary that you

          recognize?

                       Yes .

               Q       Fnd why do you recognize it?

                       That was a summary that I gave tq Rishi

          Kapoor when we met,          early November, late October ,

          November somewhere in that time range, in 2022 .

               Q       And why did you give him this summary?

                       I wanted him to explain these transactions .

                       And these transactions are in reference

          what account and what entity?

                       These transactions, as I understood them , are

          money coming into Location Ventures . That îs the ones

          without the parentheses, and the two coming out of

          Location Ventures .

                       And the monies coming into Location Ventures ,

          could you tell me the entities that are represented

          there , that are the payees?
                   L
                       The one I 'm familiar with , as an LP investor

          is in , is the 1505 Ponce Partners, LLC . The other one

          is 800 Dixie Partners, LLC .               directly invested
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          in that entity .

               Q    There are two transactions with parentheses;

          do you recognize the names on -- for b0th of those?

                    Yes.

               Q    And they are Rishi Kapoor and Daniel Mogha?

                    Yes.

                    And you brought it to their attention

          because --

                    Because we wanted to understand what is the

          reason for these transactions. What is the explanation

          of these transactionk . What is the documentation for

          these transactions and such .

               Q    And the transaction to Mr . Kapoor exceeds

          million ; is that correct?

                    Yes .

               Q    And the transaction to Mr. Mogha is 140,000;

          is that correct?

                    Yes.

                    Did you receive a satisfactory explanation of

          these monies that were paid to Mr . Kapoor and Mr .

          Mogha?

    22              No .

               Q       If you didn 't receive      type of

    24    communication did they respond to you , verbally ,

          e-mail, with an explanation , or unsatisfactory
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          explanation?   How did you find out that it was

          unsatisfactory ?

                    It was a combination of verbally and e-mail.

               Q    Do you still have those e-mails?

                    I do . We shared them .

                    MR . SHOHAT :     think you have them .

                    THE WITNESS : We shared them with you .

                    MR . DEE : Mr . Cortez, Houchin , and O 'Brien ,

          do you have any further questions?

                    MR . CORTEZ :     have a couple questions .

                    BY MR . CORTEZ:

               Q    The 1505 Ponce Partners, LLC, i: that an

          entity that you are a limited partner in?

                    Yes .
                                                              I
               Q    And are you a limited partner, through an LLC

          that you created , to invest in this?

                    Yes .

               Q    And is 1S05 Ponce Partners the sponsor for

          the real estate development , at 1505 Ponce de Leon ,

          Coral Gables, Florida?

                    How do you define sponsor?     This is the

          believe 1505 Ponce Partners is the joint venture that
          my personal entity invested into , and my CL 's entity

    24    invested into, and Location Ventures entity invested .

          So , I believe this is the JV Partnership entity .
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                                                                              157

                         Okay . Versus the sponsor, which is the
1
l            entitY that manages the development of that real estate
1
             project, correct?
                         Correct.

                  Q      Which is controlled by Kapoor and/or Location
             Ventures, correct?

                         Yes .

                         Okay . How did these transactions      how

             y6u become aware of these transactions that are listed

              in this:

                         MR . SHOHAT: Are you talking about initially

             become aware , as opposed to any discussions he had with

             his attorney?

                         BY MR . CORTEZ :

                  Q      Correct . How did you initially become aware

             of these transactions listed in Exhibit 5?

                             Greg Brooks is the one who said that he

             was looking into transactions that he was trying to

             make sense of . Ahd these were some of the tranpactions

             that he mentioned              So, in parallel, we decided

             to engage our lawyer, to          to make sense of these

             transactions, as well .

                  Q        know you lre not invested in 800 Dixie

             Partners, LLC, but do you have a general understanding

             of what that LLC
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                                                                         l58

                    So , my general understanding , but again

         not a     we didn 't get to the bottom of this, but this

         is as I understand what happened here ,      was an entity

         that Rishi and DJ owned or controlled , before Location

         Ventures was formed. Then , they contributed that

         either entity or assets of that entity , into Location

         Ventures, and that was part of their 13 million equ ity .

         Then, there was a sale of 80O Dixie project, and there
         was some confusion -- there was            I don 't have

         clarity whether there was any profit made or not , but

         as I understand, in Rishi ls mind , there was profit made

         and he paid himself his share of the profit , w ithout

         paying out the rest of us, as shareholders of Location

         Ventures, any share of the profit . But there was

          confusion because , again , we didn 't get to the bottom ,

          so this was kind of a little fuzzy , but when they

          contributed this entity , to Location Ventures , they

         didn't c6ntribute it to par. They marked         up to some

         kind       value that they thought was appropriate . But

         when they sold it , at or below that value, there was

          some confusion how they 're going to treat it from

         accounting standpoint, on the balance sheet, and how

         are they going to recognize the return of equity . How

          are they going to recognize if there was any profits

         made or not made . But as we suspect, while this was
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         all being discussed and sorted out , Rishi paid himself

         out his portion of whatever profit he p'
                                                erceived existed

             the project.
    4         Q       And the project being the project that was,
          for lack of a better word, owned or oversaw by the 800

         Dixie Partners ,

              A       I assume        not familiar -- I 've never

    8     even seen      I 've never been to 800 Dixie address .

         not familiar with this particular project, at all, but
         as I understand, yes .

              Q       But you're aware there was some sale of some

   12    property , at this address?

   13         A       Yes .

               Q      And that the money from the sale, or the

         profits from the sale,         your understanding should

         have been distributed amongst other investors,

         Location Ventures, or in 800 Dixie?

              A       Combination of b0th . First would be to the

          investors in 8O0 Dixie, same kind of going back

          waterfall. First, the LPs,       a speèific project are
         paid , then the sponsor gets their share . So ,

          understanding is there should have been distribution to

          the partners, inside 8O0 Dixie project, and then any
         money left over should have gone to LV , to either be

         used for LV needs, be it operational needs
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          distribution , to partners , of profits .

                     And why was it after the partners ,

         Dixie, got paid whatever they got paid , the remaining

         profits, why did that        why were those supposed to go

          to Location Ventures?      Was that because Location

         Ventures was an investor in this, as well?

                     As I understand that this particular project
         was part of the equity contribution , by Rishi and DJ ,

          into Location Ventures.          therefore, at exit,

          should have been a return .       become, basically ,
                     1
         property of Location Ventures. So , at exit,            should

         have been returned . The proceeds now belong to

         Location Ventures, who was the owner of this project.
               Q     So, looking at the five transactions of

         monies, I guess, going from 800 Dixie Partners and then

          1505 Ponce Partners,         Location Ventures, what

          explanation did you receive about these five

          transactions?

               A         didn 't get any explanation on Dixie

          Partners . I got a     I have to look into     and get back

         to you . On 1505,      got explanation for some .      WaS

         told that

                     MR . SHOHAT: These aren lt com ing from your

         lawyer , right?     It 's coming from Rishi .

                     THE WITNESS :         from Rishi.
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                                                                          161

                         I believe the 640,600 was a two percent

         length closing fee. So,          a 32 m illion piece

         land . And the sponsor was entitled to two percent

         closing fee.

         closing fee, we didn't close on the land. The land

         wasn 't closed until, I believe, late November .

                how do you collect a closing fee . And the

         response was the closi/g was eminent,         took the

         money , figuring the close was only a couple days away .

         Then , the closing got delayed . And I never put the

                                            the money back .

         didn 't get a satisfactory response for that .

                     So , his response was either this was a timing

          issue , but these fees were inevitable , anyway, which ,

         again ,    didn 't find satisfactory , and for some of

          these ,   didn 't really even get a response . Like

          two percent, I understand, the 640. The 300,000,

         wasn 't sure what those are                wasn ît sure

         what those were for . I never got a response that kind

         of put me at peace .

                     BY MR . O 'BRIEN :

               Q     Real quickly. When you say you didn lt get

          satisfactory response , it 's important to know , though ,

         what the response was. so , if there are times in which

   25    he provided you with some type of J'ustification, or
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         information , that you could please share with us,

         would be helpful .

                    Yeah . So, for some of them , he sa'
                                                       id it was
                                                     ï

         just the two percent is for the land closing, even
         though the land didn 't close months later . So, this is

         definitely contradictory to the operating agreement .

         300,000, I 'm not sure . And it was     basically , I have

         to look into      and get back

                    With the loan that he didn 't pay back

          I'm sorry , the closing that he didn 't pay back because

         the closing was delayed, and you asked him why he

         didn 't return the fuhds, what was his response?

                    So , he took the fee , before the closing took

         place , even though I'm not confident the elosing was

          scheduled sometime around this date . That ls number

         one . Number two , this fee was after the closin'
                                                         g takes

         place, an#way. So, if he took it two days earlier, the
          operating agreement for this project never called for
          that . And the response was the closing was eminent .

          It got delayed . It got slightly delayed . It got

          slightly delayed . So , that was the response .

               Q    Okay. Thank you.
                    By MR . CORTEZ :

                    And I think you had mentioned this , to Mark ïs

          question . The questions and 'the responses that Rishi



                        9 :11
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         provided were b0th in e-mail and verbally , like over

         the phone or in person?

              A      Yeah , it was a combination of the     when we

         confronted him , with this piece of paper, he gave us

         some answers , the ones that          gave you .

                     That was in person?

              A      That was in person .

                     Okay .

                     I asked him about this        He said ,

         remember what this is for . And I said , Rishi, how

         often do you take a wire, for l .3 million , that you

         can 't remember what it 's for .      not something that

         happens to you every couple weeks. Then , I stopped

         myself, I said , is it something that happens

         every couple of weeks. So , I didn 't get a response, an

         explanation, at that time , when I confronted him for

         the 1.3, and what is the, you know, justification,
         kind of combination of that . He then sent us a spread

         sheet, that I believe we shared . I 'm sure we shared

         with you guys, where he has a list of all these

         projects and all the fees that he felt entitled to one
         percent ,      this , two percent ,    that . And I think

         that he was showing that he was owed ,      the business,

         millions of dollars more. And when we confronted him,
         again , like Rishi, where does it say that you 're owed



                       9 :11
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         the commissions, that you rre the CO? You 're

         broker . Like what you 're describing is broker fees . .

         You 're not a broker, you 're a CO . This is what you 're
         r
         getting paid to       His response was, how do you

         expect me to live for less than two , two and a half

         million dollars a year, which I was found       I was

          stunned by that statement. And I said, Rishi, what

         have you accomplished in your        that justify making
         two, two and a half m illion dollars a year?

         haven 't built a business that generated profits or

         returns,      your investors, so how to you justify
         making     how do you justify having your lifestyle
         two, two and a half million dollars a year , when the

         operating agreement says 400,000?   And he kind of
                                                d
         didn 't really have an answer for that. He then sent us

         a separate e-mail , talking about how he lives a humble

         lifestyle, and the McLaren is leased . The boat is

         financed , and    but I mean, respectfully , that was

         nonsense . Right?      we never got a type of response ,

         again , to my original point, satisfactory , that I felt

         like, okay , I get      Okay , fine, this was based on

         this operating agreement or this was based on this

         promissory note, or some kind of commission .

              Q     And you -- I know you initially mentioned

         person showed him this exhibit , the summary , which is
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         Exhibit Five , which has been marked as Exhib it Five , in

         person , to Rishi.

                      Uh -huh .

                      Did you subsequently get 'any other e-mail

         communications, after that initial in-person meeting ,

          from Rishi, trying to provide any information or, you

         know , exp lanation ,       you will, about these

          transactions?

                          got bits and pieces . There wasn 't one

          formal e-mail that says, okay , let me walk you through
                  .   '
          each one of these transactions and explain . And there

         was a lot of back and forth , where we said , Rishi, stop

          insulting our intelligence,            just, you know, stop
         the dance , like what 's going on here? What are these

          transactions? And we got some bits and pieces,

         e-malls . We got the spread sheet that showed all the

          fees that hels owed from all the different projects.
         We then set up a follow -up meeting ,         the office ,

         where we told him , hey , we have -- before that meeting,

         we basically told him we have three ways this can play

          out . We can fix it, together, right , understand

   22     first , we need to understand what is going on and see

          if we can fix           We can part ways, or a nuclear

          option , as we call it, basically , like we eall it the
         .                                   h

          legal options, and so on . And he said , I understand . I
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          want to fix         I love working with you guys . I love

          you guys,        that    you know ,     that good stuff .

              we tpld him , okay , so you need to come up with a

                  of everything you think we would perceive     forget

          about if you think it 's right or wrong      if you think

          we 'll think we could perceive it as not right,

          know . Can you do that?      Of course . Can do you

          a week? And we never truly got it . We got bits and

          pieces , a little bit of this, a 1i
                                            , ttle bit of that .



          So , we had a follow-up meeting with him , in his office,

          where we were like , again ,      you want to work this out

          with us, you need to really tell us everything that 's

          going on , in the company , that needs to be considered

          for repairs , right , for reversals, right, because --

          and we didn 't really get the responses we were looking

          for .

                       In the in-person meetings, that you 've been

          referencing , who was present?



                  Q    So, it was your wife and Mr . Kapoor and

          yourself?

                      Uh-huh .

                  Q   NO One else?

    24                 MR . SHOHAT : Say yes or no . You said uh-huh .

                       THE WITNESS :      yes .      to the previous
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          question , and no one else .

                      BY MR . HOUCHIN :

                 Q    Did you ever have any communications, about

          these transactions, with Greg Brooks?

                      Yes.

                 Q    We may get into those.            1'11 circle

          back to

                      BY MR . CORTEZ :

                 Q   And just to confirm, I think you may have
          confirmed this with your attorney , as you said, some of

          the information that was provided , via e-mail, have you

         produced through your attorneys

                      Yes.

                 Q       those e-mails

                      MR . SHOHAT : We produced them , or no, weïre

          still going through them .

                     MR . WEINSTEIN : so,      the extent that the

          e-mails are from Rishi, to Alex or           and there 's

          not an attorney involved, that was part of a legal

          team , we bve given you those already . They would have

          come       pe'
                       rhaps , number three, the end of number two,

          or number three. There are also text message

          communications that contain some of this information,

          that are absolutely in number three and number four .

         And , then , to the extent that there are privileged
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         communications, we don 't have it , but documents that

         are outside of the privilege, that wete provided to

         third parties , you have .

                    THE WITNESS : And the timing of his e-mail,

         to us, would be , I would say , between late October

         this meeting , it would be between late October and end

         of November . So , sometime

                   MR . WEINSTEIN : The bottom line is we don 't

         have them yet . You will get them , as we continue to go

         through them . Just because we 're going to finish

         today , doesn 't mean that we 're not going to keep giving

         you the information requested .

                   MR . CORTEZ : Okay . I appreciate it .

                   BY MR . CORTEZ :

                   And , then , sort of, kind of a similar

         question , but following ,     our discussion right

         before we broke for lunch , we were talking about the

         budget and the financial statements, and we were
         focused on the year , 2022 , and I think
                                              L , you know , you

             requested some financial statements . Some you got

         early , you know , at a reasonable time . Others were

         delayed . And there was some communications you were

         talking about , that you had with Rishi, concerning

         that, the budgets and the financial statements,

         including the money lent to Urbin , LLC . Were those



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                                                                         l69
         communications       I just want to be clear    b0th in
         person and through e-mail?

              A      Probably ,

                         sim ilar question     to the extent there

         were e-mail communications, about those top ics that we

         discussed before lunch , assuming those are not

         privileged , those are also going to be produced, if not

         already produced?

                     MR . SHOHAT :   Yes.

                     MR . CORTEZ : Okay .

                     MR . SHOHAT :' I think you have quite a number

            them .

                     MR . CORTEZ : Okay .

                     Do you guys have any other questions?

                     Okay . We can move on .

                     BY kR. HQUCHIN:
              Q      Before we go on, with respect to the

         communications that you had with Greg Brooks , about the

         transactions in Exhibit Five , can you gizve us your best

         recollection as to the substance of those

         communications?

              A      Sure. So, he said he just started on the
         job, couple months. He's trying to wrap his head
         around what 's going on with the company , because the

         books are not up to date, not accurate .
                                                ' The accounting
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I
I
I
g            is not gap . There 's things that he 's still trying to

             understand . He highlighted a couple of these

             transactions , almost asking us , do you know what these

             are . And we were like,       So, he    he was trying

             understand them and , you know, as he started mentioning

               couple of these transactions, we were trying

             understand them kind of independently of Greg Brooks .

                  Q     Okay. Without getting into any discussions

                 had with your lawyers or?accountants, regarding

             these transactions, do you recall which transactions,

             on Exhibit Five , Mr . Brooks highlighted?

                               remember exactly which ,        would

             say between most and all.       enough of these , he was

             also trying to understand and figure out .

                       As you sit here, today , do you have any

             understanding as to whether Mr. Brooks was ever able to

             come to an understanding , as to the background of the

             transactions that are reflected in Exhib it Five?

                       MR . SHOHAT : Other than what you may have

             been told by attorneys, did he ever tell you that he

             came to an understanding?

                       THE WITNESS : No.

                       MR . HOUCHIN : Okay . Thank you .

                       MR . O IBRIEN : I'm going to be stepping out ,

                       I have another meeting. But I just wanted to


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         say to everybody , thank you, very much , for your time,

         and I 'm sure we lll be in touch .

                    MR . SHOHAT : Okay .

                    BY MR . CORTEZ :

              Q           follow up with one question that John

         asked , not asking about any communications that you 've

         had with your attorneys, but sitting here, today , do

         you have any further understanding about these

         transactions and what the purpose of the transactions

         may have been?

              A    No . No, we have not identified any -- we

         don 't have any new information        like, okay ,

         makes sense why this happened . So , no ,    don 't have

         any new insight, to justify any of these transactions.
                   We mentioned the sponsors of the various real

         estate projects and I just want to ask you a couple
         questions .

              A     Sure .

              Q    What was your understanding of potential

         investment opportunities, in the sponsors of the

         various real estàte projects?
                             okay. So, the sponsor of every project
         ultimately flowed up to Location Ventures. A l1 right?

         So,' they might have had entities téat were the

         sponsors, but a hundred percent of those were Location
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         Ventures own entities.         every project should have
          came back to Location Ventures ' balance sheet . Right?

         There was a conversation about starting a fund that

         would raise qutside money, which the purpose of the

          fund would be to co-invest into the sponsor piece, the

         GP piece . The idea was you raise outside money . The

          fund w6uld own       would put up 75 percent of the
          stake . LV puts up 25 percent of GP stake . And, then,

          again , on the waterfall 'we discussed, in the past ,

         whatever the waterfall down to the GP would get split

          50/50. So, basically, an LV would make an extra
         promote on the funds -- fund . Sorry , the money that

          came from the fund. That was just a conversation that
          never actualized. There was never any cap ital raised .

          There was never any investments made .      was just a
          concept that was discussed , but that never really took

          any kind of life.

               Q        from your understanding, again , sitting

          here today , there are investors, at Location Ventures '

          level

                    Uh-huh .

               Q       then there's investors at the project
          level, depending on what project we're discussing?
               A    Yes.

               Q    But there's no investments, at the sponsor
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          level . There 's no investors added with any of the

          sponsors, for any of the projects, from your
         understanding?

                    From my understanding, correct . All the

          sponsors should be LV capital and LV , you know , would

          flow up to Location Ventures.

                    (Mr. OlBrien exited the proceedings.)

                    BY MR. CORTEZ :

               Q    So, any of the sponsors profits would flow up
          to Location Ventures, which then -- is it your

          understanding that directly would then perhaps be

          shared amongst the investors,     Location Ventures?

                    Well, that's the expectation . That 's what

          invested into , yes.

                    Okay . Was 'it generally the case that for

          each real estate project, Location Ventures would set
          up a Separate SpOnSOr entity , for that specific

         project?
                    I mean , I wasn 't close enough , operationally,

          to really understand all the legal structures of that,

          but my understanding is yes, there 's Location Ventures,

          the development company . Then , there Is, I think ,

          Location Ventures, maybe , cap ital, that pays payroll.

          Then, there's     each project has its own set of
          entities, with specific purposes. But, ultimately, a11
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          that sits on the Location Ventures kind of umbrella

          balance sheet .

               Q    And you mentioned that for the projects,
     4    there's the joint venture entity that, I guess, owned
          the piece of real estate, that the project was being
                             h
          developed ; is that correct?



               Q    Again, you may have mentioned this, but just
          so the record is clear, what was the role , or the

          purported role of the sponsors,       each of the

          projects? Like what was the sponsors role in that?
                    The sponsors role is to execute the project,
          which means       up all the pieces, the land, the
          approvals , the design, picking a sales team , selling of

          the units , developing of the actual , you know ,

          projects, handling all the day-to-day, payroll, vendor
          bills, etcetera , etcetera . ,And there were

          guess, main fees . One         development fee . So,

          monthly basis, either the sponsor entity or sponsor

          affiliated entity charge the project a development
          which was typ ically some kind of percentage , of either

    22    hard cost or total cost, on a monthly basis . And the

          second was the profit sharing , kind of trickling down

          to the sponsor , after , again , the bank is paid off,

          vendors are paid off , LP is paid , and then whatever is
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                                                                         l75

         left for the sponsor .        then , in some operating

         agreements, there were additional fees , like land

         acquisition fee, two percent, things of that nature .

         But -- so that was the sponsor , again , depends which

         entity you label as       sponsor ,          LV controlled

         entities were entitled to profit share, development

         fees, and any other fees disclosed in the operating

         agreement, such as land acquisition fee, marketing fee,

         things of that nature .

              Q     So, if the sponsor was charged the project
         fees and that money was supposed to be paid ,

         wasn 't, to the sponsor; was that the understanding?



                    And , then , whatever profits the sponsor

         generated, assum ing they had some cost and expenses for

         operating , that would then     would the expectation was

         that would then flow up to the Location Ventures

         entity ,     which you were and others are members of?

                    Yes .

              Q     Okay. We have talked, somewhat at length,

         about your investment in 551 Bayshore . We touched upon

         your investment in 1505 Ponce . Are there any other

         projects that you invested in?
              A     There was one more , called Redlands.

              Q     What is Redlands; what is that?
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                              a project in       guess it's west
         Miami .     think there is called Redlands .      think

         that 's why it 's called Redlands .

                     MR . SHOHAT : Southwest . Dee'
                                                  p southwest .

                     THE WITNESS: Right. So, the Rishi vision

         Wa S        there was a bunch of acreage he had under

         contract . His vision was to        the way he described

         was develop      into a mix of Hamptons meets Wellington ,

          so kind of horse farms, for wealthy people . And the

         again ,                                          saw the

         we saw the challenges in execution , because there was

         nothing there now . So, it 's not like , you know ,

         there 's luxury horse farms and you 're building one next

                   There was just nothing of that sort there.
                     But what he -- the investment we made was,
         was called Redlands Phase One, that basically as he

         explained us, the investment is -- let 's say you get on

         the contract for a piece of land for -- I 'm going to

         u se a random number . I don 't remember the number.

         Let's say $10 million, right? Today, this land is only

         worth $10 million. You now need, letls say, a million
         dollars to go through the design , go through approvals,

         and get ,        say , shovel ready , right?   Once it 's

         shovel ready , you have to go out and find the capital,

         again , the bank, LPs, GP, and           But what he was
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         saying is if the phase -- that from the point where

                      a piece of land, 10 million, and just dirt,
           point where it 's now shovel ready , there should be

         some appreciation because now you created a bankable



                           the logic was that we invest        ihink

            was $3 million range, to help get this project up to
         that point, whqre it's shovel ready . Once it 's shovel

         ready , and he goes out to find the financing , there 's

         enough mark-up , to the value of the land , that as he

         puts that permanent capital in, there 's enough money.to

         repay us the investment we made, to just get it to what
         we call phase one, right, get it shovel ready and some

         return .

                       So , we wanted to try that concept with one

         prOJ'ect .        we tried          Redlands . And , then ,

         when we decided to part ways, we got bought out of

         that, by LV , I guess, and whoever he          don lt know .

                       BY MR . CORTEZ :

                           the expectation     your expectation was

         y6u provide 3 million, just to take it from the land,
             the dirt, essentially , to get it shovel ready . But

         once it gets shovel ready , then you get out , before

         they even start really constructing --

                       Correct .
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              Q         constructing the project?
                    Correct .

                    Okay . But you got your money out, before

         that shovel ready time frame took place, for lack of

         better word?

                    You 're asking me if we got the money out?

                    Yes .

              A     Yes, we got the money out for       one, the

         project kept getting delayed and there was nothing
          eminent to make       shovel ready . And, two , when we

         made a decision to part ways, with Rishi, this was part

         of our global buy-out agreement, you know, we just
         wanted to be done          Rishi.

                        was 551 Bayshore,         Ponce , and

          Redlands Phase One, were those the only projects that
         you and your wife, through your trust, invested

                        just to clarify, their trust invested
          into the equity inside Location Ventures. The

          investments into the three projects you described were
         not made by their trust . They were a combination

          some were personal, some were our family       DALL family

          trust,      to clarify that point .

               Q    Thank you .

                    But as far as your question on the three

          projects, yes, these were the Qnly three projects that
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i                                                                            179

             w% had with Location Ventures, that we directly
             invested into a project.
                       And with respect to 551 Bayshore and 1505

        4    Ponce, were those investments structured in similar

             ways?     know you talked about this morning ,

             investment into        Bayshore,   just want to understand
             if 1505 Ponce was set up similarly?

        8         A     1505 Ponce was set up just like 551 Bayshore,
             not like the Redlands.

       10         Q    Redlands was different than

       11         A    Redlands was different --

       12         Q        the other two?

       13         A     Correct .

       14              Okay. And besides these three projects, did
             Rishi Kapoor or Location Ventures present you with

             other projects that you may have had an opportunity to
             invest in?

       18         A    Yes .

                       What were those?

                  A    There was an island, in Bahamas, called South

             Cat Key , that he was negotiating, trying to get a deal

       22    done, get a line on a contract. There was a project
       23    Montana . We said no to b0th . Well, we said

       24    Montana and Bahamas . We said we lre interested because ,

       25    again ,      in our back yard, and it looked
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         interesting, but that project never went anywhere.
         don 't believe there were others that were any kind of

         serious consideration for us .

                    I know you mentioned , initially , the Urbin ,

         but we spoke about that this morning , and you said

         to that, initially , immediately?

              A     Yeah , he knew Urbin, for us, was a

         non-starter . We didn 't buy into the concept of the

         business plan .

                    MR . SHOHAT : Give me a second .

                    THE WITNESS: So ,        address that . There

         was talk about a project, in Hawaii. We were never
         asked to invest in that particular project.
                    BY MR . CORTEZ :

                    Okay .

                    But that was actually strike two , for Rishi,

         the project in Hawaii.
              Q    Why was that strike two?

                    Because he was very passionate about Hawaii,

         very passionate. He talked about it all the time .

         hadn 't been to Hawaii, at that time , so he described

         as this gorgeous p lace . And he spent a lot of time

         Hawaii. And, then, he came back and he said he found a

         bunch of projects, in Hawaii. And we told him that we
         don 't think        a good idea for the company to do
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l            project so far away. We haven't completed anything
I
i
(            locally, to start doing things halfway around the
i
             world . He said he put something on the contract, but

                was a refundable deposit . We told him we think it 's

             kind of : bad idea,               refundable , I guess,

             and he Wants some time to present               neve r

             presented to the Board or any of the investors, to

             consider . And , then , we were          trip and got a

             text message from him that , guys, don 't be mad ,

             went hard on Hawaii,                you know, if nobody

             wants that project, 1:11 cover that. I think it was
                                                     M d I was

             outraged . And I 'm like we have protocols -- we 're

             supposed to have protocols, I should say . We never

             actually had them , unfortunately . But we 're supposed

                have protocols where you can't just get into
             projects. And even though he said, you know, he'll
             refund -- he 'll eat that m illion dollars,    that time ,

               assupe he's living $400,000 a year. A million
             dollars      lot of money .       I was really , really

             upset . And when we got back , he begged us, can you

             please at least hear out the project and talk to some
             local people, on the ground, local developers. We said

                problem . We spoke to the local -- on zoom , we spoke

             local developers. We got off the call and the very



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              first call we made to Rishi, we said ,we want our money

              and wesre done with you . Because we have no interest
I
I
r             in this project. This is not what we signed up for.
              If you want to do Hawaii, that 's fine . This

              what we signed up for, when we invested into this

              company .   I,f you want to do Hawaii, go ahead . Give us

              our money back . We 're out .

                   Q      Is this in 2022?

                   A      This was in -- so , let me think . So ,

              skiing -- this was early 2022 . Because we were skiing

              in December, January ,      '21      '22 . So , this would

              have been early 2022 .

                   Q      It was your understanding that million

              dollar, which I guess you said refundable deposit was

             money was takef out of -- was it money taken out of

              Location Ventures?

                          MR . HOUCHIN : And not talking about anything

              that you may have learned from your attorneys

              accountants, looking at, you know , the financials for

              the company . If you have an understanding, based on

              communications or observations, separate and apart from

       22     that?

       23                 THE WITNESS :   don 't              sure I have

                clear understanding . As I understand it , the money

              came from LV .      was supposed to be reimbursed,
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         because we told him , look, you want to do Hawaii, go

         ahead , but we want our money back . We 're done with

               That was strike two . And he said that he got half

         a million back , that he negotiated with a seller, that

         they get,to keep half of that million , and half

         million came back . But we tried to understand ,

         financials , where is that money?   Was it ever from LV?

             it ever come back to LV? And we never got

         satisfactory really explanation .

                   Hawaii was the strike two . The final getting

         out was strike three, which was late December .

                   MR . CORTEZ :      we bll get to the strike

         three, in a moment, but let's just take a five-minute
         break,     the court reporter get some water and use

         the restroom , if that 's okay . Does that make sense?

                   THE WITNESS : Yep .

                   MR . CORTEZ : We 're off the record ,



                    (A brief recess was taken.)
                   MR . CORTEZ: Back on the record , at 2 :49 P .M .

                   BY MR . CORTEZ :

                   Other than speaking about Pelotin , did you

         have any substantive discussions with anyone, from the

         Commission staff, during the break?
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              Q       So, we were talking about the three projects
         that you 've had invested        55l Bayshore ,       Ponce ,

         and the Redlands Phase One . We 're sort of focusing on

          1505 Ponce and sslBayshore . Do you recall       you

         received the same type of documents , from Kapoor ,

         Location Ventures, when they were presenting the

          investments, b0th in 551 Bayshore and then in 1505

          Ponce?

                      So , 551 Bayshore documents we talked about

         before . 1505, similar , you know , model, that showed

          expenses, exit prices; so very similar documents for

          1505, as it did for Bayshore .

              Q           there's a model or projection, looking
          forward, for the project, including the exit?
                      Values of the apartment, yes .

               Q      Thank you .

                      Yes .

                      And you were provided an operating agreement,

         when you decided to invest , in 1505 Ponce?

                      1505 Ponce operating agreement was based on

          55l operating agreement, because it was the same group

          of investors. It was us and

                      Okay . And prior to       becom ing an

    24    investor,           Bayshore , did you ever consider

          investing prior to that, in 1505 Ponce?



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                    Good question . Possibly ,          don 't

         remember , for sure.       know the money we allocated,

          551 investment , once        came      then we kind of

          shifted that money over to 1505. But were we

          independently committed to that investment before
          I don 't remember, for sure,         believe so, yes .

                    And prior to          do you recall receiv ing

          those projections or models, for 1505 Ponce?


               Q    Okay.

                                  (SEC Exhibit No . 6 was marked for

                                  identification.)

                    BY MR . CORTEZ :

               Q        handing you what has been marked as

          Exhibit Six , titled Hoperating agreement of 1505 Ponce

          Partners, LLCH, bates siamped LV 00009948, through

          10009.         have : couple questions to sort of

          understand the structure of this operating agreement .

          So , when you have a chance , let me know when you 're

          ready .

                    Yeah . Yes, I 1m ready .

                    MR . WEINSTEIN : Hold on , one second .

                    So, it 's LV, with all those zeros . Okay .

                    BY MR . CORTEZ :

    25         Q    So, you mentioned, just before, this


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          operating agreement, for 1505 Ponce Partners, the

          operating agreement is structured almost identical

         very similar to that of 551 Bayshore?

                      That was my understanding, yes, that this

          agreement was based on 551,          possibly some minor

          differences negotiated by            but that was my

          understanding .

               Q      I'm just going to refex you to a couple of
          pages . So, it 's      if you can turn to the page , bates

          stamped 9995?

                      9995?

               Q          the very end of the document .

                      Okay .

                      So , you see it says Hmanager and member, 1505
                      .




          Ponce Spon scr ,

                      Uh-huh .

               Q      Was that -- is that the sponsor entity that

          Location Ventures created , to be the sponsor of this

          project?
                      I assume so, yes .

                      And, then , you see where it says, Hinvestor

          membersu?        says 1505 Ponce,

                      Yes .

    24         Q      Is that the entity you created to make the

          investment into the 1505 Ponce project?


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                              quickly check , if you allow

         minute .

                 Q     Well, why don't we turn to the next page.

         Maybe that will help . So , this is Exhibit A .

                       Yes, yes. Sorry .

                 Q     This is Exhibit A, bates stamp number 9996.

         It 's Exhibit A . It lists the names, addresses, and the

         initial cap ital contributions , of the members . If you

         see ,       says , ''name of member 1505 Ponce, LLCH, and

         then the next column provides the address of member,

         and it prov ides a Miami Beach address. Then ,          says ,

          Hattention , A lex Kleyner''. So, does that refresh your

         recollection , as to whether this entity is the entity

         you created to invest in the 1505 Ponce project?
                 A     Yes. Going back to the previous question ,

         then, yes, we did commit to invest into this project,
         before

                 Q    And how do you know that?

                 A     Because they 're not listed on this exhibit

         page . And we are        our final contribution is not 16

         m illion .            I believe          is where we ended

         up . And              sorry . And LV 's 21505 sponsor

         million .

                      Okay.        this number, here, the 16 éillion,

         for the 1505 Ponce , the 4 million for the Ponce
                                                           ,         .1


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              sponsor, the LV entity , those numbers changed                  for
I
!            your entity , approximately, 9 million , and for the

              sponsor, approximately,      million , correct?

                          Correct, and 9 million for
                                                                    (
                   Q      And those numbers changed once                became an

              investor?

                   A      Yes .

                   Q      Okay .

                          Again , I 1m referring to      as a group .

             They invest undqr specific entities. The entity is not

                    LLC, but just for the context of this
             conversation .

                   Q      And I know we have not looked at an operating

             agreement, for 551 Bayshore, but your initial

             commitment also changed , I think you testified, from 18
                                                                l

             million , to , approximately , 9 million , when               came

              into -- became a member , as an investor, into that

             project?
                   A      Correct .

                   Q      Okay . If you can turn -- this is at the

             beginning of the agreement, to the page l5, where it

              says, bates stamp 9962 . Do you see , at the top ,

             says 'distributions and allocations ''?



                          And, then, you see Article 5.1,



                                                 A lex              1 .2023 0531 .449633 -M ...
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I
i
i                                                                            189
             Distributions?

                         Yes .

                                 know we spoke about this, but I just
             wanted to see if you could sort of generally walk us

             through this Article 5 .1 and how , you know , a member ,

             such as yourself, or the entity you created , 1505

             Ponce, was entitled to distributions , under this

             section?

                         So , this is whàt I mentioned as the

             thresholds, the monies towards the princip le, then 12

             percent interest, or IRR. And, then,           split 50/50,
             between the LPs and the sponsor.

                         Okay . When it says IRR , what 's your

             understanding of what that means?

                         Internal rate of return , of annualized

             depending how long your money has been out , annualized

             return on you: money of, you know, in this case,

             percent .

                  Q      Was that IRR of 12 percent, do you recall if

             that was the same          for 551 Bayshore?

                  A      I don lt recall exactly , but I would assume

             was either 12 or somewhere in the same range .

                  Q      Okay . And has there been any distributions

             made, to members or investors, in 1505 Ponce, to date?
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                                                                         19O

                   Understanding that we 'll get to the buyout,

         is there any expectations that distributions will be

         made in the near term?

              A    No .

                   How about the long term ; any expectations

         that distributions will be made to these members,

         the long term ?

              A    Are you trying to make me feel bad or are you

         asking me a real question?

              Q     I'm actually not trying to make you feel bad .

              A    You 're asking me a rqal question?

                    I'm asking a real question .

                    It 's getting smaller, by the day , that

         expectation .

              Q    Okay . Now, we're going to -- and I think

         we 've talked a little bit this morning , but real

         quickly , the next paragraph, Article       allocation

         profits and losses ; do you see that?



              Q    Again, feel free to take time to read this,

         but what 's your general understanding as to how profits

         and losses would be allocated, amongst the sponsors

         sorry , excuse me, amohgst the investors or members and

         the sponsor?

              A    So , again , my general understanding is
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          sponsor 's entitled to certain fees, along the way , as

          the project is developing, which is the development
          fees, line acquisition fee , or anything else that might

         be spelled out in here. Once the project comes to a
          completion , because this is a ground up , and the units

          are sold , and the closings are taking place , and the

         proceeds are coming into the,          know , the

         bank account , the bank is paid off, then the cap ital

          returned to LPs and GP. Then , LPs are making the 12

         percent return , on top . And , then , any money after

          that    any money left over is split 50/50, between
          LPs, as investors, and GP, as a sponsor .
                                         h
                    You mentioned the fees, you know , I think

         before we 'talked about extension fees , that had to be

         paid to extend the closing date, on certain properties,

          I think we mentioned with respect to 551 Bayshore . Are
                                         l
          those fees born by the investors of the project, when
          those extension fees are paid, or how do those fçes

          get -- what monies are the fees being paid

                    They rre supposed to be paid from the JV

         monies available.                   let 's say there 's no

                 there 's no bank financing in place yet, then

          every hundred dollars that 's inside the company , let 's

          say using this agreement, here, $8O came from the LPs
          and $20 camç from the sponsor and the GP. So, the
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                                                                         l92

         extension fees should be paid from the JV 's bank

         account . The money in the bank account should come pro

         rata from the two classes      investors, let 's call

                    And just use the extension fees as an
         example , did that       there were     or were extension

         fees that had to be -- that were going to be paid , was

         that something that needed' approval from the investors?

              A     So , I don 't know exactly which page

         don 't know if this talks about extension fees. My

         expectation would be, without reading the document ,

         that it would be yes, to your question . The reality is

             was never approved by anybody .     was ûnilaterally

         decided , by Rishi . Negotiated by Rishi, signed by

         Rishi, and paid by Rishi .

               Q    And we mentioned extension fees.

         and , again , maybe      or maybe it 's not in this

         document , your expectation as an investor, other types
         ,



             fees that were being paid, would those need to be

         approved by investors?   You know, we talked about ,

         example, development fees, acquisition fees , I think

             mentioned marketing fees and the like?

              A     If they were disclosed, in the operating

         agreement , then no, they did not have to be approved ,

         but if there were any fees outside the agreement , then

         they would definitely need to be      not even disclosed ,
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                                                                           193

         they would need to get approved .

              Q     Okay .

                    But if the operating agreement allows for a

         development fee , which I'm sure this does,

         acquisition fee , then there was no permission

         necessary. The manager of the project had the, I guess,
         permission to move that money .

              Q     Okay . And this is both with respect to 551

         Bayshore and 1505 Ponce . At the time of your initial

          investments into those projects, was there a projected
         timeline, for each project, to finish?
                    Yes .

              Q     And what were those respective timelines for

          55l Bayshore and 1505 Ponce,     you recall?

              A     I don lt recall exactly , but we 're definitely

         way behind schedule on al1 the projects, but I don't
         recall exactly when -- you know , the acquisition --

         don 't recall, specifically , when they were supposed to

         be completed .

                    BY MR . HOUCHIN :

                    Do you recall, approximately?

                    Four years, maybe, from the time of the

          investment, you know , a year to get some permits, kind

         of get shovel ready , a couple years to build, sell ,

         close . So , maybe four years, somewhere in that range .



                      9:11 AM1 Kleyner, Alex              1.20230531.449633-M ...
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                                                                          194

          We are behind schedule, on all projects. 1505 never
          broke ground yet and 55l we didn 't close on the land

          yet .

                      BY MR . CORTEZ :

                      And you mentioned that there 's been extension

          fees that have been paid for 551. Are there any

          extension fees that have been paid for 1505 Ponce?

                        believe so, yes .

                  Q   But do you know       the land has been

          acquired , for 1505 Ponce?

                      Yes.

                      But the closing has not 7
                                              b een set,

          today, or      keeps getting pushed back , I should say?

                      No , so the 1505

                      MR . SHOHAT : That 's five .

                      THE WITNESS :      me clarify . The

          Ponce , the land was closed on , in November-ish, of last

          year, so that's done . Done, meaning now the land is an

          asset of        The 55l Bayshore is a multiple

          extensions , amendments, extension fees, and so on .

          There ls no term sheet . There ls no land financing lined

          up .

                      Where we are today is          is considering

          closing on the land -- considering closing on the land,

          with their own capital .
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                                                                           l95

                    BY MR . CORTEZ:

                        For 55l Bayshore?

                        For 551 Bayshore .

                    And if you could, briefly , what is the

          status, now , with         Ponce , as we       there today?

          Is there planned construction?             there a plan to

         break ground on the property

                    There are -- so the land is closed, with a

          senior and junior lender,.for 30 million, in total.
          Construction , they did not break ground . I think

          they 're 'still going through the approval process .

          Pekm itting                  either permitting or still

         design , some kind of a design process, but             not

          close to shovel ready .

               Q    And is there any expectation that 1505 will

         be, at some point, shovel ready?             there a time frame

          for that or projected time frame for that?
                    Are you trying to make me feel bad or are you

          asking me a real question? I think the latest is still

          like a year away or something like that .

               Q    And this is not .to make you feel bad, so --

         but before wb get into your sort of decision to redeem

         your investments, do you have any concerns, as you sit

   24    here today , that any of the information that was

          communicated to you , or otherwise provided to you ,
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         about investing with Location Ventures, or the

         projects, was false or misleading?
                       I can answer freely , right , this question?

         Yes . Now , was         intentionally false and misleading or

          incompetence false and misleading?             had to guess,

                a combination of b0th, but yes . Not a single

         model that was shown to us, not a single timeline that

         was shown to us , has come to fruition . And

          single set of accounting documents that are in place ,

         have a high degree of confidence in .

                       And just to be clear --
                               you did make me feel bad, in case yqu 're

         wondering .

                Q      That wasn't my intention.

                               okay . I get

                Q      And just to be clear, that's with respect
          551 Bayshore, correct?

                A      Yes .

                       1SO5 Ponce, correct?

                       Yes .

                Q      And your investment in Location Ventures,

   22     it se lf ?

                       Biggest .

                Q      Okay.

                       BY MR . HOUCHIN :



                                 AMq Kleyner,
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               Q     What is your understanding as to who would be

                        at Location Ventures, for the project we
          just discussed, in terms of providing information that
         you believe, as you sit here today , was inaccurate ,

          some form or fashion?

                     Rishi Kapoor .

                     And thatas based on things that he told to

         you verbally?

                     Verbally , in writing , procedurally , whenever

          requested anything, nothing would come back before he

          reviewed       The fact that every time we asked

          something , we got a different answer, and

          always     it 's Rishi .      always Rishi Kapoor .

              Q      Thank you .

                     BY MR . CORTEZ:

                     I 'd like to turn now to your decision , maybe

         your wife 's decision, to redeem your investments,

          the projects and Location Ventures. I know this -- I
          think you walked us through some of it, but just,
         again , so the record is clear , if you can sort of

         please walk us through your .decision to redeem -- I'm

         using redeem in the sense of requesting a buyout of

         your interests, in Location Ventures, as well as the

         projects, sort of the time frame and sort of the -- how
         do you -- each step along that way?



                             AMJ Kleyner, Alex            1.20230531.449633-M ...
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                       Sure . So , going back to what I said .in the

         past, we signed up to be kind of passive real estate

          investors, with an option to learn more , but as much as

          we want to .learn, or as little as we want to learn . We

          didn 't sign up to run the business . We didn 't sign ip

          to fix a business . We signed up to invest

          business, with an existing management team . It started

          taking more and more of our time because there were

          more and more
                   h
                        things that we needed to get involved on ,
                   w


          so that the wheels don 't kind .
                                         o f come off . Like ,

          again, the Hawaii project, he wanted to be right away.
          Hawaii , we said look --        was an example ,R right? So ,

          we progressively started noticing that our

          there 's a lot of our time being dedicated to Location

          Ventures, which was never our initial desire, right?

          Initial intent. That was number one . Then , we saw

          that, you know , there are practices         company that

          we were constantly kind of questioning and trying

          understand, and we started getting a sense that we 're

          constantly getting some kind of half answer or

          story , or kind of a dance from Rishi, and that really

          started just kind          again, not what we signed up
                We kind of invested into him . We thought he had

          the potential to be a real developer, build a real

          company , with our money , with some of our advice



                               AMq
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         mentorship , that he always talked about . But strike

          three, as I mentioned before, as we were trying to

         understand all these transactions and how the money is

         mov ing hands         well, it was kind of onensided moving

          certain hands. And as he tried to start explaining us

          how he 's entitled to these f'
                                       ees, we send him , I think

          it was, a text message, that I'm like, hey, just so
          we rre clear, we do not agree with your rationale for

          why this money is -- you lre entitled to this money . Do

          not take anymore money out of the company , until we

          kind of try to understand what 's going on here,

          is fixable and so on .

                    Q   And may I -- my apology there. That telt

          message, was that just from you, or were there.to Rishi
                J
          Kapoor?       Were there other people on that text message?

                         It would either be between me and Rishi, or

          me,             and Rishi .       we had a group text for the

          three of us.       I think it was in that group text, with

          the three of us, but there was definitely no lawyers

          anybody else on that group text.

                    Q   And, David, that's why you mentioned the last

          production has some of that?

                        MR. WEINSTEIN : The last two .

                        BY MR . CORTEZ:

                    Q    Okay. Sorry . Continue on.


                                        Kleyner ,
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                                                                         2 00

                     I remember I was at dinner with            and

         having sushi, and it was like our date night, we got

         aWay from the kids.    And we just wanted to do what
         peop le do on date nights and talk about stuff .

                     MR . SHOHAT : What kind of sushi was

                     THE WITNESS : It was great .       was actually

         one of our favorites . Nosamakasi, if you guys ever

          tried it , on Miami Beach .   It 's fantastic . Pricey , but

          fantastic .

                     But, anyway, so this was in the middle of him

          closing on 1505. And he kept talking to us how he 's

         a1l stressed and he 's trying to put all these pieces

          together . And Marty is willing to do Junior, and the

          senior needs to agree to that . So , he was, you know ,

         basically kind of gave us, please don 't bother me ,

          trying to understand all these transactions, while

          trying to close this.

                     And I texted him that      I 'm like, one,

          I either texked him or e-mailed him . I believe it was

          a text .       so we lre clear , we don 't agree with your

          justification for this money coming out. We need
         understand it further , but do not take anymore money

          out of the company , until we sort this out . And two

          days later, we got a text message from Greg Brooks, and

         he's like, you won't believe         he just took 1OO grand


                        9 :11
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                                                                         2 01

             of Urbin , for himself . And that was strike three .

                   BY MR . CORTEZ :

                   And this was

                   November , mid to late November, mayb'
                                                        e early

         December , probably not, of 2022.

              Q    Okay .      that was, as you described it,

         strike three . Once Greg Brooks informed you that Rishi

         took $100,000 out of Urbin
                   MR . SHOHAT : Not Urbin ; Location .

                   THE WITNESS : Well, it was

                   MR . SHOHAT : Oh , I thought you said Location .

                   THE WITNESS : So , that one,           not

         mistaken, he took from Urbin project level, so there
         would be more difficult for us to find . So, it didn 't

         come out of          didn lt come out of Urbin

                   BY MR . CORTEZ :

              Q    LLC?

              A              It came from some project level,
         you know , unless we looked granular, we wouldn 't be

         able to spot it, which really pissed us off, that that

         was clearly by design .

                   BY MR . HOUCHIN :

                   Did Mr . Brooks have any understanding as to

             justification for that hundred thousand dollars
         coming out?
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                      I think he was still trying to understand

         himself. Because, again, he was only on the job,
         maybe three or four months, at that time . And he

         didn't come in to a clean set of books, and you've just
         to understand       like he was rebuilding a lot of the

         boöks , trying to understand what is this payment for,

         where is the invoice or operating agreement, to justify
         this payment.        no, he didn 't have     you know ,

          from what I understand, Greg Brooks did not have

          justification or explanation why, again, Rishi,
         personally , would be taking money out of any of these

         entities .

               Q      Did he provide    did Greg Brooks provide you

         any documentation showing the transfer of money from

          the Urbin project level, to Rishi Kapoor?
                        am not sure . I don 't believe so, but we

          asked , again , our lawyer, to say can you please work

         with accountant , to understand what is going on there,

          and at least let us know if that transfer took place .

                      Okay . Did you have any communication with

         Mr . Kapoor , after learning about the hundred thousand

          dollars?

                        asked him to meet for breakfast , on Monday ,

          and asked him to bring DJ to breakfast .

   25                 And what did you guys discuss, at breakfast?
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                                                                          2 03

                          basically     SO

         Rishi, DJ , myself, and             Small talk , in the

         beginning , and then I basically        the way I phrased

                    said , DJ, you were not part of the recent

          conversations hwe had with Rishi, about some of the

          things we're tvying to understand inside the company.

          I 'm sure he 's brought you up to speed , but I prefer you

         hear from me what is going on between us . So ,         listed

          a couple of things that we 're not understanding .

          show him the 2022 budget and I said , show me where,

          the budget , it shows payments to you or Rishi . They

         didn 't really have an answer .         I listed the issues

          that we were trying to understand, the transactions

         we 're trying to understand .       didn 't get any of the

          answers . I put a piece of paper, in front of him .

          said this is the buy-out schedule . It 's not

         negotiable . If you don 't want to do         that 's

         perfectly fine . You know, the rest will be handled by

          the lawyers . And that was, more or less, the last time

          that I spoke to him , up until I spoke to him last week,

          On Ce .

                Q      This was an in -person breakfast you mentioned

          on the following Monday?

                A      Yes .

                Q      Where was it held at?
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                        In Midtown,     one of the restaurants in

         Midtown .

                        Okay.      after you laid out what you just
    4    described to Rishi and to DJ Mogha, what response did

         they have, at that breakfast?

                 A      DJ stayed quiet . He didn 't have anything ,to

         say .       told him he is the biggest fool, at this table .

         I 'm like you guys are b0th equally possibly in trouble ,

         here . But Rishi took m illions and you took hundreds of

         thousands. So , you 're         I apologize . You 're

         fucking idiot . Right?       He didn 't have anything to

         respond to that . I wasn rt -- you know , they didn 't

         really have -- there was no response . There was no

         but , this is why , this is why . So , we said, okay, this

            the buy-out schedule if you, you know --

                       Did Rishi      do you recall if Rishi agreed to

         that buy -out schedule , at the time you presented it to

   18    him , at that breakfast?

                             He e-mailed me, a few hours later, said

   20    we accept . Redlands         we separated the .Redlands from

         everything else . So, Redlands was a separate buy-out

   22    schedule that took place within, literally ,        don 't

         know , a week maybe . And everything else the lawyers

   24    handled from there to work out the global purchase .

   25            Q     So , the Red -- sorry , to interrupt . So, the
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                                                                         2 05

         Redlands , that was a separate schedule that were

         within , I think you said, a week that they paid you

         back your, I think you said, approximately $3 million
          investment?

                    Something like that, yes.

               Q    Okay. So, that was sort of off the table

          then the rest      the other schedules focused on your

          investments in Location Ventures, 551 Bayshore , and

               Ponce?

               A    Yes , and we gave him six months to kind of

          complete that buy -out , which we thought was a

          reasonable time frame .

                                (SEC Exhibit No. 7 was marked for

                                identification.)

                    BY MR . CORTEZ :

               Q          handing you what has been previously

         marked as Exhibit Seven . It 's bates      it 's titled

          ''global interest purchase agreementd', bates stamped

          FL-4347 Kleyner LVLLC 0001480, through 1521. Just take

          a moment to review and let us know when you rre ready .

                          ready .

               Q    Mr. Kleyner, do you recognize this document?

                    Yes.

                    And what is it?

   25               It 's our buy-out agreement that we reached
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                                                                              2 06

         with Rishi and Location Ventures .

                 Q           Can turn to page 22, of the agreement,

         bates stamp 1S01. You notice under -- this

          signature page , of the agreement . Under 1505 .
                                                         ponce ,

         LLC ,                          , and then above the name,

         Alex Kleyner, is that your signature, on those three

          lines?

                     Yes .

                 Q   And , then, is that your wife 's signature ,

                       for the             and for her, personally?

                     Yes .

                 Q   Okay. And I think we noted this before, but

          looking at the signature page, 1505 Ponce, LLC was the

         LLC created to invest in the 1505 Ponce de Leon

         project, correct?


                 Q   The                           was that the LLC

          created to invest in the 55l Bayshore, Fort Lauderdale

         project?


                 Q   The              that is signed by your wife,

                       that was tke trust that invested directly
          into Location Ventures entity , correct?

   24                Yes .

   25            Q   And, then, you and your wife,          signed


                                                          1 .2 0230531 .449633 -M ...
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         personally , as individuals that owned or otherwise

         controlled the three entities      the two entities and

         the trust, that we just discussed, correct?


               Q    Okay. This agreement, on the first page, of

         the first paragraph , is dated as of December 31, 2022,

         defined as the ''effective dateu. It 's made between you

         and         and the entities we just discussed, and
         Rishi Kapoor ,and Location Ventures.     If you could , turn

            page two of the agreement? And if you notice,

         Article -- paragraph one, it says Hpurchase pricel'.

         And , then , Subsections A , B , and C list three separate

         interests, LV interests, Bayshore interests, and Ponce

         interests. The LV interest, is that referring to the

         membership interest that was invested in Location

         Ventures , itself?

                    Yes , this was the borrowed amount . There was

            return . This was how much we              This was how

         much we wanted to get out .

                        the $24,378,630 is the total amount
         invested in Location Ventures, correct?

                    I mean , it sounds right . I don 't see where

         you -- where you see that actual number , but yes ,

         sure if you add them up --

               Q        just looking, Alex, right here.


                              AM! Kleyner, Alex     Vol. 1.20230531 .449633-M ...
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                                                                           2 08

                            sorry .

                        And , then, similarly , the Bayshore fnterests,

          referring again , as you mentioned , the 551 Bayshore
             '
         prOJect,          roughly 6.36 million, just to be clear,
         you had mentioned that when            came        there was

          roughly 9 million invested. So,         just wanted to
         understand the discrepancy between the 6.3 and the 9.

                        Yes , sure . So, we put in        of cash , into

          Bayshore . We had a commitment for 9, but when we found

          out how the budget moved, we said we rre not giving you

          anymore money . so, we only put            5 .1 million ,

          cash .     then calculated the      percent IRR, that

          the operating agreement for projects I was entitled to,
          assum ing I got out , at a certain date . And that 's how

          we came up with these numbers, for both 1505 and

          Bayshore . So , this was principle , plus 12 percent IRR .

          No other profit participation .

                        Okay . So , for     Bayshore interest, as well

          as 1 .2 C, the Ponce interest , at 10.18 m illion number !

          b0th were calculated the same way?

                        That includes      yes . Sorry . That includes,

          I think it 's 9 or 9 .1 million of principle, plus

          accrued interest of 12 percent, since that money was

          dep loyed .

                 Q      Okay. The next paragraph, Paragraph 1.3,
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         payment , there 's -- under this paragraph , there 's

          continuing onto the next page, there 's three schedules,

         one for the LV purchase price, a second for the

          Bayshore purchase price, and a third for the Ponce

         purchase price . You had mentioned that you provided a

         payment schedule that was non -negotiable to Rishi, at

          that breakfast . Does this reflect that payment

          schedule that you provided to him that day?

                       Yes .

               Q       And was            was it to three separate

         payment schedules, one for LV , one for Bayshore, and

         one for Ponce, that you provided, or          as reflected
                   I
          this agreement?

                       I mean , yes and no .    was one schedule ,

         with dates and amount , and what that payment

          against .

               Q       Okay.

                               was one schedule,          again, it

         was a dombination of the three entities , under one

         payment schedule .

               Q       Which, I guess, for purposes of this

          agreement, was just broken up, per investment interest,
          in each ?

                       Correct'. That 's why you 'll see a gap ,

   25     let 's say the LV equity , there 's a gap      the dates,
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          that some LV qntities get bought out in January ,

          February , and March . Then , in March , the Bayshore

          needs to get bought out . And , then, in April, the

          Ponce needs to get bought out . And, then, in May and

          June, the rest of the LV gets bought

                           see. Thank you , for that

          clarification . So, were these payments, as reflected on

          these schedules, were these payments actually made

          you?

                     Are you trying to make me feel bad or are you

          asking me a real question?

                 Q     guess         good job of making people feel
         bad .        something I need to work on .

                     As long as the right people deserve        then

          I Im okay with       So, we got partially paid . We got

          everything through March 15th . We got a $500,000
          extension fee . He had a one contracturally , someone

         here , he had a 500,000 option , to delay one payment,

          for 30 days . He then notified us that he doesn 't have

          the next payment to make . We said we 'll take l .5

         million,     you need a little more time . So , he sent

   22    us 1.5 m illion , and no additional payments have been

         made , and he 's now in default even deeper .

                 Q   And just to be clear, you mentioned the
          $500,000 extension .           look on page three,


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                                                                          21l

          Subsection E,     talks about extension option . And I

          think it talks about a one-time, nonrefundable

          extension fee, of $500,000. I think that's what you
         were referring to, right?

                    Yes .

                    So, and just, again, going pack to page two.
          So, the only payments that were made , I guess , were the

         payments under the LV purchase price, from January

          2023 , through March 15, 2023 , and those amounts,

          listed in that schedule, those are the only amounts

          that have been paid, except for the 500,000 and the

         million you mentioned?



               Q    Okay . The l.5 million, does that      well,

          the l.5 m illion , does that go to reduce any future

         payments owed, under this agreement?

                    Yes, that goes against the 5 million , of May

          15th .

               Q    You mean March 15th or May 15th?

               A    May 15th .

               Q            Sorry.

                    The March 15th , I received . The

         against the May 15th .      the current balance is

         million against the LV equity . And , then , a hupdred

         percent of 1505 Ponce and Bayshore has not been paid .
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                                                                         212

                Q     And, approximately, when was that 1.5 million

         paid to you?

                          say maybe mid-April , maybe ; something

         like that .

                Q     So, April of 20232

                      Yeah .

                Q     And, then, after that payment, when did

         Rishi, you know , represent to you that he doesn 't have

         the monies necessary to make the remaining payments,

         under this agreement?

                A     So , I don lt know     his lawyer communicated ,

         to our lawyer, so I don 't know if that 's something

                      MR . WEINSTEIN : You Want to weigh in on this

         one?

                      MR . SHOHAT :        sorry . I was working on an

         e-mail .
                ' I apologize .

                      MR . CORTEZ : I asked him without disclosing

         any priv ileged communications, I asked when did Rishi

         represent to Alex that he did not have the monies

         necessary to make the remaining payments, on the

         schedule .

                      MR . SHOHAT : Can we go off the record, for a

         second?

                      MR . CORTEZ : We can go off the record,
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                                                                                 213
!

            1               (A brief recess was taken.)
            2              BY MR . CORTEZ :

            3         Q    Back on the record, at 3:32 P.M. Real quick,

            4    Mr . Kleyner , did you have any substantive conversations

            5    with the staff, of the Commission, during the break?

            6         A    No .

            7         Q    Sorry . I have to do that every time . So ,

            8    right before we went off the record, I asked you

            9    approx imately when did Mr . Kapoor represent to you that

           10    he did not have the monies to make the remaining
                                                  '
                                                                                               j
           11    payments , as set forth on these schedules of this

           12    global interest purchase agreement?

           13         A    Around May 1st, I believe; around that date .

           14         Q    Okay . And how was that communicated to you?

           15         A    From his attorney , to our attorney .                    .



           16         Q    Can you just identify who his attorney is and
           17    who your attorney is that received that communication?

           18         A    Yeah , Brian Goodkind is his lawyer, and our

           19    lawyer is Steven Rubin , who was interacting with Brian ,

           20    for the purposes of the contract . And, then , we have

           21    other lawyers who were involved, as well, from Allen

           22    Kluger and Philipe Leiberman .
    '
           23         Q    Okay . I think you said around May 1, 2023

           24    that Kapopr represented to you that he did not have the

           25    money necessary to make the remaining payments, and ,



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         again ,           want '
                                to ask any questions that are

         privileged communications, between you and your
         a
         )ttorney , but to the extent you can answer this

         question , have there been any efforts to renegotiate

         the schedules, for the repaining payments, with Mr .

         Kapoor?

                      MR. SHOHAT: That would be attorney/client
         information, right there . I can ît have him answer that

         question .

                      MR . CORTEZ: Okay .

                      MR . HOUCHIN : How about this : Has Mr .

         Kapoor,           attorney , reached out to you or your

         attorneys, about renegotiating?

                      MR . SHOHAT : You can answer that question ,

         have they reached out .

                      THE WITNESS : I would answer , the

         conversations are ongoing .

                      BY MR . HOUCHIN :

                      Have they made any specific proposals?

                      MR . SHOHAT :        would be information he

         would get through his attorney and not him , personally ,

         right? Any information you have in that regard would

         be from your attorneysk right?

                      THE WITNESS :

                      MR . HOUCHIN :           want to go to anywhere



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I                                                                            215
l
         1   near communications you lre having with your attorneys .

         2   You know , if they sent a letter, from the attorney , on

         3   the other side, to you, someone on the other side
                                                         $
         4   reached out to you , that 's one thing . I would be                '

         5   interested in. If you're just learding about the
         6   communications --

         7              MR . SHOHAT : Do you have a copy of -- 1et me

         8   just follow up. Do you have a copy of any letter that
         9   you got , that was sent to you from their attorney , with

        10   a proposal?

        11             MR . WEINSTEIN : After May 1st?

        12             MR . SHOHAT : After May 1st .

        13              THE WITNESS : No .

        14             MR . SHOHAT : That came from 'their attorney?
                                                                                           )
        15             THE WITNESS : To me, personally?

        16             MR . SHOHAT : No, to your attorneys .

        17             THE WITNESS : Do I have a copy?

        18             MR . SHOHAT : Yeah , do you have a copy?

        19             THE WITNESS : Let me think if there was any

        20   letters, like physical letters.

        21             MR . SHOHAT : I think'that ïs what you were

        22   asking him .

        23             MR . HOUCHIN : Yeah .

        24             THE WITNESS : Right . Was there any physical

        25   letters that were sent --



              (5/31/2023 9:11 AMq Kleyner, Alex - Vol. 1.20230531.449633-M...
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                    MR . SHOHAT : After May 1st, with a proposal

         Or

                    THE WITNESS : I don 't believe so . I think it

         was just in the conversational nature.
                    MR . HOUCHIN : Okay . Thank you .

                    BY MR . CORTEZ :

                    Which is, I think you said , via e-mail ,

         correct?

                    Yes .

                     I think you had ment-ioned this morning , but

              it true that you and       are not -- are no longer

         on Location Ventures board of directors?



               Q    And when did you and          sort of stop being

         on the LV board?

                         officially we ktopped being on the LV

         board maybe in the last 60 days, sometime,        we

         haven 't had a board meeting in        can 't remember the

         last one we had; nine months, maybe. Ahd those are
         more informational , than actually actionable .

               Q    And , again , I 'm going to be careful, here,

         with the line of questioning, but and 1 '11         start

         by asking a very general question . Since that

         representation , approximately May 1st , that Mr . Kapoor

         did not have the money necessary to make the remain ing



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                                                                           2 17

         payments, has the conversations, since then , been

         between your lawyers and his attorneys?

                    Have there been conversations?

                    Have the conversations, concerning the

         remaining payments, been made between your attorneys

         and h is attorneys?

              A     Yes .

              Q     Okay . You mentioned that you saw or spoke

         with Mr . Kapoor last Friday , correct?

                    Yes.

                    Were any of your attorneys present when you

         spoke or saw Mr . Kapoor last Friday ?

                   No .

                    So, was it just you and Mr. Kapoor having a
         communication?

                    It was Rishi, myself ,         Marty Halperin ,

         and four people from

              Q     Okay. Was it a meeting?

              A     Yes .

                   What was the purpose of that meeting?

                       was really to discuss if he 's got some

         kind of plan to              There ls no real money in

         the company . We wanted to understand if any money is

         eminent to meet payroll and such , @nd if he 's got a

         plan to solve everybody 's situation and take care of



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             shareholders . There was really no plan .          then, we
I
!
!            discussed what are the options available ,       this

             point , basically .

                          So , when you said there was no plan , do you

             recall what Mr . Kapoor specifically represented or said

             to you , about any plan or anything going forward ,

             meet, I think you said , to meet payroll, satisfy

             shareholders, etcetera?

                  A       He did not have anything to say . So, we kind

             of       he did not have anything to say

                         Any documentation or anything that he

             provided to you , concerning Location Ventures '

             financial condition?

                  A      No .

                          Its operations?

                         No .

                  Q      Any documentation, at all, provided by Mr.

             Kapoor, to you , or the other members -- the other

             attendees of that meeting?

                         Documentation?

                          BY MR . HOUCHIN :

                  Q      Who organized or called the meeting?

                  A      Marty Halperin, I believe .

                  Q      Did you have any conversations with Mr.

             Halperin prior to the meeting, about organizing or the



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         purpose of the meeting?

                     MR . SHOHAT :   You can answer .

                     THE WITNESS:     Yes.

                     BY MR . HOUCHIN :

                     And what was discussed?

                     What are the options available to LV ,
                                              i

         17oinè, to protect shareholders and creditors, and such.
                     And at the meeting , did you provide or

         strike that. At the meeting, did you or Mr. Halperin
         provide the options that you and Mr . Halperin had

         discussed , to Mr . Kapoor?

                     Concept, yes.

               Q     And what specifically do you recall about the

         concepts?

                     That what 's in a company 's best interest to

         start liquidating the assets, that still have value ,

         pay off any obligations . And we need to minimize

         expenses, which got head count, and basically start

         selling off assets to ensure that , you know ,

         shareholders can see some kind of path to getting their

         money back .

               Q     And who communicated those options to Mr.

         Kapoor?

               A     Cas     sorry . Barack Meta , who is part of

         the       group . He was very careful to say that he 's
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          not a shareholder in the company , so he 's communicating

          and just, you know, kind of on behalf of logic and
          reason , when considering the options available , but he

          doesn 't have a personal interest in LV parent company,

          but they are open to buying out the LV stakes,

          1505 and Bayshore, which would bring some, possibly ,

          money to the company .

               Q    How did he know what to discuss, in terms of

          the options or the concepts? Was there a separate
                                        !
                                        Halperin , and you ,

          combination of that?

                    Yes.

                    Was that done in person or by phone?

                    In person .

                    Same day or prior to the meeting?

                    Day before.

               Q    Okay . Anyone else present ,     that meeting?

                    Marty Halperin 's attorney and our attorney .

                    Okay . Going back to the meeting with Mr.

          Kapoor , when the concepts were presented to him , how

          did he respond, if at all?

                    He said, I understand .          1ot for me

          process. Allow me a little time to process.

                        you guys     did you or Mr . Halperin give

          him any idea of how much time , if any , you were willing



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          to give him ?

                       Yes .

               Q       And how much time was that?

                       We asked him to have      something back to

         us by , I want to say, Sunday night , or Monday .

               Q       This past Sunda# or this coming Sunday?
                       No, past . And start kind of cutting head

          count to minimize expenses , like ASAP .

               Q       And did you get any feedback from him, either

          Sunday or Monday?

                       Are you trying to make me feel bad or are you

          asking me a real question? Any feedback from them has

         been between his lawyers and our lawyers. We have no

         more direct communication with Rishi, since then .

                       Not counting information that your attorneys

         may have prov ided to you , about those communications,

          do you have any understanding , separate and apart from

          that , about any possible proposals or the feedback?

                       Nothing that didn 't come from our lawyers

          interacting .

               Q       Yeah, I don't want to get into that.
                   '
                       Yeah .

               Q       Okay. Thank you.

                       BY MR . CORTEZ :

                          it your understanding that Location



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'
r            Ventures currently is insolvent, or at least
I
1            approaching insolvency?
I
                  A      It ïs pretty close, yes .

        4                And you mentioned that discussions with Marty

             Halperin,     apologize, the person from

                  A      Barack .

                         Prior       during    since the last

              just say the last few months, or since you             ask

             you since you entered into this purchase agreement,

       10    have you or            had any discussions with other

              investors, outside of anything with your attorneys,

             about redeeming your investments or other investors

             concerned about obtaining about them or their entities

       14    redeem ing investments, in Location Ventures, or the

             projects?
       16         A      I had a      yes, with Scott Robbins and Thomas

             Harrington . I spoke to them last night .

       18                Last night?

                  A      Last night. And I spoke to Scott ,

       20    separately , a few weeks ago , after they sent

             letter      after their lawyer pent a letter , to every

       22    Location Ventures shareholder .

       23         Q      And, again, without getting involved in any

       24    lawyer communications, is it your understanding that

       25    they are seeking to redeem their investments, as well?
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                    So

                    Okay . And are you aware          since you

         entered this purchase agreement, has Rishi Kapoor or

         others, at Location Ventures, have they been able

          obtain new investor money, either for Location Ventures

          or in the projects, themselves?
                       believe he got some financing , from Marty ,

          against certain projects. And I believe he got some
          financing from LVVL , there on the capital stack , which

          is Winmar , which is the construction company that 's

          doing some of the projects. I don't know the amounts.
          I don 't know , you know , specifics, but - .

               Q    Okay . So , other than -- it seems Winmar



                    Marty Halperin .

               Q         Marty Halperin, that there's     to your

         understanding , there's no new -- other new investors

          that have come       either at Location Ventures or for

          one of the projects?
                    Not that I know of .

               Q    Okay.

                    BY MR . HOUCHIN :

               Q    Are you aware of whether Mr. Kapoor has

   24     solicited potential new investors?

                    Not directly , but what'I 'm hearing is that he
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          is scrambling all over town , to try to find money for

         the ibusiness. But I don 't know if that means talking

         to friends and family or that means doing investor

         presentations .       don 't know .

               Q     What's the basis for that understanding;

         where are you getting that information from?

                      Scott mentioned it            Greg Brooks,

          think , mentioned that he 's still talking to people . He

         was       his guys were telling                 available for

          this meeting .      am meeting somebody ,    talk about

          this project or that project. So, that 's kind of bits
          and pieces that I got, but I don 't have direct

         knowledge       him meeting with person X or person

               Q     And am I correct that you don lt have
                                         h

         visibility , in term s of any of the detailed information

          that he might be presenting , in any        those meetings?



               Q     Okay . Thank you .

                                 (SEC Exhibit No . 8 was marked for
                                 identification.)

                      BY MR . CORTEZ :

               Q           handing you what has been marked as

         Exhibit Eight . And this is a complaint that was filed

   24     on May 10, 2023, by Greg Brooks, against Location

         Ventures, LLC , in the 11th Judicial Circuit Court, for
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                                                                         22 5

         Miam i-Dade County , Floridq . And if you would take a

         moment to review this?

                     Okay .

                     Are you aware that Greg Brooks filed a

         complaint , or a lawsuit, I should say , against Location

         Ventures?



              Q      Have you read this complaint before?

                     Before this meeting?

              Q      Before today .

              A      Yes .

              Q      Okay .     is it fair to say you 're generally

         familiar with the allegations made in this complaint?

              A      Yes .

                     Okay . If you turn to page six , paragraph

         you 'll see that there are     paragraph 31, Mr . Brooks

         alleges various financial improprieties that Location

         Ventures and its personnel engaged       including ,

         maybe not limited       Rishi Kapoor . It goes from

         paragraph 31A , through 31M . So, pages six through

         eight . And I know you mentioned you 're familiar with

         some of these allegations .     know you have read this

         comp laint . Some of these allegations, that Mr . Brooks

         makes here, in these subparagraphs, were you familiar
         with any of these, you know , allegations, prior to Mr .
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          Brooks liling this complaint?
                        Some of them were generally brought up as

          concerns, by Mr . Brooks , to us, before, in sometime

    4     October , I would say , of last year .

                Q       What -- were some of these allegations, were

          you unaware of, prior to Mr . Brooks filing this

          complaint?

                        I think all of these allegations we were

          unaware of . Oh, prior to filing this complaint?

                        MR . SHOHAT: Were you unaware of them ? Not

          aW are .

                        THE WITNESS : Again , he mentioned that he 's

          looking into certain things inside the company , and

          some of these things were the things he was looking

                     Before he mentioned to us, we were not aware

          that this was possibly going on , but prior to the

          complaint, we heard about some of these things, from

          Greg Brooks.

                        BY MR . CORTEZ :

                       What was your       when you did sort of read ,

          guess, the different allegations, some of which you may

          have been aware of, prior to the complaint being filed,

          some you were not , what was your reaction?

   24                   What was my reaction?      was upset .

                Q       Did you speak with anyone, at Location
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         Ventures , ineluding Rishi Kapoor, after Brooks filed

          this complaint , about what 's alleged herein?

                       No .

                       And did you speak to Greg Brooks about this

          complaint, after you filed

                       Yes.

                       Was that directly with Mr . Brooks?

                       Yes.

               Q       Okay. Just to be clear, there wasn 't an

          attorney conversation, it was you speaking with Mr .

          Brooks?

                       Yes.

               Q       Okay. Can you just tell us about that
          conversation?

                         told him it 's his legal right to do what

          he, you know , chooses to , obviously , but I thought

          would drive the company
                           k
                                  into bankruptcy .
                                ,

               Q       Why did you think that?

                       I mean , I don 't know how bankable .Rishi

          Kapoor is, after something like this happens .

          again ,   was very clear . I 'm like, Greg , you have to

          do what 's best for you , and it 's totally your right .

          You rve got to go with what your lawyers tell you .

    24    you know ,          not mad that you did this . It 's not my

          Place to be mad. You did what you, you know, thought
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         was right , and that 's perfectly fine .

               Q     Since the complaint was filed, are you aware

         of anything , you know, sort of negatively , that has

         occurred, I guess from a financial standpoint ,        the

          company , since this complaint was filed?

                     Negatively occurred since the complaint was

          filed?   No .

                          you or your wife try to take any steps

         verify any of these allegations/ in Mr . Brooks '

          complaint , after it was filed or

                     We filed

                     MR . SHOHAT : Other than what may be

          conversations with attorneys.

                     THE WITNESS : Right. So , we filed -- ever

          since we kind of put the GEEP in place, everything we

          did was per advice of our lawyers .

                     BY MR . CORTEZ:

               Q     Okay.

                     All the steps we took were per the advice of

          our lawyers .

               Q     Any conversations, not including your

          lawyers, with other investors, about this complaint and

          allegations made, by Mr . Brooks?

                     Not really .      mean , Scott mentioned the 4

         million that Rishi told him he took from the company,
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              that was before the complaint was filed .

              really .

                    And you had mentioned earlier that Rfshi
         admitted to taking , to you , the 4 m illion , others

          including Scott, but that hé had a justification that
         he earned or was otherwise entitled to those fees and

         monies?

               A    So , to us, he never gave that number ,

         million . We never got a clear answer how much he took

         and when . We never got a response to that , you know ,

         piece of paper that we gave you before . The 4 million

         number Came from the e-mail that Scott and Thomas '

          lawyer sent to every shareholder , in the çompany , that

          said the 4 million number .           then , Scott,

         conversation with me, told me that Rishi told him he

          took the 4 million . Scott said,                sure how you

               like you lre entitled                you had the

         million, as profit, I want my five percent . He said ,

          don 't think you 're entitled            I earned this

         money . Scott said,            case,     also want to be out

          of the company .

                    As       sure you lre aware , since

          complaint was filed,         gotten some attention from

          the local media, including the Miami Herald .

          Particularly , if you go to page eight, and allegation
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         Subsection L , of the payment of 10,000 per month , to

         Francis Suarez, the Mayor of the City of M iami,

         unknown services . Prior to this complaint being filed,

         were you aware that there were payments of 10,000 per

         month going to Mr . Suarez?

                    Yes, but as I understood it, those payments

         were Urbin , not on Location Ventures side .

              Q    And do you have an understanding of what the

         purpose of those payments were, on the Urbin side?

                   As far as what I understood from Rishi,

         primarily to assist with some introductions for

         potential investors .

                   Okay .

                   BY MR . HOUCHIN :

                   Did the complaint come up ,          in your

         meeting last week , with Mr . Kapoor?

                   MR . SHOHAT : You mean the civ il complaint ,

         right?

                   MR . HOUCHIN : Right.

                   THE WITNESS : D id the civil complaint come

              No, not really ,

                   BY MR . HOUCHIN :

              Q    The meeting was more aimed at trying to find
         a path forward ; is that fair?

              A    The meeting was, where do we go now . We are
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         where we are , where do we go now . No where good ,

         what is the best of the worse path forward .

                                   (SEC Exhibit No. 9 was marked for

                                   identification .)

                      BY MR . CORTEZ :

              Q           handing you what has been marked

         Exhib it Nine , which is actually a complaint filed

         against Urbin , LLC, and Rishi Kapoor , by CWL -CHLLC,

         Asjaia, LLC, A-S-J-A-I-A, is the spelling, and Vieden
         Grove OZ, LLC . This complaint was filed on December
                                                 )
         19, 2022 ,           the Circuit Court of the 11th Judicial

         Circuit, Miami-Dade County , Florida . This complaint has

         a         exhib its attached to         which make

          somewhat of a lengthy document. But if you can just '
          take a momept to review the first few pages and let me

         know when your ready ?

                          ready .

              Q       Do you recognize this document?

                      Yes .

                      What

              A               a lawsuit by , I guess, one of the

   22     investors in one of the Urbin projects, against Urbin
          and Rishi.

                      Have you seen this complaint before?

                      Yes .
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               Q    Okay. Are you familiar with the three

                           are listed as plaintiffs , in this

          comp laint?

                    No .

               Q    You never had any interactions or anything

         with these investors?

                    No .

               Q    And you mentioned the lawsuit, as it states

         here, in the caption, is against Urbin , LLC and Rishi

         Kapoor . To your understanding , what is the Urbin , LLC

         entity?

                    Urbin, LLC entity, to my understanding ,
                            h                           ,
         the entity that 's responsible for all of the Urbin

         projects, that entity has Location Ventures as an
          investor . But Urbin , LLC is responsible for basically

         anything Urbin related, financing , investors, and the

         presentation has a different set of investors, than

         Location Ventures does . I don 't know what the

         don 't believe it has a board . I don 't believe it has

         employees, even . So , that ls my understanding .

                    Do you know what Location Ventures ownership

         interest       currently , in Urbin , LLC?

                    Again , I've been getting inconsistent

         responses, from Rishi . Evqry time we ask , it 's been

         fluctuating between 40 and 60 percent.       don 't know ,
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          for sure . I 'm guessing it ls between 50 and 60 pqrcent,

         based on taking averages of the answers I 've been

          receiv ing , over the years .

                     Okay . And you said that it 's your

         understanding that Urbin, LLC does not have any

          employees, correct?

                     Correct .

                     Do you know if thè employees, or some of 'the

          employees, of Location Ventures, also sort of work on

          or oversee the operations of Urbin , LLC?

                     Yes.

                     M d is it your understanding that Rishi

          Kapoor also controls the operations of Urbin ,

          similar to how he controls the operations of Location

         Ventures?

                     Yes.

               Q     Okay . Is thebe a particular reason why,

          other than Location Ventures, that the other investors,

          in Location Ventures, are not investors in Urbin , LLC;

          is there a particular reason why that is?

                               speak for all of those investors .

          think some might be . I believe Thomas Harrington has

          some investment in Urbin . Maybe        I don 't know .

          Again ,     not      is there a reason why they wouldn 't

          be the same?      It 's two totally different business
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         models, different concepts. And as I mentioned , for
         us , when we initially looked at the Urbin business, )we

          didn 't get excited about        We don 't want to invest .

    4                 Again , going back to Greg Brooks r comp laint,

          Mayor Suarez, his            your understanding his

          involvement was only with Urbin,         and the Urbin

          projects it was overseeing, not anything        the other

          projects we were discussing today, with respect
          Location Ventures ;      that correct?

                      My understanding is that he was getting paid

          by Urbin, LLC, to help with the Miami Beach projects,
          and making the introduction to investors . Now , were

          those investors exclusively for Urbin or Location

          Ventures? Iïm not sure .

                      Okay . If you can turn to page 5, and

          paragraph        and with the understanding that you 've

          never invested, and you 're not an investor ,      Urbin ,

          LLC, paragraph        which starts on page five, and sort

          of continues to the top of page six , in this paragraph ,

          it basically alleges that Kapoor and Urbin ,

          incurred approximately 16 m illion , in unauthorized

          debt, and caused Urbin Coconut Grove Partners , which is

          the, I think , JV, that owns the Urb in Coconut Grove

          property , to pay 282,000, 225 ,000 unauthorized

          extension fees . After this complaint had been filed ,
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         did you have any discussions about the allegations,

         this complaint , and specifically paragraph 19?

                      No ,     was filed after we already put the

         GEEP in place, so no .

                      Okay . So, you never had any discussions with

         Mr . Kapoor , other than at Location Ventures?

               A      I haven ït spoke to Rishi Kapoor since

         December of last year, until Friday .

                     And this never came up on Friday?



                      Okay . You mentioned you read the complaint

         and the allegations. What was your reaction when you

         first read them , in this complaint?

                              a lawyer , so I can lt understand

         the       I can't judge the -- sorry      the merits of the
         claims, here .        not familiar with this project.

         not familiar with Urbin operat ing agreemen t . So ,

         couldn 't really comment .             have an op inion

         whether these are just frustrated investors, who wanted
         their money back and used the lawsuit to try

         leverage that out , or this is legitimately everything

   22    they 're claiming is accurate . I 'm not close enough to

   23    this project or any of the Urbin projects, to be able
   24    make an educated opinion of them .

   25          Q     And I understand that with       you had
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!
i            mentioned, I think, with 1505       well, no, excuse me.
I
l
               think I might be getting this confused w ith 551

             Bayshore . There have been extension fees being paid,

                  were not authorized by investors, in that project,
             correct?

                  A     Yes .

                        And do you          seems, here, that   would
                                   l
                                   s a s im ilar allegation , in this
             you agree that there 't

             complaint?

                  A     Yes .

                        And we talked earlier, they also make an

             allegation about 16 m illion unauthorized debt . I think

             we had , perhaps this morning, spoken about if you 're

             aware , with respect to Location Ventures, or 55l

             Bayshore, ör 1505 Ponce , has there been any       are you

             aware of any debt that projects or Loçation Ventures
             incurred , without approval?

                  A     So , I mentioned the loan that was given to

             Urbin , without approval . I mentioned that, in the

             past . But as far as 150S, we had a closing on the

             land , that was     I believe it was in line with kind

             what we expected . And, Bayshore, we still never

             closed, but there 's extension fees that are being paid

             monthly

                        Okay .



                          9 :11 Al
                                 vlq            Alex    Vol. 1 .20230531 .449633-M ...
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                                                                         237

              A     -- that were not discussed with u s.

              Q     Can we just take a five-minute break? I just
         want to talk to John , for one second . Then , I think we

         can wrap it up .

                    (A brief recess was taken .)

                    BY MR . CORTEZ :

              Q     So, webre back on the record, at 4:18
         Mr . Kleyner, did you have any substantive discussions,

         with anyone from the Commission staff, during the

         break?

                    No .

                    Couple quick questions, before we finish .

         wanted to go back to something . When we were talking

         about Location Ventures ' budget, we were focusing,

         you recall, on the year of 2022, and there was sort of

         the budget and then the actuals, from the financial

         statements . What was the difference , in terms

         think you talked about payroll . Do you remember the

         percentage or money differences , between what the '22

         budget showed , compared to what the actuals were?

                    MR. SHOHAT: Are you talking about just as
         payroll?

                    MR . CORTEZ: Yeah, we can talk about some

         other things, but we'll start with just payroll.
                    THE WITNESS :      I believe the current
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                                                                         238

    1    payroll in the company is roughly
                                      N
                                           $600,000, a month.)
    2    don lt remember exactly what the budget called for, for

    3    2022, but it was definitely not 600,000, a month .

    4        I had to guess, I don ït remember , maybe 400,000 a

    5    month , but I 'm purely speculating . Not speculating,

    6    but I 'm guessing .

    7                 BY MR . CORTEZ :

    8           Q     Would it help , at           look at the

    9    budget

   lO           A     Yeah .

   11           Q        for 2021?

   12           A     For 2021 .

   13           Q     Would that at all help, at all?

   14           A     2021, I think, had about a 4 million payroll .

   15           even if 2022 had some incremental, it certainly

   16    wasn ït 7.2 million . The 2021, I think, showed like

   17    million apd change, in the budget, for just payroll.
   18    don 't recall,            don 't think 2022 was double, but

   19    we 're coming in close to double, for this year .

   20                Again , this is the 2021 budget, fixed costs,

         wh ich , again , all employees of a company , correct , show

   22    for 2021 budget ,     little bit over 4 m illion .      know

   23    this is for 2021, and not 2022, but do you recall

   24    the budget shown to you was a little bit higher than

   25    that
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                       I don lt remember exactly , but, again,

          guessing here that if it was higher, it would be within

          a small ten to 20 percent higher ,            percent

          higher , which is where we are now .

               Q       So, you recall that from a percentage basis,

          whatever number, it was 80 percent higher, the actuals,

          for 2022, than what the budget shows?

                       I recall when I showed the piece of paper to

          Rishi and DJ , at the last breakfqst, we had together,

          when I showed them the 2022 budget printed out, and I

          said show me where it shows payments to you guys .

          don 't remember exact numbers . Again ,        sure it 's

          e-mails that we shared with you guys . But it certainly

          didn 't have a payroll for      or $7.2 million, which is
          what we bre currently trending . They are currently

          trending .

               Q         know you mentioned, I think you remember,

          on the 2022 budget, the salaries were $400,000 listed
          for Rishi, and I think the same for DJ Mogha, right,
          400,000, for 2022?

                       No , in the budget , it was still, I think ,

   22     350, and then he brought up        like he gave Viv ian a

          $150,OO0 bonus. That was never in the budget . He gave
   24     raises to George,             is

               Q


                         9 :11.AM) Kleyner,                 1.20230531 .449633-M ...
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                                                                          24 0

    1         A        one something . He 's now north of 200.

    2    That was never kind of discussed . So , there was

    3    of raises he gave          There were bonuses that he gave

    4         that were never approved , never in line with the

    5    budget that we saw , we were shown , and nor were we ever

    6     shown any kinds of adjustments or adjust in budget.
    7               Okay . And, then , if you recall, there 's the

         sort of second category, titled 'variable costsu. For

    9    the 2022 budget, were the variable costs significantly

         higher from what was presented , in the 2022 budget,

   11    what the actuals were, when you saw them?

   12               I don 't       don 't   I don 't recall.

   13         Q     But, really, the focus was really on the

   14    payments to employees and monies

   15         A     Sorry .

   16         Q    Go ahead .

                        please .

   18         Q    No, I was just saying it seems like the
         budget was     sorry . The actual expenses were much

   20    higher than the 2022 budget showed . Really , though z

         terms of the fixed cost to the various employees, of

             company , including Rishi and DJ Mogha?

   23         A    That 's the one that I recall highlighting to

   24    DJ and Rishi, and saying show me where , in this budget ,

         that shows the bonuses to you , or Vivian , for that
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         matter , and there was no real answer . I didn 't focus

         on the variable costs because , again, I don 't really

         have financials to compare it against, where on the,

         you know , the fixed costs, that 's pretty

         straightforward. Show me where it says $1.3 million
         payment            Show me where it shows 140,000 to DJ .

         Show me where it

              Q     Right . So, those numbers were never on the

         budget, but for 2022, again , going back to Exhib it

         Five, the 1 .3 million that was paid , to Rishi Kapoor,

         was paid in 2022, and then the 140,000 was paid

         2022 , to DJ Mogha, these amounts were never shown ,

         the 2022 budget, however?

              A    Absolutely not . And, again, going back to

         the statement he made, how am     supposed to live on

         less than two , two and a half million a year , which was

         mind boggling to me .           sure if there were other

         payments made , throughout the year . These are the ones

         that we were able to , you know, ask him about.

                    On Exhib it Five , we talked about the payments

         to Rishi and DJ Mogha . Y6u had also mentioned there

         was a $150,000 bonus payment made to Vivian Bonet,

         2022.     just want to confirm this because it was not
         reflected on Exhibit Five, but I just want to confirm
         that that is your testimony?



                                 Kleyner, Alex          1.20230531.449633-M ...
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                     Yes, I think that bonus was paid later in the

         year .

               Q     Okay . And, then          sorry . Do you have any

         other questions?

                     MR . HOUCHIN : On that?     That ïs fine .

                     BY MR . CORTEZ:

                     And, then, you had mentioned that you found

          the loan made , from Location Ventures, to Urbin ,

          correct? Again , did you find that out by reviewing one

          of the company 's quarterly financial statements;

          thqt when you noticed the loan payment that was made

          from Location Ventures, to Urbin ?

                     No, we found out in a -- it was mentioned

         passing, in a conversation, on an unrelated topic,

          that -- when the loan is repaid and the money can go

         we 're like , which loan?     He 's             loan from

         Urbin .        like how much is that loan . And I think ,

          at that time, it was ten or $l2 million. And I was
          like , what are you talking about? He 's like, well ,

         Urbin needed money for whatever it was , X ,                And

          remember we were just furious and we called a meeting,
         with Rishi. We met him ip the Design District and we

          said , like, you now have other people ïs money . You do

         not own a hundred percent of the company . You can 't

                   like you own a hundred percent of the company .



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I
I                                                                            243
j                                        '
i                                  .
i       l    You can 't move money around, like it ls , you know, you

        2    just can't move money around, as you see fit. So, this
        3    lean needs to get paid back , immediately . He 's like ,

        4    yes, the closing 's coming up and then the loan is going

        5    to get repaid . And, fast forward, well over a year ,

        6    since that conversation , to this Friday, and I said is

        7    there still a loan from Urbin , to LV?    He said , yes . I

        8    said , how much is it? He said , it 's 6 m illion . And,

        9    then, on the last financials, which were , I think ,

       10    December of this year, I believe -- December -- I 'm

       11    sorry --

       12         Q     2022?

       13         A     -- December of last year, the loan is showing

       14    at 16 million . And , then , if you look at -- once we

       15    actually started looking at the financials , we saw

       16    those numbers kept jumping, which after we specifically
       17    told him, #ou are no longer -- you can no longer lend
       18    money and move money , back and forth , at will . He

       19    said , I understand . We saw , in the financials, that

       20    the fact that the loan was golng up and down, that
       21    there was money constantly moving back and forth . And

       22    when he told me, Friday , the loan was 6, it could be 6,

       23    it could be l2 , it could be -- he doesn 't know ,

       24    himself, because there 's no proper record keeping . The

       25    last guy who genuinely tried to keep accurate records



              (5/31/2023 9:11 AM) Kleyner, Alex - Vol. 1.20230531.449633-M...
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         was let go . That was Greg Brooks.

               Q          right . Are you aware of any other monies

         being loaned or otherwise provided , say , from one

          either from Location Ventures,        a project, or from
          one project to another project; are you aware of any
          other, you know , situations similar to what you have

          informed us today , about the loan from Location

         Ventures , to Urbin?

                      The only other one that     kind

         mind is he has a p iece of land, under contract ,

         Miami Beach . Again,        called Urbin Miami Beach Two .
                                                           $
          Obviously , he doesn 't want the investment to close on
         ?
                time . We always kind of refer to Rishi as the

          king of extensions. He just uses his extensions,
          they lre free . So , there was an extension due . He

         missed the deadline for extension .         seller said ,

         need half a million today, and 35O by, I guess, maybe

          today , the 31st or the 1st of the month . If you don 't

                   then forget it , then you lose the deposit that

         you put -- again , I assume        assume Urbin put down

          on the project, right? And Rishi sent a half a
         million . And, then, Friday ,     asked him , who paid this

         half a m illion ; was is it Urbin or Location Ventures .

   24    And he said Location Ventures . And I said why is

         Location Ventures paying extension fees, for Urbin



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         projects. And he told me, well, this was always
          intended to be LV project, which is not true.
          literally called Urbin Miami Beach . And I asked him ,

              like what's the program of the project; is it micro
         units?    He knew where I was going , of course .

          like , uh , yeah . I rm like, does it not make it Urbin?

         Does it not make it an Urbin project? And he just
          didn 't answer . And the second one , there 's another

         project, called 44 Zamora, that in the last few months,
          it was mentioned to us, when we were still kind of part

               company , but purely mentioned , nobody ever voted,

          as far as I know .    I asked him , Friday, I Im like did

         you put a deposit down , for 44 Zamora , like on a land

          deposit or something .                         Nm like , is
                                    He 's like , yes . I 1

          that refundable , meaning did you already go hard or are

          you still in your due diligence period . He said,

          it 's not refundable . So, there was another project, 44

          Zamora, where money went in, and now the project dies,
          which it -- most likely, that money stays for the :

          seller , let 's say . Right?

               Q     How much money was put?

                         no* sure. Again,              sure, but

          usually these things are half a million , to a million

          dollars , but I'm not sure .

               Q           your understanding that that money alsc



                        9 :11      Kleyner ,
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          came from Location Ventures?

                      That would probably be Location Ventures '

         project because
                                                 So,   think it came

          from Location Ventures.       don 't know , for sure .

          if it did , it should have came from Location Ventures,

          assuming he had anybody 's permission to actually do

          that .

                      And you 're not aware of any permission given

          for that?

                        didn 't give mine . I wasn ït asked .

               Q      Okay .

                          and I know there 's no board meetings .

          There 's no board votes. There hasn 't been one ,

          forever . There 's no shareholder meeting . So ,

          aware of anybody else, that I talked to , who said,

         yeah , yeah , I blessed it . But, again,       all fairness,

          it 's not like a speak to a lot of people and this would

         have come up . But,       I 'm not aware of that being

         presented for any formal process, to proceed with a

         non-refundable deposit .

               Q      All right. So, before we          don 't really

         have any further questions , but let me ask

          there anything that we rve not discussed today , that you

   25     think we should be aware of, concerning Kapoor,



                        9 :11
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         Location Ventures, the projects, or any investmentà
         relating to 'the Location Ventures, the projects;
         Kapoor , DJ Mogha?

               A       have a question,         can ask . I can 't

         make this up . So, I learned, on Friday , that Rishi, in

         the last weeks, took delivery of a brand new yacht, a

          72-foot Princess , which, to me , is m ind boggling that

         while all this is going on , while he 's delinquent on

         the GEEP, in default on the GEEP, while we lre talking

         about how do we make payroll and how do we take care

          shareholders, he upgraded his boat, from a 55 Princess,

               72 Princess .        don 't know where the money ,

         that, came from .            accusing , you know

         the optics of          thought were just in bad taste,
         considering the situation he 's         and the company he 's

                   I was really kind           you know,     didn 't

         confront him , on Friday, about         because I found out

         after he left the room .      think people didn 't want

         tell me because they knew how I would react

         something like that .        like ,      me get this

         straight . You didn 't make the payments, on my GEEP ,

         we 're talking about , here , how do we move forward, you

         just took delivery         brand new boat.        mean, that's
         just, you know,       found that to be interesting.
         oE'
           herwise ,    think you asked the questions about, you
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         know , the range of topics that I have some kind of

          insight into .

                    Okay . Have you spoken with anyone, other

         than your counsel, regarding this investigation?

                           Well, our accountant, because he was

         part of some of the paperwork he had to provide . Our

         CFO , because he was also exchanging e-mails. But

         nobody outside of kind of who was covered by the

          subpoena that you guys hand us ,

                    MR . HOUCHIN : And, also , excluding your wife .

                    THE WITNESS: And my wife, yes .

                    BY MR . CORTEZ :

               Q    Have you spoken with anyone, other than your

         counsel, regarding your appearance here, today?

              A     No .

               Q    Okay . And do you know

                    Again , my wife .

               Q      should have said excluding your wife. And

         do you know anyone else who has been subpoenaed or has

         testified , in this investigation?

                    No .

                    Okay .      Kleyner, we really do appreciate

         your time and your counsel 's time . We have no further

         questions, at this time . However , in the future, we

         may wish to call you again , to testify in this matter.
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                                                                          24 9

          If this is necessary , we lll of course contact your

          counsel . Mr . Kleyner , do wish to clarify any statement

         you have made today?

                     You made me feel bad, on occasion , but

          didn't take it personal. I think you're just doing
         your job and I appreciate            So, no, with as much
          a smile, as you could have , in these type of

          situations ,            Other than that,

               Q     Theye'
                        i
                           s a whole host of topics we'd rather be
          discussing than this, today , but       do appreciate your

          indulgence in
                      n
                        prov iding us as much information as you

          did , today . Do you wish to add anything to that, to add

          anything to your statements that you 've made here ,

          today?

                              don 't think so .

               Q     As I mentioned, I'm going to offer your

          counsel an opportunity to ask any clarifying questions .

          So , Mr . Shohat?

                     MR . SHOHAT : Just a couple hours worth , so

          let 's get started . I'm kidding . Only kidding . No

         questions .

                     MR . CORTEZ:         right . Well, we thank you,

          again , for your time, here , today . Obviously , wish you

          save travels , to Italy . And , now , we 're finished with

          the testimony , so we're off the record , at 4 :36 P.M .,



                         9 :11      K leyner ,
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                                                                          250

         Wedneyday , May

                    (Whereupon, at 4:36       the examination was

          concluded.)
                                     *
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                                                                          25l

                           PROOFREADER 'S CERTIFICATE



          In The Matter of:     LOCATION VENTURES, LLC

         Witness :              Alex Kleyner

          File Number :         FL-04347-A

         Date :                 Wednesday , May 3l, 2023

         Location :             Miami, FL



                      This is to certify that 1, Maria E . Paulsen ,

          (the undersigned), do hereby certify that the foregoing

          transcript is a complete, true and accurate

          transcription of all matters contained on the recorded

         proceedings of the investigative testimony .




          (Proofreader 's Name)              (Date)
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                                 CERTIFICATE OF OATH


           STATE OF FLORIDA    )
           COUNTY OF MIAMI-DADE)
                       1, the undersigned authority , certify that
           personally appeared ALEX KLEYNER, before me and was duly
            SW o rn .
                       WITNESS my hand and official seal this 15th
           day of June, 2023.
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       8
                                                         LAURA LENTOSKI



                        REPORTER IS DEPOSITION CERT IFICATE W ITH
                                    ACKNOWLEDGEMENT


                       1, LAURA LENTOSKI, do hereby certify that I
           was authorized to and did stenographically report the
           foregoing interview; and that the transcript is'a true
      14   record of the testimony given by the witness.
                       I further certify that I am not a relative,
           employee, attorney or counsel for any of the parties,
           nor am I a relative or employee of any of the partiesl
           attorney or counsel connected with the action , nor am I
           financially interested in the action .
      18                  Dated this 15th day of June, 2023 .

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      21                         LAURA LENTOSKI

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